Case 1:25-cv-00039-JJM-PAS           Document 101 Filed 02/11/25             Page 1 of 135 PageID
                                           #: 6723



                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND


  STATE OF NEW YORK, et al.,

                 Plaintiffs,

         v.
                                                      No. 1:25-cv-00039
  DONALD TRUMP, et al.,

                 Defendants.


                               DECLARATION OF JOSHUA DAVIS

        I, Joshua Davis, hereby depose and state as follows:

        1.      I am the Chief Financial Officer for the North Carolina Department of Natural and

 Cultural Resources (“NCDNCR”). I have held that position since February of 2019. I make this

 declaration as a representative of NCDNCR in part based on the business records of the

 NCDNCR and in part based on my personal knowledge and experience. In my official capacity

 and based on my personal knowledge and other sources of information I have obtained and

 reviewed in that official capacity, I am familiar with, and if called upon to do so, would be

 competent to testify to the facts and circumstances set forth herein.

        2.      On March 28, 2024, the NCDNCR submitted a grant application on behalf of the

 Atlantic Conservation Coalition (“ACC”)—a bipartisan coalition consisting of the States of

 South Carolina, Virginia, and Maryland, along with the Nature Conservancy (“TNC”)—pursuant

 to the Inflation Reduction Act’s Climate Pollution Reduction Grant program. A true and accurate

 copy of the confirmation of receipt and validation of the grant application as well as relevant

 grant application materials is attached hereto as Exhibit A.




                                                  1
Case 1:25-cv-00039-JJM-PAS                Document 101 Filed 02/11/25                   Page 2 of 135 PageID
                                                #: 6724



          3.      On July 22, 2024, the United States Environmental Protection Agency (“EPA”)

 announced that the ACC had been awarded the requested $421,238,074.00 Climate Pollution

 Reduction Grant (“ACC Grant”).1

          4.      The following day, NCDNCR and its state partners entered into a Memorandum

 of Agreement outlining the states’ respective roles, responsibilities, and commitments with

 respect to the ACC. A true and accurate copy of the Memorandum of Agreement is attached

 hereto as Exhibit B.

          5.      NCDNCR received a formal notice of award and grant agreement on October 17,

 2024. The grant agreement was subsequently updated on November 19, 2024 and January 16,

 2025. A true and accurate copy of the amended grant agreement is attached hereto as Exhibit C.

          6.      Under the terms of the grant agreement, EPA agreed “to cost-share 100.00% of all

 approved budget period costs incurred, up to and not exceeding the total federal funding of

 $421,238,074.00.” EPA also agreed to provide reimbursement for “pre-award costs” incurred

 within a ninety-day window ending on October 1, 2024.

          7.      NCDNCR is the primary recipient of the ACC Grant. The other ACC members

 are sub-recipients. As primary recipient, NCDNCR on behalf of ACC agreed “to implement

 [greenhouse gas] reduction programs, policies, projects and measures (collectively referred to as

 “GHG reduction measures,” or “measures”) identified in . . . the CPRG implementation grant

 workplan.” A copy of this workplan is included in the attached grant application materials. See

 Ex. A.



 1
   EPA, “North Carolina and three other Atlantic states to benefit from $421,238,074 Biden-Harris Administration
 investment for community-driven solutions to cut climate pollution,” https://www.epa.gov/newsreleases/biden-
 harris-administration-announces-43-billion-grants-community-driven-solutions-cut (July 22, 2024); see also EPA,
 “North Carolina and three other Atlantic states to benefit from $421,238,074 Biden-Harris Administration
 investment for community-driven solutions to cut climate pollution,” https://www.epa.gov/newsreleases/north-
 carolina-and-three-other-atlantic-states-benefit-421238074-biden-harris (July 23, 2024).

                                                         2
Case 1:25-cv-00039-JJM-PAS                Document 101 Filed 02/11/25                  Page 3 of 135 PageID
                                                #: 6725



         8.       As described in the workplan, each state within the ACC will direct

 approximately $50 million towards carbon reduction projects. $200 million of the awarded funds

 will be distributed to TNC for implementation of additional projects within the member states.

 NCDNCR estimates that approximately $67 million of these funds will go towards projects in

 North Carolina. In addition, NCDNCR will receive approximately $21 million for costs

 associated with the administration of the ACC.

         9.       The funds awarded through the ACC Grant are distributed from EPA to NCDNCR

 via a reimbursement model: ACC members make expenditures to implement the ACC Grant

 workplan; ACC members send invoices to NCDNCR for those expenditures; and NCDNCR

 draws down qualifying funds through the U.S. Treasury, Bureau of Fiscal Service, Automated

 Standard Application for Payment (“ASAP”) System.

         10.      Under this model, NCDNCR and its partners rely upon the federal government’s

 commitment to reimburse qualifying expenditures to avoid budget shortfalls and other financial

 harm.

         11.      The ACC Grant serves multiple vital purposes for North Carolina and its partners.

 Southeastern peatlands, coastal habitats, and forests are key natural carbon sinks. They also

 reduce the impacts of catastrophic flood events, make our communities less vulnerable to

 wildfires, and stabilize local economies by attracting tourists and residents for recreational

 opportunities including boating, fishing, and birdwatching. Due to rapid population growth,

 growing developmental pressure, and reduced federal protections for wetlands, these lands are

 under immediate threat.2



 2
  Status and Trends of Wetlands in the Conterminous United States 2009 to 2029, U.S. Fish and Wildlife Service
 (2024) available at https://www.fws.gov/sites/default/files/documents/2024-03/wetlands-status-and-trends-2009-
 2019-signed.pdf.

                                                         3
Case 1:25-cv-00039-JJM-PAS           Document 101 Filed 02/11/25            Page 4 of 135 PageID
                                           #: 6726



        12.     To address the vital need for protection of these resources, the ACC has

 committed to implementing 21 shovel-ready projects that will reduce greenhouse gas emissions

 by 3,369,962.0 MT CO₂e by 2030 and 27,707,228.3 MT CO₂e by 2050. These projects will

 protect and restore coastal, peatland, and forest lands across the 4 member states. As indicated

 above, in addition to reducing greenhouse gas emissions, these projects will bolster the

 economies of our coastal communities, improve wildfire resilience, and provide protection from

 catastrophic flooding, a growing crisis throughout our region.

        13.     Since the award was announced by EPA, NCDNCR and its ACC partners have

 devoted significant resources towards implementation of the ACC’s program commitments. At

 NCDNCR alone, I estimate that 25 NCDNCR employees have spent over 880 hours of staff time

 on project implementation.

        14.     Additionally, NCDNCR has hired a new Natural Working Lands Coordinator and

 completed the interview process and extended an offer for a new Climate Change Grants

 Director. NCDNCR is relying upon funding from the ACC Grant to provide salaries for these

 positions.

        15.     On January 27, 2025, NCDNCR staff accessed the ASAP system and observed

 that the ACC Grant account, Account ID No.                 , had an account status of “Open”

 meaning that NCDNCR staff had the ability to draw down funds from the account. However,

 other grant accounts, including those associated with grants from the National Park Service had

 been removed from ASAP, and NCDNCR was unable to draw down funds from those accounts.

        16.     On January 28, 2025 at 4:41:10 PM, Deans Eatman, Assistant Secretary for

 Government Affairs at NCDNCR, received an email from EPA_Grants_Info@epa.gov stating:




                                                 4
Case 1:25-cv-00039-JJM-PAS          Document 101 Filed 02/11/25           Page 5 of 135 PageID
                                          #: 6727



        Dear Grant Recipient,

        EPA is working diligently to implement President Trump’s Unleashing American Energy
        Executive Order issued on January 20 in coordination with the Office of Management
        and Budget. The agency has paused all funding actions related to the Inflation Reduction
        Act and the Infrastructure Investment and Jobs Act at this time. EPA is continuing to
        work with OMB as they review processes, policies, and programs, as required by the
        Executive Order.

        Thank you.

        Please do not reply to this message. This mailbox is not monitored.

        17.     On January 29, 2025, NCDNCR staff accessed the ASAP system and observed

 that none of NCDNCR’s grant accounts were accessible, including the ACC Grant account.

 Specifically, the ASAP system included the following message “ERROR 839: No accounts found

 matching criteria.”

        18.     On February 3, 2025 at 8:33:29 AM, Mr. Eatman received another email from

 EPA Grants Info@epa.gov, stating:

        Dear Grant Recipient,

        Pursuant to the Court’s directive in New York et al. v. Trump, No. 25-cv-39-JJM-PAS
        (D.R.I.), ECF No. 50 (Jan. 31, 2025) all EPA assistance agreement recipients are
        receiving the attached Notice of the Court’s Order for awareness and information. A copy
        of the Court’s Order is also attached for reference. If you have any questions about the
        scope or effect of the Court’s Order, please contact your Grants Award Official.

        Thank you.

        Please do not reply to this message. This mailbox is not monitored.

        19.     On February 3, 2025 at 1:58 PM, Mr. Eatman sent an email to Kristine Johnson,

 Manager, Grants Management and Strategic Planning Office in the Air and Radiation Division

 for EPA Region 4, requesting that she “confirm whether we can draw down funds while this

 TRO is in effect.” The email further stated, “This question is specific to the ACC CPRG award.”




                                                5
Case 1:25-cv-00039-JJM-PAS          Document 101 Filed 02/11/25            Page 6 of 135 PageID
                                          #: 6728



        20.    On February 3, 2025 at 2:10:48 PM, Ms. Johnson responded with an email that

 was identical to the email sent from EPA_Grants_Info@epa.gov on January 28, 2025.

        21.    On February 3, 2025 at 2:23:38 PM, Ms. Johnson responded further, stating “I am

 seeking further guidance from our GMO office. I will let you know once I get a definitive

 answer.”

        22.    On February 4, 2025, NCDNCR staff accessed the ASAP system and observed

 that NCDNCR’s accounts associated with grants from the National Park Service and the National

 Oceanic and Atmospheric Administration had been restored to ASAP. However, the ACC Grant

 account had not been restored, and NCDNCR was not able to draw down funds from that

 account.

        23.    On February 5, 2025 at 9:03:20 AM, Ms. Johnson responded further, stating “If

 you do not currently have access to draw down funds you will soon as the ASAP accounts are

 being unlocked in batches.”

        24.    True and accurate copies of the above referenced email communications are

 attached hereto as Exhibit D. True and accurate copies of screenshots showing the status of

 NCDNCR grant accounts on the ASAP system are attached hereto as Exhibit E.

        25.    As of 4:09 PM on February 5, 2025, NCDNCR was still not able to draw down

 funds using the ASAP system from the ACC Grant account.

        26.    Since EPA has announced its funding freeze and the ACC Grant account on the

 ASAP system has been removed, NCDNCR has been forced to pause activities relating to its

 implementation the ACC Grant out of concern that expenditures will not be reimbursed.




                                                6
Case 1:25-cv-00039-JJM-PAS          Document 101 Filed 02/11/25              Page 7 of 135 PageID
                                          #: 6729



        27.    If the funding freeze is not lifted, North Carolina will lose the benefits of over

 $117 million in conservation projects. As a result, North Carolina communities will be more

 vulnerable to flooding and wildfires and experience harm to their economies.

        28.    In addition, NCDNCR will be saddled with costs associated with the personnel it

 has hired in reliance on the ACC Grant and staff time already spent administering and

 implementing the ACC Grant workplan.




                                                 7
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 8 of 135 PageID
                                   #: 6730
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 9 of 135 PageID
                                   #: 6731



                        Davis Declaration
                               Exhibit A
Case 1:25-cv-00039-JJM-PAS               Document 101 Filed 02/11/25                    Page 10 of 135 PageID
                                               #: 6732




   From:                             do not reply@grants.gov
   Sent:                             Thursday, March 28, 2024 2:21 PM
   To:                               Kandros, Kimberly G
   Subject:                          [External] GRANT14106456 Grants.gov Submission Valida on Receipt
                                    for Applica on



   CAUTION: External email. Do not click links or open a achments unless veriﬁed. Report suspicious emails with
   the Report Message bu on located on your Outlook menu bar on the Home tab.


   Your applica on has been received and validated by Grants.gov and is being prepared for Grantor agency
   retrieval.

       UEI: MFEHMF7KVJF5

       AOR name: Kimberly G Kandros

      Applica on Name: Climate Pollu on Reduc on Grants Program: Implementa on Grants General
   Compe on - DNCR

       Opportunity Number: EPA-R-OAR-CPRGI-23-07

      Opportunity Name: Climate Pollu on Reduc on Grants Program: Implementa on Grants (General
   Compe on)

        h ps://gcc02.safelinks.protec on.outlook.com/?
   url=h ps%3A%2F%2Fapply07.grants.gov%2Fapply%2Flogin.faces%3FcleanSession%3D1&data=05%7C02%7Cki
   mberly.kandros%40dncr.nc.gov%7C2eaef2bcb6254efa057c08dc4f53c671%7C7a7681dcb9d0449a85c3ecc26cd
   7ed19%7C0%7C0%7C638472468440285566%7CUnknown%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAiLCJQIjo
   iV2luMzIiLCJBTiI6Ik1haWwiLCJXVCI6Mn0%3D%7C0%7C%7C%7C&sdata=FroFfLgTl4EDErFWH2kl8ZLla5H%2FGIy
   2Vqb0WcaENk0%3D&reserved=0

   You will be no ﬁed via email when your applica on has been retrieved by Grantor agency.

   Thank you.
   Grants.gov
   If you have ques ons please contact the Grants.gov Contact Center:
   support@grants.gov
   1-800-518-4726
   24 hours a day, 7 days a week. Closed on federal holidays.

   PLEASE NOTE: This email is for no ﬁca on purposes only. Please do not reply to this email for any purpose.
           Case 1:25-cv-00039-JJM-PAS                             Document 101 Filed 02/11/25                               Page 11 of 135 PageID
                                                                        #: 6733                                                                            1-800-518-4726
                                                             WORKSPACE FORM                                                                        SUPPORT@GRANTS.GOV

This Workspace form is one of the forms you need to complete prior to submitting your Application Package. This form can be completed in its entirety offline using
Adobe Reader. You can save your form by clicking the "Save" button and see any errors by clicking the “Check For Errors” button. In-progress and completed forms
can be uploaded at any time to Grants.gov using the Workspace feature.

When you open a form, required fields are highlighted in yellow with a red border. Optional fields and completed fields are displayed in white. If you enter invalid or
incomplete information in a field, you will receive an error message. Additional instructions and FAQs about the Application Package can be found in the Grants.gov
Applicants tab.
OPPORTUNITY & PACKAGE DETAILS:
Opportunity Number:            EPA-R-OAR-CPRGI-23-07

Opportunity Title:             Climate Pollution Reduction Grants Program: Implementation Grants (General
                               Competition)

Opportunity Package ID:        PKG00283194

CFDA Number:                   66.046

CFDA Description:              Climate Pollution Reduction Grants

Competition ID:

Competition Title:

Opening Date:                  09/20/2023

Closing Date:                  04/01/2024

Agency:                        Environmental Protection Agency

Contact Information:           CPRG@epa.gov

APPLICANT & WORKSPACE DETAILS:
Workspace ID:                  WS01268977

Application Filing Name:       Climate Pollution Reduction Grants Program: Implementation Grants General
                               Competition - DNCR

UEI:                           MFEHMF7KVJF5

Organization:                  North Carolina Department of Natural and Cultural Resources

Form Name:                     Application for Federal Assistance (SF-424)

Form Version:                  4.0

Requirement:                   Mandatory

Download Date/Time:            Sep 03, 2024 06:16:00 PM EDT

Form State:                     No Errors
FORM ACTIONS:
      Case 1:25-cv-00039-JJM-PAS                              Document 101 Filed 02/11/25                                Page 12 of 135 PageID
                                                                    #: 6734
                                                                                                                                     OMB Number: 4040-0004
                                                                                                                                   Expiration Date: 11/30/2025

Application for Federal Assistance SF-424

* 1. Type of Submission:                   * 2. Type of Application:      * If Revision, select appropriate letter(s):

     Preapplication                             New

     Application                                Continuation              * Other (Specify):

     Changed/Corrected Application              Revision

* 3. Date Received:                        4. Applicant Identifier:
Completed by Grants.gov upon submission.



5a. Federal Entity Identifier:                                                5b. Federal Award Identifier:




State Use Only:

6. Date Received by State:                           7. State Application Identifier:

8. APPLICANT INFORMATION:

* a. Legal Name:    North Carolina Department of Natural and Cultural Resources

* b. Employer/Taxpayer Identification Number (EIN/TIN):                       * c. UEI:
566062189                                                                     MFEHMF7KVJF5


d. Address:

* Street1:              109 East Jones Street

 Street2:

* City:                 Raleigh

 County/Parish:         Wake

* State:                NC: North Carolina

 Province:

* Country:              USA: UNITED STATES

* Zip / Postal Code:    27601-0000

e. Organizational Unit:

Department Name:                                                              Division Name:



f. Name and contact information of person to be contacted on matters involving this application:

Prefix:           Ms.                                         * First Name:      Kimberly

Middle Name:

* Last Name:      Kandros

Suffix:

Title: Manager, Development and Special Projects

Organizational Affiliation:
NC Department of Natural and Cultural Resources


* Telephone Number: 919-610-8218                                                          Fax Number:

* Email: kimberly.kandros@dncr.nc.gov
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 13 of 135 PageID
                                   #: 6735
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 14 of 135 PageID
                                   #: 6736
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 15 of 135 PageID
                                   #: 6737
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 16 of 135 PageID
                                   #: 6738
Case 1:25-cv-00039-JJM-PAS                    Document 101 Filed 02/11/25                        Page 17 of 135 PageID
                                                    #: 6739
                                                      North Carolina Department of Natural and Cultural Resources
                                                                                   Atlantic Conservation Coalition
 Section 1. Overall Project Summary and Approach
 a. Description of Greenhouse Gas (GHG) Reduction Measures
 The Atlantic Conservation Coalition (ACC) Climate Pollution Reduction Grant (CPRG) implementation
 proposal is a regional approach by North Carolina (NC), South Carolina (SC), Maryland (MD), Virginia (VA),
 and The Nature Conservancy (TNC), led by the North Carolina Department of Natural and Cultural
 Resources (NCDNCR), to reduce GHG emissions by leveraging the carbon sequestration (CS) power of
 natural and working lands (NWLs). In line with Environmental Protection Agency (EPA) requirements for
 non-competitive subaward to a non-proﬁt entity, the ACC recruited and will sub-award $200 million of this
 proposal to TNC for the identiﬁcation and implementation of natural climate solution projects with the
 greatest GHG emission reduction/CS beneﬁts across the coalition states, regardless of state boundaries. In
 addition, each coalition member will direct approximately $50 million to carbon reduction projects that
 address the speciﬁc nature-based needs in their respective state. As a coalition, our collective eﬀorts and
 resultant projects are designed to spur innovation and facilitate information sharing and synergies not
 possible through individual application. We believe the ACC is the strongest CPRG coalition demonstrating
 the critical role conservation and natural climate solutions play in providing climate mitigation, adaptation,
 and resilience beneﬁts that prioritize low-income and disadvantaged communities (LIDACs). This coalition
 showcases the broad, bipartisan appeal of these strategies. Granting this application would build long-
 term support for continued carbon reduction and climate action in the mid-Atlantic and Southeast region
 of the United States.
 The ACC proposes 21 shovel-ready projects, totaling $421,238,074.40, that will reduce GHG emissions by
 3,369,962.0 MT CO₂e by 2030 and 27,707,228.3 MT CO₂e by 2050. Measure 1 of this proposal focuses on
 protecting and restoring high-carbon coastal habitats and peatlands to maximize CS and coastal resilience
 beneﬁts. Measure 2 addresses the protection, use, and restoration of forested land, promoting sustainable
 forestry management practices to increase CS.
 Southeastern peatlands, coastal habitats, and forests are key natural carbon sinks that also provide critical
 co-beneﬁts necessary in making communities more climate resilient. However, due to rapid population
 growth, growing developmental pressure, and the U.S. Supreme Court rollback of federal wetland
 jurisdiction, NWLs are under immediate threat. A 2024 report on wetlands to Congress by the U.S. Fish
 and Wildlife Service found that wetland loss has rapidly increased by 50% since 2009. 1 According the
 report, the substantial loss of wetlands “…reduces the prosperity, health, and safety of communities
 through increased susceptibility of people and infrastructure to natural disasters like ﬂood, drought, and
 wildﬁre; decreased food security and reduction in clean water; increased harmful algal blooms and related
 increases in toxins and oxygen depleted ‘dead zones’; greater vulnerability to sea level rise and storms;
 and reduced recreational opportunities.”
 For NC, this proposal will support the directives of Governor Cooper’s Executive Order (EO) 3052, which
 sets bold goals to conserve one million acres of forests and wetlands, restore one million acres of forests
 and wetlands, and plant one million urban trees by 2040 and supports the NC NWL Action Plan. 2 For SC,
 this proposal will support the activities outlined in the state-mandated (S.C. Code §48-62-10) Strategic
 Statewide Resilience and Risk Reduction Plan 3 , emphasizing the signiﬁcance of natural features like
 ﬂoodplains, marshes, forests, and living shorelines in reducing ﬂood risk and providing other ecosystem

 1 Status and Trends of Wetlands in the Conterminous United States 2009 to 2029, U.S. Fish and Wildlife Service, 2024.

 https://www.fws.gov/sites/default/ﬁles/documents/2024-03/wetlands-status-and-trends-2009-2019-signed.pdf 2
 Governor Roy Cooper. Executive Order 305, 2024. https://governor.nc.gov/executive-order-no-305/open
 2 North Carolina Natural and Working Lands Action Plan. https://www.ncnhp.org/nwl/natural-and-working-lands
 3 Strategic Statewide Resilience and Risk Reduction Plan. https://scor.sc.gov/resilience




                                                                                                                         1
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 18 of 135 PageID
                                   #: 6740
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 19 of 135 PageID
                                   #: 6741
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 20 of 135 PageID
                                   #: 6742
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 21 of 135 PageID
                                   #: 6743
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 22 of 135 PageID
                                   #: 6744
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 23 of 135 PageID
                                   #: 6745
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 24 of 135 PageID
                                   #: 6746
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 25 of 135 PageID
                                   #: 6747
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 26 of 135 PageID
                                   #: 6748
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 27 of 135 PageID
                                   #: 6749
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 28 of 135 PageID
                                   #: 6750
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 29 of 135 PageID
                                   #: 6751
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 30 of 135 PageID
                                   #: 6752
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 31 of 135 PageID
                                   #: 6753
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 32 of 135 PageID
                                   #: 6754
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 33 of 135 PageID
                                   #: 6755
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 34 of 135 PageID
                                   #: 6756
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 35 of 135 PageID
                                   #: 6757
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 36 of 135 PageID
                                   #: 6758
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 37 of 135 PageID
                                   #: 6759
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 38 of 135 PageID
                                   #: 6760
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 39 of 135 PageID
                                   #: 6761
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 40 of 135 PageID
                                   #: 6762
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 41 of 135 PageID
                                   #: 6763
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 42 of 135 PageID
                                   #: 6764
Case 1:25-cv-00039-JJM-PAS             Document 101 Filed 02/11/25                Page 43 of 135 PageID
                                             #: 6765
                                             North Carolina Department of Natural and Cultural Resources
                                                                          Atlantic Conservation Coalition

  Risk 4: Selected tracts of land for conservation focused projects not under threat of conversion due to
  development, therefore, would remain as carbon storage even without projects. Eﬀect: There would
  be no real additional carbon beneﬁt through avoided conversion.
  Strategy: Information such as known commercial or residential developer interest in purchasing land and
  the carbon potential ranking will ensure tracts purchased are both at-risk of conversion and of high-
  carbon value.
  Risk 5: Delays in program administrator procurement process.
  Eﬀect: Delays may reduce cumulative GHG emission reductions in the near-term.
  Strategy: Develop request for proposals (RFP) documentation between announcements of awardees and
  receipt of assistance agreement to build in more time.
  Risk 6: Programs undersubscribed in certain areas, limiting reach.
  Eﬀect: GHG emission reductions may not occur over the same geographic scope as predicted. Strategy:
  Tracking of applicant locations and targeted outreach to areas where the program is not receiving
  applications/in undersubscribed areas, building on community engagement work conducted during
  creation of coalition member Priority Climate Action Plans and other active engagement work.
  Risk 7: Higher than anticipated rates of sea level rise, coastal erosion, climate disturbance. Eﬀect:
  Projects are less likely to be successful long term if models have underestimated climate impacts.
  Strategy: Design projects to be resilient to SLR beyond the 1.5 ft by 2050 estimate; consider SLR when
  selecting sites for tree planting.
  Risk 8: Site condition changes and/or delays caused by habitat degradation or extreme weather events.
  Eﬀect: Unexpected changes to existing land and/or damages may delay the project implementation.
  Strategy: Identify ways to monitor shoreline erosion and invest in stabilization techniques; prioritize
  project implementation timelines that account for known periods of active high intensity coastal
  weather events, such as the Atlantic Hurricane Season. Ensure close coordination with implementing
  partners/contractors to allow for early warning and risk-averse approach to potential storms. Identify
  ways to harness existing capacity of wetlands and prevent further habitat degradation.
  Risk 9: Local jurisdiction reluctance due to potential economic risk.
  Eﬀect: Jurisdictions may be hesitant to support eﬀorts for acquisition of private properties due to the
  possible tax revenue losses, which may result in a delay in the timeline.
  Strategy: Proactively coordinate with local jurisdiction about the proposed project, identify ways the
  project supports a more robust or new economic opportunities, emphasize resilience beneﬁts.
  Risk 10: Contractor delays in performing essential restoration design and engineering.
  Eﬀect: Delays in developing and quantifying CS amounts for projects.
  Strategy: Enter into agreements up-front with contractors to secure availability and services




                                                                                                            27
Case 1:25-cv-00039-JJM-PAS             Document 101 Filed 02/11/25                 Page 44 of 135 PageID
                                             #: 6766
                                              North Carolina Department of Natural and Cultural Resources
                                                                           Atlantic Conservation Coalition

  Risk 11: Landowners within LIDACs have in many cases been excluded from access to information, and
  thus may not want to participate in conservation programs.
  Eﬀect: Less acreage under sustainable forest management, less climate smart forestry reforestation, and
  management practices being implemented.
  Strategy: Landowner outreach in LIDACs is vital to engage and inform landowners. Organizations like
  project partners, Roanoke SFLRP and Black Family Land Trust, and its coalition of the U.S. Department of
  Agriculture (USDA), State, NGO, forest industry, and other partners will conduct outreach meetings,
  workshops, and provide access to information via all media platforms to engage, and inform LIDAC
  landowners of resources available to address conservation and restoration solutions – like sustainable
  forest management – to add in their lands being a part of nature-based solutions to climate change.
  Risk 12: Not enough demand from landowners not currently participating in similar programs.
  Eﬀect: Less uptake would decrease overall emissions reductions.
  Strategy: Existing funds do not currently cover the year over year demand for forest development
  programs so we believe there will be enough demand. Additionally, NC Forest Service (NCFS) will work
  on targeted outreach to those who have previously not engaged with this program. Particularly in LIDACs
  to increase program demand.
  Risk 13: Long term health and durability concerns for new trees and/or restored ecosystems.
  Eﬀect: Overestimate of GHG reduction through 2050.
  Strategy: Trees prioritized for planting will be large and hardy trees with over 100-year life spans and will
  be planted in communal, government-managed areas like around schools or parks with enhanced
  oversight. Listed project partners have extensive experience planning and executing these types of
  successful projects. Grant agreements can include protections for project sites through 2050. This grant
  would allow for increased state capacity to ensure long-term monitoring. Additionally, plans will be
  made that identify optimal season and weather conditions for planting and other restoration practice
  and ensure careful monitoring.
  Risk 14: NC EO 305 Goals and tracking goes until 2040, but funding would only be secured through 2029.
  Similar risk for long term durability following grant timeframe for other projects.
  Eﬀect: If not funded long-term, it may be less likely that the goals of EO 305 and additional listed
  projects for restoration and conservation can be reached.
  Strategy: NCDNCR will work to establish a permanent position funded through other sources for the
  duration of the EO 305 period following the conclusion of the grant period as will other project partners.
  State capacity built throughout the grant period will be highlighted, along with the value of these
  projects to incentivize additional future investment and avoidance of potential backsliding.
  Risk 15: Biodiversity loss in tree planting/reforestation projects.
  Eﬀect: Planting too many trees of the same species limits habitat heterogeneity, resilience, and
  biodiversity.
  Strategy: Identify and plant sets of native species that support a healthy ecosystem to increase
  biodiversity and coordinate across new and existing eﬀorts for awareness and best practices.


 The above projects are collectively focused on advancing the following four goals:
 1.      Implement ambitious measures that will achieve signiﬁcant reductions by 2030 and beyond.
 Coastal habitats and peatlands throughout the ACC’s coastal plain act as critical regional carbon sinks,




                                                                                                           28
Case 1:25-cv-00039-JJM-PAS                    Document 101 Filed 02/11/25                         Page 45 of 135 PageID
                                                    #: 6767
                                                      North Carolina Department of Natural and Cultural Resources
                                                                                   Atlantic Conservation Coalition
 accumulating and storing tons of carbon annually. 8 Peatlands, wetlands with deep layers of rich organic
 soils, are particularly good at storing carbon due their deep organic soils. 9 Many of these wetlands are
 highly vulnerable to degradation, facing increasing threats from conversion, sea level rise, and more
 frequent, intense extreme weather events. Drained peatlands release CO₂ from their soils and are more
 vulnerable to severe peat ﬁres that rapidly emit tons of CO₂. From 2008-2011, wildﬁres in Northern NC
 and southeastern VA peatlands released an estimated 20 million MT CO₂e. 10 Recent research has shown
 that hydrologic restoration of drained peatlands dramatically reduces their GHG emissions and can return
 them to net carbon sinks (Richardson et al. 2022). Restoration and conservation of peatlands and coastal
 habitats in the ACC region will support long-term storage of existing carbon stocks and will grow CS for
 generations.

 Conservation and restoration of forests represents one of the largest opportunities to sequester carbon
 and support a suite of co-beneﬁts such as protection of drinking water sources and biodiversity, and
 workforce and recreational opportunities. Forests are at risk for development or have been managed
 utilizing unsustainable forestry practices such as high-grading or short rotations reducing potential for CS.
 The projects supporting this measure will oﬀer rapid CS beneﬁts through protection of existing carbon
 storage, restoring and managing forests to enable natural increased CS rates, and increasing urban forest
 CS through targeted tree plantings. Actively managed forests will continue to sequester carbon into long-
 lived wood products, such as furniture and building materials. Urban tree planting projects will result in
 increased CS and support reduction of heat islands, resulting in reduced emissions through energy savings.
 One study estimates shade from North Carolina’s tree canopy reduces energy bills by $150 million per
 year.12
 2.      Pursue measures that will achieve substantial community beneﬁts (such as reduction of criteria air
 pollutants (CAPs) and hazardous air pollutants (HAPs)), particularly in LIDACs. Fires in drained peatlands
 expose nearby communities to unhealthy smoke. In 2008, a large peat ﬁre in NC and VA produced pollution
 far exceeding National Ambient Air Quality Standards which led to a signiﬁcant increase in observed
 emergency department visits for lung and cardiopulmonary disease. 11 Restoring peatlands through
 rewetting reduces smoke-related hazardous air pollutants, along with disruptions and economic losses
 from active ﬁres. 12 Additionally, healthy coastal habitats and peatlands ﬁlter water pollution and provide
 climate resilience co-beneﬁts. Coastal habitats buﬀer coastal communities from waves and storm surge,
 provide nursery habitat for commercially and recreationally harvested ﬁsh species, and attract tourists and
 residents for recreational opportunities including boating, ﬁshing, and birdwatching - all stabilizing local



 8 Richardson, C., & Flanagan, N.E. (2022). Annual carbon sequestration and loss rates under altered hydrology and ﬁre regimes in

 southeastern USA pocosin peatlands. Global Change Biology, 0(0), 1-15
 9 Richardson, C., & Flanagan, N.E. (2022). Annual carbon sequestration and loss rates under altered hydrology and ﬁre regimes in

 southeastern USA pocosin peatlands. Global Change Biology, 0(0), 1-15
 10 Pindilli, E., Sleeter, R., & Hogan, D. (2018). Estimating the societal beneﬁts of carbon dioxide sequestration through peatland

 restoration. Ecological Economics, 154, 145-155.
  Nowak, David J.; Greenﬁeld, Eric J. 2018. Declining urban and community tree cover in the United States. Urban Forestry & Urban
 Greening. 32: 32-55. https://doi.org/10.1016/j.ufug.2018.03.006.
 11 Rappold, A. G., et al. (2011). Peat Bog Wildﬁre Smoke Exposure in Rural North Carolina Is Associated with Cardiopulmonary

 Emergency Department Visits Assessed through Syndromic Surveillance. Environmental Health Perspectives, Vol. 119, No. 10.
 https://doi.org/10.1289/ehp.1003206
 12 Richardson, C., & Flanagan, N.E. (2022). Annual carbon sequestration and loss rates under altered hydrology and ﬁre regimes in

 southeastern USA pocosin peatlands. Global Change Biology, 0(0), 1-15.


                                                                                                                              29
Case 1:25-cv-00039-JJM-PAS                     Document 101 Filed 02/11/25                         Page 46 of 135 PageID
                                                     #: 6768
                                                       North Carolina Department of Natural and Cultural Resources
                                                                                    Atlantic Conservation Coalition
 economic drivers that are under threat from encroaching seas. The projects supporting this measure will
 beneﬁt many coastal LIDACs and tribal communities.
 Forest restoration and management can dramatically increase the value of ecosystem services. Well
 managed forests can minimize the start and spread of wildﬁres. Trees act as nature’s ﬁlter for criteria air
 pollutants including ozone, sulfur dioxide (SO2), nitrogen dioxide (NO2), carbon monoxide (CO), and ﬁne
 particulate matter less than 2.5 microns (PM2.5). Urban trees can also lower ambient air temperatures,
 decreasing the impacts of urban heat islands that can exacerbate heat-related illnesses. 13 Developed and
 managed urban forests increase community resilience for stormwater impacts, and provide shade,
 aesthetics, and recreational opportunities. These forestry projects will beneﬁt LIDACs experiencing heat
 stress in urban areas and will beneﬁt rural LIDACs through forestry cost-share programs and providing new
 and enhanced public green space. All proposed projects will support nature-based resiliency to ﬂooding,
 which is a growing crisis throughout the region being made worse by climate change. 14
 3.     Complement other funding sources to maximize these GHG reductions and community beneﬁts.
 The coalition members and partners will leverage existing funding sources and pursue new sources of
 funding through state and federal opportunities to maximize the beneﬁts of this proposal. See Section 1b
 for more information.
 4.       Pursue innovative policies and programs that are replicable and can be “scaled up” across multiple
 jurisdictions. The ACC proposes shovel-ready projects and programs that will build on existing initiatives
 and partnerships that can be scaled and replicated. Because of the abundance of protection and
 restoration opportunities across the region, and well-established local-state-federal and private
 partnerships, projects that support these measures can be readily adapted for jurisdictions. These
 programs build oﬀ proven concepts and existing programs. Although there is an existing backbone, the
 coalition is truly innovative because carbon beneﬁts will be centered in natural and working land program
 design across this region for the ﬁrst time. Several examples demonstrate existing regional coordination
 that can be leveraged to replicate and scale this work: The Sentinel Landscape Partnership led by the USDA,
 DOD, and DOI work on defense readiness through natural and working land projects across all four ACC
 states; cross-jurisdictional NWL work in the Albemarle-Pamlico, and CB estuarine systems; and robust
 partnerships on water quantity and quality across NC and SC’s shared waterways.

 b. Demonstration of Funding Need
 The Southeast is seeing unprecedented levels of in-migration and economic development. According to
 population estimates from the U.S. Census Bureau, collectively, the residential populations of NC, SC, MD,
 and VA (“the region”) have grown by 738,490 people since 2020. Population growth intertwined with a
 growing regional economy is creating unprecedented pressures to further develop some of the country’s
 most eﬀective carbon sequestering NWLs.17 Forests and wetlands are particularly vulnerable to these
 development pressures. Peer-reviewed research conducted by Climate Central and published in the
 Journal of Environmental Research Communications highlights the alarming potential impact of this


 13 Nowak, David J.; Hirabayashi, Satoshi; Bodine, Allison; Greenﬁeld, Eric. 2014. Tree and forest eﬀects on air quality and human

 health in the United States. Environmental Pollution. 193: 119-129.
 14 Climate Impacts in the Southeast. https://climatechange.chicago.gov/climate-impacts/climate-

 impactshttps://climatechange.chicago.gov/climate-impacts/climate-impacts-
 southeastsoutheast#:~:text=Low%2Dlying%20coastal%20areas%20are,seawater%20inundation%20and%20slow%20drai
 ning 17 Buchanan, Maya K, et al. “Resilience of U.S. Coastal Wetlands to Accelerating Sea Level Rise.” Environmental
 Research Communications, vol. 4, no. 6, (2022, June 1). https://iopscience.iop.org/article/10.1088/2515-7620/ac6eef.




                                                                                                                                30
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 47 of 135 PageID
                                   #: 6769
Case 1:25-cv-00039-JJM-PAS             Document 101 Filed 02/11/25                Page 48 of 135 PageID
                                             #: 6770
                                             North Carolina Department of Natural and Cultural Resources
                                                                          Atlantic Conservation Coalition

 SC: U.S. Department of Transportation/Federal Highway Administration – PROTECT (Promoting Resilient
 Operations for Transformative, Eﬃcient and Cost-saving Transportation) (Pending), SCOR Reserve Fund
 (Disaster Relief and Resilience Reserve Fund) (Awarded), NOAA Climate Regional Resilience Challenge
 Grant (Not Awarded), NOAA Transformational Habitat Restoration and Coastal Resilience (FY 22,
 awarded, partnered with TNC)
 MD: Agricultural Water Quality Cost-Share Program (Not Yet Applied), Forest Legacy Administration and
 Acquisition for Private Easements on Forested Land (Awarded), USDA Forest Service Landscape Scale
 Restoration Grants (Awarded), NRCS RCPP for Tree Planting on Agricultural Lands (Awarded), 5 million
 Trees (HB991) (Appropriated annually), NFWF ATB (Not Awarded), NOAA Transformational Habitat
 Restoration and Coastal Resilience Projects (Not Awarded), U.S. Army Corps of Engineers Wicomico River
 Maintenance Dredging/Deal Island Marsh Restoration (Awarded)
 VA: NOAA Coastal Resources Management (Not Awarded), NOAA’s Transformational Habitat and
 Coastal Resilience Grant (Pending), NFWF ATB (Not Yet Applied), NRCS Farm Bill Grant (Not Awarded),
 VA Land Conservation Foundation Grant (Not Yet Applied), Coastal Zone Management Program
 (Awarded), USFWS Wildlife Restoration Grant Program (Not Awarded), Chesapeake Watershed
 Investments for Landscape Defense (Not Awarded), EPA Small Watershed Grants (Not Awarded), VA Sea
 Grant (Pending), North American Wetlands Conservation Act (Not Awarded)
 TNC: NFWF Emergency Coastal Resilience Fund (NC- 2 Awarded), NOAA Transformational Habitat
 Restoration and Coastal Resilience Projects (Not Awarded), NC Land and Water Fund Restoration
 Program: (NC: 2 Awarded, 1 Not Awarded), USFS, Community Forest Program (MD- Pending), US DOI
 Coastal SC Focus Areas Protection (SC: Not Awarded), US DOI Coastal SC Focus Areas Protection (SC: Not
 Awarded), US DOI Santee Delta-Winyah Bay Wetlands III (Not Awarded), US DOI Albemarle/Chowan
 Wetlands Conservation Initiative – Phase 3 (NC: Not Awarded), Healthy Trees Healthy Cities Healthy
 Baltimore (MD: Not Awarded), Expanding Agroforestry Production & Markets for Producer Proﬁtability
 and Climate Stabilization (Not Awarded)

 c. Transformative Impact
 The ACC natural climate solutions projects hold transformative potential because its transboundary nature
 addresses climate change at scale. By restoring and managing forests, wetlands, and coastal habitats for
 GHG reductions, existing carbon stocks can continue to sequester carbon while increasing community
 resiliency. The application’s design creates a novel and transformative opportunity to both restore and
 conserve the region’s most crucial carbon sequestering NWLs through a holistic region-wide approach,
 while bolstering each state’s institutional capacity to carry out local projects. For the ﬁrst time, this
 bipartisan coalition of four states will work together to assess connected ecosystems with GHG reduction
 beneﬁts front and center. TNC will take a novel, regional approach to identifying and mitigating GHG
 emissions through NWL projects across all states and regardless of state boundaries. More information on
 TNC’s innovative approach to project identiﬁcation and implementation can be found in the technical
 appendix. TNC will also continuously measure, monitor, and adapt management to further contribute to
 the science that will be shared beyond this 4-state coalition, fostering transformative impacts nation-wide.
 For Measure 1: Coastal Habitat and Peatland, blue carbon and peatland CS is still an emerging ﬁeld with
 exciting but limited research. This grant will fund innovative blue carbon and peatland projects in the
 ground, allowing for long term monitoring of real GHG impacts that can be quantiﬁed, tracked, and
 validated, which will further international understanding of the blue carbon ﬁeld. In MD, VA, and NC,
 restoration of marshes and shorelines will ensure ongoing ﬂood protection along the coastline and for


                                                                                                          32
Case 1:25-cv-00039-JJM-PAS                      Document 101 Filed 02/11/25                          Page 49 of 135 PageID
                                                      #: 6771
                                                        North Carolina Department of Natural and Cultural Resources
                                                                                     Atlantic Conservation Coalition
 coastal communities, while providing habitat for wildlife and mitigating nutrient and sediment ﬂow into
 the Chesapeake Bay, Pamlico Sound, and other valuable estuarine systems. NC and VA’s extensive
 peatlands hold signiﬁcant carbon storage promise; their acquisition and restoration will protect them from
 conversion for perpetuity, reduce GHG emissions, and provide resilience to wildﬁres, droughts, and
 stormwater impacts. Conservation easements and the addition of lands to state park systems ensures
 continued CS for generations.
 The projects outlined in Measure 2: Forestlands are largely built on existing and proven programs the
 coalition partners will clone and scale with climate smart and CS potential. These new programs that will
 bring historically underserved communities to the table largely for the ﬁrst time can fundamentally shift
 the approach to forestry across the coalition. In NC most forestlands are owned by private family farms
 which are passed down through generations. In SC, 87% of forests are privately-owned, with 63% being
 family-owned. These families will be empowered to be a part of the solution to the climate crisis. These
 land conservation and restoration activities will model successful climate smart NWL & forestry practices
 for families and communities to incorporate into their own properties.
 As new agroforestry approaches are established and become more widespread, evidence has shown that
 they may prevent further environmental degradation, sequester carbon, increase the health of soils/water,
 improve production output, stabilize NWLs, and provide social and health beneﬁts.
 Recent rollbacks in federal wetland protections, the current lack of state-level capacity to institute,
 monitor, and enforce expanded protections, plus accelerating regional development pressures from
 population and economic growth, means that immediate action is needed to protect the GHG reduction
 beneﬁts of these lands.
 Section 2: Impact of GHG Reduction Measures
 a/b. Magnitude of GHG Reductions from 2025 through 2030 & 2025 through 2050
 Implementation of the proposal will result in durable GHG emission reductions, and aﬀorestation will
 create near-term and lasting CS beneﬁts. The estimated cumulative GHG emission reductions from the
 ACC proposal are 3,369,962.0 MT CO₂e from 2025-2030 and 27,707,228.3 MT CO₂e from 2025-2050.
 Measure 1 will create GHG beneﬁts by preserving existing carbon stocks and future carbon sequestration
 in coastal marshes and peatlands. Without implementation of this measure, literature shows that the salt
 marshes in the project areas would be lost (to sea level rise, erosion, etc.) by 2035. 15 16Marsh loss would
 cause emission of the carbon currently stored in the top meter of marsh soils and loss of soil CS and
 storable dissolved inorganic carbon export in future years. Peatland restoration will convert degraded
 peatlands back into carbon sinks and drastically reduce the risk of severe ﬁres that emit enormous
 amounts of carbon. Measure 2 will create near term GHG beneﬁts by preserving existing carbon in at-risk
 forests and enhancing carbon sequestration through improved forest management and reforestation. This
 funding presents an opportunity to avoid the development and conversion of these carbon sinks to
 impervious land, incapable of sequestrating future carbon. Further, this alternative serves to create new
 sources of carbon emissions, decrease ﬂood resiliency, and diminish water quality, Trees grown for harvest
 will provide long-term GHG beneﬁts as they continue to store carbon in durable wood products once

 15 Warnell, Katie, Lydia Olander, and Carolyn Currin. "Sea level rise drives carbon and habitat loss in the US mid-Atlantic coastal

 zone." PLoS Climate 1, no. 6 (2022): e0000044.
 16 The Nature Conservancy & Maryland Department of Natural Resources,” TNC Maryland Blue Carbon Resilience

 Credit Feasibility Study,” December 2023. https://dnr.maryland.gov/ccs/Documents/Maryland-Blue-Carbon-Resilience-
 Credithttps://dnr.maryland.gov/ccs/Documents/Maryland-Blue-Carbon-Resilience-Credit-Feasibility-Study-2023-12-
 22.pdfFeasibility-Study-2023-12-22.pdf




                                                                                                                                   33
Case 1:25-cv-00039-JJM-PAS             Document 101 Filed 02/11/25                Page 50 of 135 PageID
                                             #: 6772
                                             North Carolina Department of Natural and Cultural Resources
                                                                          Atlantic Conservation Coalition
 harvested. Trees planted in urban areas will largely consist of oak and holly varieties that can have life
 spans of hundreds of years. These plantings will support GHG sequestration for generations. Further
 details on quantiﬁcation methods, relevant assumptions, annual emission reduction estimates, and
 uncertainties associated with the estimates are provided in the Technical Appendix to this application.
 c. Cost Eﬀectiveness of GHG Reductions
 Implementation of this proposal is highly cost-eﬀective. The cost-eﬀectiveness of the proposal, inclusive
 of all measures in this application, is $125.28 per ton of CO₂e reduced during 2025-2030, and $15.03 per
 ton of CO₂e reduced from 2025-2050. The cost eﬀectiveness of GHG reductions was determined with the
 following formula: (Requested CPRG funding) / (Sum of Quantiﬁed GHG reductions from CPRG funding from
 2025-2030 or 2025-2050). There also will likely be cost savings due to economies of scale when doing large
 scale projects, which was not factored into our costs. The natural climate solutions proposed deliver CS at
 a fraction of the cost of technological or engineered solutions. Cost savings are derived from low upfront
 costs relative to other technologies, a proven history of implementation, and the myriads of environmental
 and community co-beneﬁts. Costs associated with each measure are detailed in the Budget Table
 spreadsheet.
 The natural climate solutions proposed will achieve many beneﬁcial outcomes for each state, in addition
 to GHG mitigation. Ultimately achieving these co-beneﬁts is a cost savings to the federal and state
 governments because fewer dollars will need to be invested in water quality, wildlife habitat, or enhancing
 coastal resilience. These beneﬁts also convey real economic beneﬁts by enhancing ﬁsheries, improving
 hunting and outdoor recreation, and lowering the risk of climate threats to people and infrastructure.

 d. Documentation of GHG Reduction Assumptions
 See Technical Appendix (separate document).

 Section 3: Environmental Results – Outputs, Outcomes, and Performance Measures
 a. Expected Outputs and Outcomes
 Implementing this program to protect and manage NWLs will help to mitigate the ACC’s gross emissions
 that contribute to climate change. These projects will empower natural systems to mitigate human impacts
 to the climate in a way that is at risk if these areas are developed or mismanaged. Continuous passive CS
 can eﬃciently promote annual reductions with few maintenance costs. Simultaneously, well planned
 conservation can have co-beneﬁts for ﬂooding, economic development, and air and water quality tied to
 climate change impacts. These restoration and conservation opportunities can bolster the ACC’s
 communities, economies, and ecosystems that have been negatively impacted from ﬂoods and other
 natural hazards in the last decade.
 One signiﬁcant co-beneﬁt relates to air quality; a study by Nowak et al. (2014) estimated that the ACC
 states remove 1,477,200 tons of CAPs annually through trees and forests. On average, the coalition states
 remove more tons of CAPs (369,300 tons) than the average state across the U.S. (348,000 tons). The ACC
 proposal will support existing and new removal of air pollutants through planting and protecting existing
 forests across the region. Additional co-beneﬁts include clean water, ﬂood resilience, improved
 biodiversity and wildlife habitat, recreational opportunities, ecosystem resilience, and enhanced soil
 health.
 Outputs:
 Measure 1
     • 33,000 acres of peatlands newly preserved and/or restored in NC and VA (TNC)
     • 150 acres of tidal wetlands restored in VA (TNC)



                                                                                                         34
Case 1:25-cv-00039-JJM-PAS            Document 101 Filed 02/11/25               Page 51 of 135 PageID
                                            #: 6773
                                            North Carolina Department of Natural and Cultural Resources
                                                                         Atlantic Conservation Coalition
    •  15 acres of peatlands and 595 acres of coastal habitats newly preserved and restored (NC)
    •  3,300 acres permanently added to State Park System (NC)
    •  10,000 of acres of forests, current or future coastal habitats, or agricultural lands restored (MD)
    •  1,540 acres of coastal habitats restored (MD)
    •  2,040 acres of created or improved wildlife habitat (MD)
    •  217,700 trees and 4,800,000 native wetland species planted (MD)
    •  100 properties protected from flooding after storms (conservative estimate) (MD)
    •  14,000 lbs of nitrogen, 140 lbs of phosphorus, 1,600 tons of sediment avoided from entering the
       CB
   • Annual sediment loading reduced by about 9,000 metric tons; nitrogen and phosphorus loading
       reduced by 10 and 5 metric tons respectively (VA)
   • 10,000 acres of shorelines and habitats restored (VA)
   • Coastal Resilience Plan created for 100 properties, implemented at 5 properties (MD)
   • Two National Seashores protected from erosion and sea level rise (NC)
 Measure 2
   • 67,647 acres of forests under improved management in the Appalachians in MD and VA (TNC)
   • 25,447 acres of bottomland hardwood forest under improved management in SC and VA (TNC)
   • 1,200 urban trees planted (NC) o At least 55,000 acres of land reforested (NC)
   • Approximately 12,240 acres placed into conservation, with additional benefits for agroforestry,
       recreation, and flood mitigation (SC)
   • 1,000 new acres of agroforestry practices installed (MD)
   • 250 producers and landowners engaged on the benefits of agroforestry (MD)
   • 500 new acres of forest and 13 acres of urban trees planted (MD)
   • 22,968 pounds of nitrogen and 591 pounds of phosphorus annually reduced from the CB
   • Minimum of 10 additional soil health evaluation data points for the Healthy Soils Program (MD)
   • Over 1,000,000 new native trees planted (VA)
 Outcomes (applicable to all coalition members):
 1) Reduction in cumulative metric tons of GHG emissions (mtCO₂e): 2025-2030: 3,362,249; 2025-2050:
     28,027,178.0
 2) Increased staff capacity to implement proposed measures
 3) Enhanced level of community engagement as measured by an increased number of actions to engage
     with LIDACs
 4) Improved access to parks and recreational green space for LIDACs
 5) Reduced HAPs and CAPs in areas near tree plantings (CO₂, nitrous oxide, methane,
     hydrofluorocarbons, perfluorocarbons, and sulfur hexafluoride)
 6) Increased tree canopy cover
 7) Increased resiliency to flooding events as measured by avoided property loss near projects
 8) Water quality improvements
 9) Improved biodiversity and wildlife habitat
 10) Decrease in local oceanic acidification
 11) Increased recreational opportunities
 12) Healthier communities and ecosystems
 b. Performance Measures and Plan


                                                                                                       35
Case 1:25-cv-00039-JJM-PAS             Document 101 Filed 02/11/25                Page 52 of 135 PageID
                                             #: 6774
                                             North Carolina Department of Natural and Cultural Resources
                                                                          Atlantic Conservation Coalition
 Because many of the ACC projects build on existing programs, performance measures and metrics are
 already integrated into reporting requirements. For example, contracts with landowners will be required
 to include reporting requirements and metrics for forestry cost-share programs. As lead applicant,
 NCDNCR will gather and report on the progress of all projects funded across the coalition. A bi-annual
 reporting structure will be implemented to ensure coordinated and consistent reporting across all projects
 and Coalition partners will meet at least quarterly to discuss updates and address potential obstacles to
 implementation. Monitoring and administrative funds will also be used to measure onsite GHG emission
 reductions and air quality data. Performance measures will at minimum include the following but may be
 developed to include additional information once the grant period begins.
 Measure 1: Project funds spent (NC), Linear feet of living shoreline constructed (NC, VA), Acres of land
 restored (NC, MD, VA), Acres of new public lands (NC), Acres of increased marshland/forested wetland
 (VA), Structural integrity of breakwaters (VA), Reduction in wave energy at marsh due to breakwaters (VA),
 Wetland ﬂood protection (water storage capacity) (VA), Changes to wildlife populations (VA), GHG
 emissions sequestered year over year (all projects) Percentage of funding beneﬁting Climate & Economic
 Justice Screening Tool census tracts (all projects).
 Measure 2: Acres of forestry practices completed by practice, county, and type/species (NC, SC, MD, TNC),
 Number of landowners receiving ﬁnancial assistance (NC), Cost-shares paid and total practice cost per
 landowner contract, practice, county, and forest type/species (NC, SC), Number of tree seedlings planted
 by county, and forest type/species (NC), Number of trees planted (NC, VA), Number of municipalities
 served (NC), Total applications compared to awards for forestry grant programs (NC), Number of outreach
 events concerning the grant in each jurisdiction (MD, VA), Number of soil health evaluations collected
 (MD), Increase in vegetation growth (VA),GHG emissions sequestered year over year (All). Percentage of
 funding beneﬁting Climate & Economic Justice Screening Tool census tracts (all projects).
 Duke University will assist in collecting performance measures and designing the reporting plan and will
 utilize the data that is collected to demonstrate implementation progress by developing a public, user-
 friendly map and data visualization dashboard. This dashboard will allow the EPA, coalition members, and
 members of the public to see how grant dollars are eﬀectively and eﬃciently being used throughout the
 award period and beyond. Duke University will publish easily accessible information on dollars spent, acres
 of land conserved/restored, trees planted, GHG monitoring and beneﬁts, CAP and HAP reduction
 estimates, and other key outputs and performance measures. Project beneﬁts to LIDACs will be highlighted
 within the dashboard. The dashboard will also track project initiation, progress, and completion. The ACC
 will continuously explore how the dashboard can be used in the implementation evaluation.
 Coalition members will track progress for each performance measure within their jurisdiction with
 databases, spreadsheets, and timekeeping records and report such progress to NC. Coalition members
 will meet quarterly throughout the period of performance to collaborate, share ideas, and update
 coalition members on progress. NC will then provide a status update with respect to each performance
 measure to EPA in semi-annual reports and the ﬁnal report.
 c. Authorities, Implementation Timeline, and Milestones
 Table 6 identiﬁes the parties, roles, and responsibilities for implementing each GHG reduction measure
 with their respective legal authority to carry out the measure (or plan for obtaining authority). A detailed
 implementation timeline for each measure, including tasks, key milestones, and key actions needed to
 meet measure goals and objectives by the end of the grant period, is provided in Section 1a.




                                                                                                          36
Case 1:25-cv-00039-JJM-PAS             Document 101 Filed 02/11/25                Page 53 of 135 PageID
                                             #: 6775
                                             North Carolina Department of Natural and Cultural Resources
                                                                          Atlantic Conservation Coalition




 Table 6: Measure 1 Roles and Responsibilities by Entity
 Implementing Entity     Roles and Responsibilities             Legal Authority
 NCCF                    Implement coastal habitat and          Incorporated NGOs will obtain regulatory
                         peatland protection, restore           authority for projects through permit
                         projects, conduct monitoring and       authorizations.
                         scientiﬁc analysis, report results.
 NCDNCR                  Purchase and acquire land to be        NC General Statute Article 2 §
                         added to the NC State Park System.     143B135.12 Gives NCDNCR the power to
                                                                acquire lands of State Parks with Council
                                                                of State approval.
 MD Department of        Project management, landowner          Either MD DNR is the land manager, or
 Natural Resources       outreach, project selection,           authority will be granted through
 (DNR)                   subcontracting, veriﬁcation, and       easement.
                         tracking reporting metrics.
 VA DEQ                  Lead agency to administer and          Code of VA, under § 10.1-11831.
                         disburse funds as subawards to
                         partners and manage all projects
                         reporting to NC DNR.
 VA Department of        Subgrantee will implement Projects     Title 29.1 of the Code of VA.
 Wildlife Resources      1-7 with partners, handle coastal
 (DWR)                   shoreline, marshland, peatland
                         protection and restoration projects,
                         land acquisition, monitoring and
                         analysis, hiring, reporting.
 VPA                     Subgrantee responsible for           VA Law Authorities under § 62.1-1281
                         implementing Project 8. This entails
                         working with partners to purchase a
                         conservation easement and perform
                         reforestation activities.
 TNC                     Acquiring interests in property,       TNC is a 501(c)(3) conservation nonproﬁt
                         restoring ecological function, and     and owns, restores, and manages
                         increasing carbon retention/           conservation lands.
                         sequestration rates.




                                                                                                        37
Case 1:25-cv-00039-JJM-PAS             Document 101 Filed 02/11/25                Page 54 of 135 PageID
                                             #: 6776
                                             North Carolina Department of Natural and Cultural Resources
                                                                          Atlantic Conservation Coalition




 Table 7: Measure 2 Roles and Responsibilities by Entity
  Implementing           Measure-Speciﬁc Roles and              Legal Authority
  Entities               Responsibilities
  NC Forest Service      Create a rapid growth forest           General Statute Chapter 106 Article 83
                         development cost share program         “Forest Development Act” gives the NC
                         and an urban tree planting grant       Department of Agriculture and Consumer
                         program for municipalities and non-    Services, which houses the NCFS, legal
                         proﬁts to apply.                       authority to administer forest
                                                                development and cost-share programs.
  Sustainable Forestry   Expand current geographical area to The SFLRP has authority to implement
  and Land Retention     reach additional LIDACs & provide   this program that aligns with Roanoke
  Project - NC           access to technical and ﬁnancial    Cooperatives Mission.
                         resources.
  Black Family Land      Acquire conservation easements on BFLT has been established for 21 years
  Trust (BFLT) - NC      land in LIDACs; in partnership with and has authority as a 501(c)(3) to
                         Roanoke SFLRP implement a cost      execute Programs.
                         share program to implement climate
                         smart reforestation/ forestry
                         practices.
  NCDNCR                 Oversee implementation of EO 305.      EO 305 directs NCDNCR to lead the
                                                                benchmarking and reporting of progress
                                                                toward its implementation.
  SCOR                   Identify and acquire land for          S.C. Code Ann. §§ 48-62-30(1)(b) and
                         conservation, measure and monitor      (d)(iii) SCOR developed land conservation
                         carbon beneﬁts and co-beneﬁts. It is   priorities and prioritized the role of
                         SCOR’s responsibility to develop,      nature-based solutions in land
                         implement, and maintain the            conservation and restoration eﬀorts
                         Statewide Resilience Plan.             which co-beneﬁts for GHG reduction
                                                                eﬀorts, including enhanced carbon sink
                                                                capabilities.
  MD Dept. of Natural    Project management, landowner          Landowner agreement and/or
  Resources              outreach, project selection,           memorandum of understanding with soil
                         subcontracting for implementation,     conservation districts.
                         veriﬁcation and tracking project
                         success, reporting metrics.




                                                                                                       38
Case 1:25-cv-00039-JJM-PAS          Document 101 Filed 02/11/25               Page 55 of 135 PageID
                                          #: 6777
                                          North Carolina Department of Natural and Cultural Resources
                                                                       Atlantic Conservation Coalition

  MD Dept. Of          Project management, landowner         Landowner agreement and/or MOU with
  Agriculture          outreach, project selection,          Soil Conservation Districts
                       subcontracting for implementation,
                       veriﬁcation and tracking project
                       success, reporting metrics.
  MD Department of     Project management, inter-agency      ND Code, Environment Article, § 2-1205
  the Environment      coordination, inter-agency project    permits MDE to develop plans, adopt
  (MDE)                tracking implementation.              regulations, and implement programs to
                                                             achieve the State’s GHG reduction
                                                             requirements.
  VA DEQ               Lead agency to administer and         Code of VA, under § 10.1-11831.
                       disburse funds as subawards to
                       partners and manage all projects
                       reporting to NC DNR.
  VA Department of     Subgrantee implementing Projects      Title 29.1 of the Code of VA.
  Wildlife Resources   1-7 with partners. Responsibilities
  (DWR)                include shoreline, marshland,
                       peatland restoration, land
                       acquisition, monitoring, analysis,
                       hiring, and reporting.
  VA Port Authority    Subgrantee implementing Project 8. VA Law Authorities under § 62.1-1281
  (VPA)                working with partners to purchase a
                       conservation easement, perform
                       reforestation activities.
  TNC                  Acquiring interests in property,      TNC is a 501(c)(3) nonproﬁt and owns and
                       restoring ecological function, and    manages conservation lands.
                       increasing carbon retention/CS
                       rates.

 Section 4: Low-Income and Disadvantaged Communities
 a. Community Beneﬁts




                                                                                                   39
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 56 of 135 PageID
                                   #: 6778
Case 1:25-cv-00039-JJM-PAS              Document 101 Filed 02/11/25                 Page 57 of 135 PageID
                                              #: 6779
                                              North Carolina Department of Natural and Cultural Resources
                                                                           Atlantic Conservation Coalition
 The ACC does not expect LIDACs to experience major disbeneﬁts from this proposal to enhance, protect
 and restore NWLs. Some potential disbeneﬁts include potential loss of tax revenue from rural lands and
 minor construction detours. However, the coalition will have measures in place to ensure that at least
 40% of total project beneﬁts go to LIDACs. We mitigate this through intentional program design of this
 proposal by identifying the geography of several projects across the region that will be in LIDACs. There
 are also several proposed projects where the exact location is unknown until the grant is awarded and
 assessments begin. Throughout the grant period, the coalition will use the dashboard and qualitative
 metrics to assess progress toward Justice40 goals, with the ability to adapt if targets are falling short.
 b. Community Engagement
 All coalition members performed extensive community outreach, including to LIDACs, during development
 of the measures contained in this proposal as part of their PCAP development process. As the lead
 applicant, NCDNCR engaged with and built on NCDEQ’s community engagement during the PCAP process
 while leveraging NCDNCR’s existing community engagement programming. SCOR provided a range of
 opportunities for community members to provide input during the PCAP development process, including
 forming action teams to involve experts and engaged stakeholders in PCAP development, conducting in-
 person meetings and webinars, and soliciting public input through an online survey. MD developed
 partnerships with community groups throughout the state to understand air quality concerns and build an
 air monitoring network. VA utilized several outreach channels to engage with LIDACs and raise awareness
 of public engagement sessions including social media, emails, newsletters, and government webpages;
 tribal engagement was prioritized as VADEQ consistently communicated with the Monacan Indian Nation
 and other tribal entities throughout PCAP development.
 The coalition will seek input from LIDACs during development of promotional materials, guidance, and
 other materials, as well as continue meaningful engagement with LIDACs throughout and following
 implementation. Project leads will conduct targeted outreach with landowners, foresters, local and federal
 government, tribal communities, partner agencies, and community organizations for each project. Leads
 will also leverage news media, social media, and websites to notify the public about projects and how to
 get involved. These eﬀorts will be ongoing prior to and during annual enrollment periods to make eligible
 participants aware of grants and cost-share programs. The coalition partners will particularly engage with
 the coalition’s federal and state-recognized tribal communities. There are 29 state or federally recognized
 tribes within the four coalition states. Virginia will have a project speciﬁcally directed toward conservation
 and restoration within tribal communities. Coalition partners will engage with nearby tribes throughout
 project partnerships to ensure tribal communities have access and opportunity to beneﬁt from the
 coalition projects.
 Project partners may also establish programs to create opportunities for student and community
 involvement in monitoring the success and eﬀectiveness of the restoration work. For example, in Virginia,
 DWR will work in partnership with Christopher Newport University and its programs to provide climate-
 resilience experiences to VA’s local school children. The North Carolina Coastal Federation will also
 facilitate volunteer and educational opportunities with their living shoreline projects by leveraging their
 existing environmental education programming.
 Duke University’s public, user-friendly maps and the interactive data visualization dashboard will be used
 to make the coalition projects and programs accessible and easy to understand for the public and will allow
 individuals to see how projects are beneﬁting their communities. More details on this dashboard can be
 found in Section 3b.
 Section 5: Job Quality



                                                                                                            41
Case 1:25-cv-00039-JJM-PAS                     Document 101 Filed 02/11/25                         Page 58 of 135 PageID
                                                     #: 6780
                                                      North Carolina Department of Natural and Cultural Resources
                                                                                   Atlantic Conservation Coalition
 The ACC will bolster local economies across the Southeast and support good quality jobs. This grant
 funding will directly create 56 new jobs, but the total impact through contracting and indirect job creation
 will be much greater. The environmental restoration industry supports approximately 33 jobs for every $1
 million invested. 18 The study found that there is an employment multiplier between 1.48 and 3.8 (the
 number of jobs supported by every restoration project) and an output multiplier between 1.6 and 2.59
 (multiplier for total economic output from investments). Coastal restoration requires a diverse set of skills
 that directly and indirectly employ a wide variety of people, including construction workers, engineers,
 ecologists, project managers, and heavy equipment operators. NOAA found that on average, 15 jobs were
 supported per $1 million invested, with up to 30 jobs created for some labor-intensive projects. 19 Based
 on this NOAA research, coastal habitat projects in this proposal will support approximately 2,500 jobs
 across the coastal region within the Coalition states. Continued protection of coastal habitats also creates
 long term indirect jobs through seafood and shellﬁsh industries, tourism, and recreation. In the forestry
 sector, there will be an increase in demand for skilled workers to conduct site preparations and to plant
 trees. These jobs will range in required skill level and the projects will oﬀer opportunity for the
 development of a specialized workforce throughout the states to support expanded agroforestry-based
 production systems. According to the Bureau of Labor Statistics, the conservation scientist and forester
 occupation pays on average $64,420 per year and the occupation is expected to grow by 4% by 2032. 20
 Jobs in environmental conservation and restoration ﬁelds do not all require four-year degrees. BenDor et
 al 2015 found that restoration projects create localized employment beneﬁts while creating well-paying
 jobs compared to average wages, in a way that mirrors the construction industry at large. The projects in
 this proposal will take place largely in rural areas and will be especially beneﬁcial for local, rural economies.

 Each coalition states’ commerce agency will be involved in supporting the growth of good paying
 environmental conservation and restoration jobs for this project. The member states have drawn in major
 job announcements in recent years in the climate and clean energy sector. Commerce agencies assist states
 in recruiting and keeping high-paying jobs across diverse skillsets and backgrounds. For example, NC’s
 Department of Commerce’s First in Talent Plan 21 sets goals for (i) increasing access to high-quality early
 education and decreasing childcare expenses; (ii) improving regional access to quality, aﬀordable housing
 and transportation to grow and retain a vibrant workforce; and (iii) supporting initiatives seeking healthier
 communities. Virginia has an Inclusive Excellence Strategic Plan 22 to increase hiring and promotion of those
 from underrepresented backgrounds. The direct and indirect jobs created through this proposal will be
 supported by coalition members’ robust workforce strategies. Additionally, in North Carolina , the Climate
 Corps oﬃce will engage with project partners to identify opportunities to place Climate Corps or other
 AmeriCorps Program service members with these projects.



 18 BenDor T, Lester TW, Livengood A, Davis A, Yonavjak L (2015) Estimating the Size and Impact of the Ecological Restoration

 Economy. PLoS ONE 10(6): e0128339. https://doi.org/10.1371/journal.pone.0128339
 19 NOAA. Habitat Restoration Supports Jobs, 2020. https://www.ﬁsheries.noaa.gov/feature-story/habitat-restoration-

 supportshttps://www.ﬁsheries.noaa.gov/feature-story/habitat-restoration-supports-jobs-stewardshipjobs-stewardship
 20 Bureau of Labor Statistics (2023) https://www.bls.gov/ooh/life-physical-and-social-science/conservation-

 scientists.htm#:~:text=Conservation%20scientists%20and%20foresters%20evaluate,suppressing%20ﬁres%20and%20planting%
 20seedlings
 21 North Carolina Department of Commerce First in Talent Plan. https://www.commerce.nc.gov/guidelines-north-

 carolinahttps://www.commerce.nc.gov/guidelines-north-carolina-strategic-plan-economic-development/openstrategic-plan-
 economic-development/open
 22 Virginia DWR Inclusive Excellence Strategic Plan. https://dwr.virginia.gov/wp-content/uploads/media/DWR-

 Inclusivehttps://dwr.virginia.gov/wp-content/uploads/media/DWR-Inclusive-Excellence-Strategic-Plan-2022-2026.pdfExcellence-
 Strategic-Plan-2022-2026.pdf


                                                                                                                                42
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 59 of 135 PageID
                                   #: 6781
Case 1:25-cv-00039-JJM-PAS             Document 101 Filed 02/11/25                Page 60 of 135 PageID
                                             #: 6782
                                             North Carolina Department of Natural and Cultural Resources
                                                                          Atlantic Conservation Coalition
 speciﬁc to each grant project. If progress is stalled, or an unforeseen event creates obstacles, NCDNCR's
 Manager of Development and Special Projects will contact the granting agency to explain the challenges
 and if necessary, request an extension. The Manager also reviews the grant RFP and contract, identiﬁes
 the reporting requirements/schedule, allowable costs, and publicity obligations, and then shares the
 information with the project team to ensure compliance. Once costs are incurred, transactions are
 processed through NCDNCR's Oﬃce of Budget and Finance. Its Internal Audit unit ensures that activities
 are following State and federal regulations. NCDNCR follows the State Budget Act, Article 143C of the NC
 General Statutes, and the State Budget Manual. Internal controls are in place to control access to systems
 and records. Regular internal audits are conducted to assess the eﬀectiveness of anti-fraud controls and
 identify potential vulnerabilities.

 b. Reporting Requirements
 NCDNCR’s Manager of Development and Special Projects works closely with the project team assigned to
 implement a grant-funded project. Monthly, quarterly, or as-needed meetings are scheduled to discuss
 deliverables, identify obstacles, and facilitate communication. Staﬀ tasks and deadlines are assigned using
 a project management matrix, which is reviewed during meetings. Notiﬁcations are sent to staﬀ a month
 prior to reporting deadlines to provide enough time to compile required information for progress and
 ﬁnancial reports. Once information is compiled, the Manager submits reports to the granting agency
 before the deadline. If the granting agency requires additional information or needs an item corrected, the
 Manager provides this information within 48 hours. For all projects in Table 8 above, NCDNCR submitted
 required interim and ﬁnal reports in a timely manner and complied with all issued terms. In many cases,
 goals were not only fulﬁlled but exceeded.
 c. Staﬀ Expertise
 As demonstrated in the Team Biographies attachment, the lead applicant, coalition members, and project
 partners are qualiﬁed with decades of applicable experience to successfully implement the proposed
 projects and achieve GHG reduction targets set out with these measures. The past performance section
 demonstrates NCDNCR has the technical expertise to be the lead applicant of this proposal for both grant
 management and understanding of subject matter. In addition to federal awards, NCDNCR manages NC’s
 Land and Water Fund Program which awards millions of dollars annually to nonproﬁts trusts, and
 government agencies to protect and restore NWLs across the state. NCDNCR also manages the North
 Carolina State Park System and the state’s Natural Heritage Program. The agency is charged with leading
 the work of the NC NWL Action Plan and implementation of EO 305 and has the staﬀ expertise to lead the
 implementation of this proposal.
 Section 7: Budget and Timely Expenditure of Grant Funds
 See the Budget Narrative and Budget Spreadsheet attachments for more information (separate
 documents).




                                                                                                         44
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 61 of 135 PageID
                                   #: 6783



                        Davis Declaration
                               Exhibit B
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 62 of 135 PageID
                                   #: 6784
          Case 1:25-cv-00039-JJM-PAS                   Document 101 Filed 02/11/25                      Page 63 of 135 PageID
                                                             #: 6785
                                                                                                            5E - 03D25824 - 0   Page 2

                                                      EPA Funding Information
              FUNDS                                   FORMER AWARD                             THIS ACTION                          AMENDED TOTAL
EPA Amount This Action                                                 $0                      $ 421,238,074                             $ 421,238,074
EPA In-Kind Amount                                                     $0                                   $0                                     $0
Unexpended Prior Year Balance                                          $0                                   $0                                     $0
Other Federal Funds                                                    $0                                   $0                                     $0
Recipient Contribution                                                 $0                                   $0                                     $0
State Contribution                                                     $0                                   $0                                     $0
Local Contribution                                                     $0                                   $0                                     $0
Other Contribution                                                     $0                                   $0                                     $0
Allowable Project Cost                                                 $0                      $ 421,238,074                             $ 421,238,074



Assistance Program (CFDA)                       Statutory Authority                               Regulatory Authority
66.046 - Climate Pollution Reduction Grants     Clean Air Act: Sec. 137                           2 CFR 200, 2 CFR 1500 and 40 CFR 33




                                                                        Fiscal
                                                        Approp.         Budget                 Object                       Cost         Obligation /
          Site Name                  Req No     FY                                     PRC              Site/Project
                                                         Code         Organization             Class                     Organization    Deobligation
-                                 2404VW4138   2226    E4SF5          04V6           000ACGXJ2 4132     -                -               $ 421,238,074
                                                                                                                                         $ 421,238,074
          Case 1:25-cv-00039-JJM-PAS                        Document 101 Filed 02/11/25   Page 64 of 135 PageID
                                                                  #: 6786
                                                                                          5E - 03D25824 - 0   Page 3

Budget Summary Page
                                       Table A - Object Class Category                             Total Approved Allowable
                                             (Non-Construction)                                       Budget Period Cost
 1. Personnel                                                                                                          $ 10,178,563
 2. Fringe Benefits                                                                                                      $ 4,125,448
 3. Travel                                                                                                                 $ 205,250
 4. Equipment                                                                                                               $ 95,000
 5. Supplies                                                                                                               $ 299,250
 6. Contractual                                                                                                          $ 1,900,000
 7. Construction                                                                                                                  $0
 8. Other                                                                                                             $ 399,434,563
 9. Total Direct Charges                                                                                              $ 416,238,074
 10. Indirect Costs: 10.00 % Base DE MINIMUS                                                                             $ 5,000,000
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                                100.00 %)                                                             $ 421,238,074
 12. Total Approved Assistance Amount                                                                                  $ 421,238,074
 13. Program Income                                                                                                               $0
 14. Total EPA Amount Awarded This Action                                                                              $ 421,238,074
 15. Total EPA Amount Awarded To Date                                                                                  $ 421,238,074
      Case 1:25-cv-00039-JJM-PAS         Document 101 Filed 02/11/25         Page 65 of 135 PageID
                                               #: 6787
                                                                              5E - 03D25824 - 0   Page 4

                                 Attachment 1 - Project Description
This action approves an award in the amount of $421,238,074 to provide funding under the Inflation
Reduction Act (IRA) to the North Carolina Department of Natural and Cultural Resources. The recipient
will implement greenhouse gas (GHG) reduction programs, policies, projects, and measures identified in
a Priority Climate Action Plan (PCAP) developed under a Climate Pollution Reduction Grants (CPRG)
planning grant.The activities to be completed during the project period are described in 21 projects under
two measures. Measure 1 of this proposal focuses on protecting and restoring high-carbon coastal
habitats and peatlands to maximize carbon sequestration and coastal resilience benefits. Nine activities
will fall under this measure. Measure 2 of this proposal addresses the protection, use, and restoration of
forested land, promoting sustainable forestry management practices to increase carbon sequestration.
Twelve activities will fall under this measure. The anticipated deliverables for Measure 1 and 2 include
the following: 33,000 acres of peatlands newly preserved and/or restored in NC and VA (TNC), 150
acres of tidal wetlands restored in VA (TNC), 15 acres of peatlands and 595 acres of coastal habitats
newly preserved and restored (NC), 3,300 acres permanently added to State Park System (NC),10,000
of acres of forests, current or future coastal habitats, or agricultural lands restored (MD), 1,540 acres of
coastal habitats restored (MD). 67,647 acres of forests under improved management in the Appalachians
in MD and VA (TNC), 25,447 acres of bottomland hardwood forest under improved management in SC
and VA (TNC), At least 55,000 acres of land reforested (NC), Approximately 12,240 acres placed into
conservation, with additional benefits for agroforestry, recreation, and flood mitigation (SC). The
expected outcomes from Measures 1 and 2 include the following: Reduction in cumulative metric tons of
GHG emissions (mtCOe): 2025-2030: 3,362,249; 2025-2050: 28,027,178.0. NCCF - Implement coastal
habitat and peatland protection, restore projects, conduct monitoring and scientific analysis, report
results; Maryland Department of Natural Resources (MDNR) - Project management, landowner outreach,
project selection, subcontracting, verification, and tracking reporting metrics.;VA DEQ - Lead agency to
administer and disburse funds as subawards to partners and manage all projects reporting to NC DNR.;
VA Department of Wildlife Resources (DWR) - will implement Projects 1-7 with partners, handle coastal
shoreline, marshland, peatland protection and restoration projects, land acquisition, monitoring and
analysis, hiring, reporting.;VPA - responsible for implementing Project 8. This entails working with
partners to purchase a conservation easement and perform reforestation activities.;TNC - Acquiring
interests in property, restoring ecological function, and increasing carbon retention/ sequestration rates.;
NC Forest Service - Create a rapid growth forest development cost share program and an urban tree
planting grant program for municipalities and non-profits to apply.;Sustainable Forestry and Land
Retention Project - Expand current geographical area to reach additional LIDACs & provide access to
technical and financial resources; Black Family Land Trust (BFLT) - Acquire conservation easements on
land in LIDACs; in partnership with Roanoke SFLRP implement a cost share program to implement
climate smart reforestation/forestry practices;SCOR - Identify and acquire land for conservation, measure
and monitor carbon benefits and co-benefits. It is SCOR’s responsibility to develop, implement, and
maintain the Statewide Resilience Plan;MD Dept. of Natural Resources - Project management,
landowner outreach, project selection, subcontracting for implementation, verification and tracking project
success, reporting metrics; MD Dept. Of Agriculture - Project management, landowner outreach, project
selection, subcontracting for implementation, verification and tracking project success, reporting metrics;
and MD Department of the Environment (MDE) - Project management, inter-agency coordination, inter-
agency project tracking implementation.
      Case 1:25-cv-00039-JJM-PAS        Document 101 Filed 02/11/25        Page 66 of 135 PageID
                                              #: 6788
                                                                            5E - 03D25824 - 0   Page 5

                                     Administrative Conditions
General Terms and Conditions

The recipient agrees to comply with the current Environmental Protection Agency (EPA) general terms
and conditions available at: https://www.epa.gov/system/files/documents/2024-
10/fy_2025_epa_general_terms_and_conditions_effective_october_1_2024_or_later.pdf

These terms and conditions are in addition to the assurances and certifications made as a part of the
award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.epa.
gov/grants/grant-terms-and-conditions#general.

A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the
following email addresses:

       •Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and Jasmine Williams,
       williams.jasmine@epa.gov, or 404-562-9334.

       •MBE/WBE reports (EPA Form 5700-52A): Jasmine Williams, williams.
       jasmine@epa.gov, or 404-562-9334.

       •All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests
       for Extensions of the Budget and Project Period, Amendment Requests, Requests for
       other Prior Approvals, updates to recipient information (including email addresses,
       changes in contact information or changes in authorized representatives) and other
       notifications: Erin Frew, frew.erin@epa.gov or 404-562-9370 and Jasmine Williams,
       williams.jasmine@epa.gov, or 404-562-9334.

       •Payment requests (if applicable): Erin Frew, frew.erin@epa.gov or 404-562-
       9370 and Jasmine Williams, williams.jasmine@epa.gov, or 404-562-9334.

       •Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and
       deliverables: Erin Frew, frew.erin@epa.gov or 404-562-9370.

B. New Recipient Training Requirement

The recipient agrees to complete the EPA Grants Management Training for Applicants and Recipients
and the How to Develop a Budget training within 90 calendar days of the date of award of this
agreement. The recipient must notify the Grant Specialist via email when the required training is
complete. For additional information on this training requirement, the recipient should refer to RAIN-
2024-G01.
        Case 1:25-cv-00039-JJM-PAS                   Document 101 Filed 02/11/25                   Page 67 of 135 PageID
                                                           #: 6789
                                                                                                     5E - 03D25824 - 0   Page 6
C. Pre-Award Costs

In accordance with 2 CFR 1500.9, the recipient may charge otherwise allowable pre-award costs (both Federal and non-Federal cost
sharing) incurred from 10/01/2024 to the actual award date provided that such costs were contained in the approved application and all
costs are incurred within the approved budget period.
        Case 1:25-cv-00039-JJM-PAS                  Document 101 Filed 02/11/25             Page 68 of 135 PageID
                                                          #: 6790
                                                                                             5E - 03D25824 - 0   Page 7

                                                 Programmatic Conditions
Climate Pollution Reduction Implementation Grants Programmatic Terms and Conditions

A. Deliverables

The first phase of the Climate Pollution Reduction Grants (CPRG) program provided funding for designing Priority Climate
Action Plans (PCAPs) that incorporate a variety of measures (i.e., programs, policies, measures, and projects) that reduce
greenhouse gas (GHG) emissions. The purpose of this CPRG Implementation assistance agreement is to implement
proposed measures within a specified PCAP identified in the CPRG Implementation Grant General Competition application.
All programs, policies, measures, and projects contained in the final, approved CPRG implementation assistance agreement
workplan are required deliverables.

The recipient agrees to implement GHG reduction programs, policies, projects, and measures (collectively referred to as
“GHG reduction measures,” or “measures”) identified in a PCAP developed under a CPRG planning grant and included in the
CPRG implementation grant workplan. The recipient agrees to ensure that each is successfully implemented before the end
of the grant project period. The recipient agrees to successful project implementation, which includes the process of putting a
decision or plan into effect; executing the program, policies, projects and/or measures, not just planning or designing the
programs, policies, projects and/or measures. The recipient agrees to adequately describe the actual environmental outputs
and outcomes achieved, including actual GHG emissions reduced, not just the expected outputs and outcomes of the
proposed measures. Clean Air Act (CAA) section 137 also requires that CPRG Implementation grant recipients address the
degree to which a grant reduces GHG emissions in total and with respect to low-income and disadvantaged communities,
where “greenhouse gas” refers to the air pollutants carbon dioxide (CO2), hydrofluorocarbons (HFCs), methane (CH4), nitrous
oxide (N2O), perfluorocarbons (PFCs), and sulfur hexafluoride (SF6).

To the best of their ability, the recipient agrees to:

         implement GHG emission reduction programs, policies, measures, and projects that are expected to reduce GHG
         emissions (or enhance GHG removals) by the estimated cumulative total GHG emission reductions from the final
         approved workplan;
         only report emission reductions occurring as a result of CPRG funding; and
         only report emission reduction data in units of million metric tons of carbon dioxide equivalent (MMTCO2e) where
         appropriate, calculated using the global warming potentials (GWP) in the International Panel on Climate Change's
         (IPCC) Fifth Assessment Report.


Refer to the Notice of Funding Opportunity, EPA-R-OAR-CPRGI-23-07 (https://www.epa.gov/system/files/documents/2023-
09/CPRG General Competition NOFO.pdf), Appendix B, Global Warming Potentials for GHGs, for details about how to apply
GWP values for different gases.

For the measures included in the final, approved assistance agreement work plan, the recipient agrees to
provide transparent GHG emission reduction estimates based on high-quality, thorough, reasonable, and
comprehensive methodologies, assumptions, and calculations. Examples of tools that could be used to assist
in these GHG quantifications can be found at: https://www.epa.gov/inflation-reduction-act/climate-pollution-
reduction-grants

B. Final Approved Work Plan and Modifications

The recipient agrees to implement the measures in the EPA-approved work plan that will achieve significant cumulative GHG
reductions by 2030 and beyond.

Recipient agrees to carry out the project in accordance with the final approved workplan. Recipients are required to report
deviations from budget or project scope or objective, and must request prior written approval from the EPA:

• For any change in the scope or objective of the project or program (even if there is no associated budget revision requiring
prior written approval);
        Case 1:25-cv-00039-JJM-PAS                   Document 101 Filed 02/11/25                     Page 69 of 135 PageID
                                                           #: 6791
                                                                                                      5E - 03D25824 - 0   Page 8

• For change in key personnel (including employees and contractors) that are identified by name or position in the Federal
award;

• For the disengagement from a project for more than three months, or a 25% reduction in time and effort devoted to the
Federal award over the course of the period of performance, by the approved project director or principal investigator;

• For the inclusion of costs that require prior approval in accordance with 2 CFR Part 200 Subpart E—Cost Principles or 48
CFR part 31, “Contract Cost Principles and Procedures,” as applicable;

• For the transfer of funds budgeted for participant support costs as defined in 2 CFR Section 200.1 Definitions to other budget
categories;

• For the subawarding, transferring or contracting out of any work under the award;

– Changes in the total approved cost-sharing amount

– When the need arises for additional Federal funds to complete the project.

Proposed modifications to the approved work plan or budget, including additions, deletions, or changes in the schedule, shall
be submitted in a timely manner to the EPA Project Officer for approval. Depending on the type or scope of changes, a formal
amendment to the award may be necessary. Major project modifications may include but are not limited to: changes to the
approved environmental results, outputs or outcomes, types and number of affected devices or equipment, the approved
types of emission reduction technologies to be implemented, specific programs or policies to be adopted, or changes to the
approved project location(s). Any change that would significantly alter the cumulative GHG reductions achieved by 2030 and
beyond and affect the achievement of community benefits, especially in low-income and disadvantaged communities, may not
be allowed. The recipient shall not make changes to the proposed activities in the EPA-approved work plan without prior
written approval from the EPA. The recipient shall contact the EPA Project Officer with the proposed changes; however,
depending on the type of change, the Agency Award Official or Grant Management Officer may need to make the final
determination. If issues regarding proposed measures arise that cannot be resolved, the EPA may elect to terminate the
assistance agreement, and/or if applicable, recover ineligible expenditures from the recipient. Any significant changes to the
approved work plan that would result in undermining the integrity of the award competition will not be approved.

For grants that are awarded to a recipient that is serving as the lead for a coalition under the CPRG program, the recipient
agrees to abide by the terms set out in the Memorandum of Agreement (MOA), including the roles, responsibilities, and
commitments that each partner will provide to ensure project success, the operating model for the coalition, and the resources
that each partner will contribute to the project. As established in the CPRG coalition's MOA, the lead applicant is accountable
to the EPA and accepts full responsibility for effectively carrying out the full scope of work and proper financial management of
the grant. Coalition members who are grant subrecipients are accountable to the lead applicant for proposed use of EPA
funding and successful project implementation. The recipient shall not make changes to the signed MOA without prior written
approval from the EPA.

C. Performance Reporting and Final Performance Report

1. Performance Reports - Content

The recipient agrees to inform the EPA as soon as it is aware of problems, delays, or adverse conditions that will materially impair the
recipient's ability to meet the outputs/outcomes specified in the final, approved assistance agreement work plan. The recipient agrees to
inform the EPA immediately rather than waiting until the next performance report is due.

The recipient agrees to adequately describe the actual environmental outputs and outcomes achieved, not just the expected outputs and
outcomes of the proposed measures. The recipient agrees to report out on each performance measures that will be the mechanism to track,
measure, and report progress toward achieving the expected outputs and outcomes for each GHG reduction measure. The recipient agrees
to track and report separately on the work conducted and GHG emissions reductions for each measure (program, policy, measure, or
project) specified in the final, approved assistance agreement work plan. Recipients also agree to track and report separately on the
budgets for each measure.


In accordance with 2 CFR 200.329, the recipient agrees to submit semi-annual, one-year, and final performance progress reports that
include brief information on each of the areas specified below. To ensure the EPA can effectively monitor progress towards the achievement
        Case 1:25-cv-00039-JJM-PAS                      Document 101 Filed 02/11/25                      Page 70 of 135 PageID
                                                              #: 6792
                                                                                                          5E - 03D25824 - 0   Page 9

of measures, the recipient also agrees to report progress for each measure identified in the final, approved assistance agreement work plan
as soon as work is completed and information is available.

a. Semi-Annual: The recipient agrees to submit semi-annual performance reports that include brief information on each of the following
areas:

(1) a comparison of actual technical progress and milestones achieved during the reporting period to the outputs/outcomes and
performance measures established in the final, approved assistance agreement work plan, which may include technical changes made to
the project, public events conducted, websites published, release of public-facing documents or tools, or other reportable activities
described in the work plan;

(2) a consolidated budget update with separate tracking for each measure (that is, how much was spent on equipment, supplies,
contractors, subgrants, etc., during the reporting period and cumulatively) and, when appropriate, additional pertinent information such as
analysis and explanation of cost overruns, high-unit costs, cost-share expenditures, program income, infrastructure costs subject to Buy
America, Build America (BABA) compliance, or requested budget modifications (for example, when the recipient is requesting to move
funding from one budget category to another);

(3) if necessary, a description of the reasons why any implementation timeline milestones or outputs/outcomes were missed for each
measure established in the final, approved assistance agreement work plan, including the recipient's strategy to address challenges faced
and/or the recipient's approach to ensure that the approved outputs/outcomes for each measure will be achieved within the period of
performance;

(4) documentation of community engagement activities conducted in low-income and disadvantaged communities for each measure, which
describes how the activities were publicized, categorizes respondents/attendees (e.g., the number of people from Tribal governments,
federal government, state government, local government, nonprofits, for profits, universities, and the public), explains how input from
participants was considered in decisions for implementing the measure, and details how meaningful engagement with low-income and
disadvantaged communities will be continuously included in the development and implementation of the measure;

(5) as applicable, strategies for mitigating environmental risks;

(6) a description of any climate resiliency planning, siting, design, and operation of the project.

(7) as applicable, updates to individuals, including those from coalition members, who serve as key contacts and/or any changes to the roles
and responsibilities of key contacts involved in each measure and the reason(s) for the change(s);

(8) as applicable, updates regarding which organizations have the authority to implement each measure and the reason(s) for the change
(s);

(9) as applicable, updates regarding changes to contracts, subgrants, and participant support costs;

(10) as applicable, progress on generating high-quality jobs with a diverse, highly skilled workforce and support of strong labor standards;
and

(11) summary of anticipated activities for the next 6-month reporting period.

b. One-year report: As part of the second semi-annual progress report (i.e. the more detailed one-year report), the recipient agrees to report
the additional data to the EPA. The reporting template will be made available to grant recipients through an electronic data interface to be
specified by EPA upon approval of the Information Collection Request. This includes co-pollutant emissions reductions of each pollutant
impacted by each measure, the sector impacted, and the county in which the emissions change. In addition, the recipient agrees to report
the Climate and Economic Justice Screening Tool (CEJST) Census tract IDs or the EPA's EJScreen Census block group IDs for areas
affected by GHG reduction measures, consistent with the EPA's definition of low-income and disadvantaged communities for the CPRG
program.

c. Final Report: The recipient also agrees to submit a detailed final report and to report certain data associated with the final report to the
EPA. The reporting template will be made available to grant recipients through an electronic data interface to be specified by EPA upon
approval of the Information Collection Request.

d. Subaward Performance Reporting


Subawards establish a financial assistance relationship under which the subrecipient's employees and contractors implement programs and
        Case 1:25-cv-00039-JJM-PAS                     Document 101 Filed 02/11/25                       Page 71 of 135 PageID
                                                             #: 6793
                                                                                                         5E - 03D25824 - 0   Page 10
projects to accomplish the goals and objectives of the grant. Subrecipients (which includes Coalition members) are subject to the same
federal requirements as the pass-through entity. (For more details, see General Terms and Conditions 8. Establishing and Managing
Subawards, applicable provisions of 2 CFR Part 200, the EPA's Subaward Policy). The recipient must report on its subaward monitoring
activities under 2 CFR 200.332(d). Examples of items that must be reported if the pass-through entity has the information available are:

(1) Summaries of results of reviews of financial and programmatic reports.

(2) Summaries of findings from site visits and/or desk reviews to ensure effective subrecipient performance.

(3) Environmental results the subrecipient achieved.

(4) Summaries of audit findings and related pass-through entity management decisions.

(5) Actions the pass-through entity has taken to correct deficiencies such as those specified at2 CFR 200.332(e),2 CFR 200.208and the2
CFR Part 200.339 Remedies for Noncompliance.

As with any EPA grant with a grant recipient subawarding to subrecipients, the grant recipient is accountable to the EPA and accepts
responsibility for carrying out the full scope of work and proper financial management of the grant. In the event that a coalition member
withdraws, the grant recipient continues to be subject to the EPA's terms and conditions for the grant, the subaward policy, and EPA grants
policy. In circumstances where the EPA deems that the withdrawal of a coalition member fundamentally alters the project or jeopardizes the
project's success, the EPA will consider appropriate remedies and reserves the right to terminate an awarded grant (see 2 CFR 200.339
through 343)

2. Performance Reports - Frequency

The recipient agrees to submitsemi-annualperformance reports electronically to the EPA Project Officer within 30 days after the six-month
reporting period ends.Semi-annual reports are due according to the following schedule. If a due date falls on a weekend or holiday, the
report will be due on the next business day. If a project start date falls within a defined reporting period, the recipient must report for that
period by the given due date unless otherwise noted. This semi-annual reporting schedule shall be repeated for the duration of the award
agreement.

October 1 – March 31 Reporting Period: report due April 30

April 1 – September 30 Reporting Period: report due October 30

As part of the second semi-annual performance report that is submitted one year after the grant award, the recipient agrees to submit
theone-yearperformance report that includes the additional details specified above in section C.1.b.

The recipient must submit the final performance report no later than 120 calendar days after the end date of the period of performance.

D. Allowable and Unallowable Activities

The recipient agrees to only use this CPRG Implementation grant award funding to implement measures in the EPA approved
workplan for this CPRG Implementation grant and follow the grant Terms and Conditions.

All costs charged to the award to support these activities must meet the requirements for allowability under 2 CFR Part 200,
Subpart E as well as applicable provisions of 2 CFR Part 1500. In addition, the recipient agrees to obtain prior approval from
the EPA Award Official prior to the expenditure of the award for financial assistance as well as other activities that involve
acquiring real property, including related equipment purchases, if not already in the EPA approved work plan.

The recipient agrees to not use the award for the following unallowable activities: (a) activities that are not in the EPA
approved work plan; (b) activities that support measures, activities or projects outside the boundaries of the ten EPA regions.
The recipient also agrees not to use this CPRG award to replace existing program federal funding, but the recipient may use
CPRG funds to supplement or expand existing programs. The recipient also agrees not to use the award for activities
associated with defending against, settling, or satisfying a claim by a private litigant, except when either (a) the claim stems
from the recipient's compliance with the terms and conditions of the award agreement or (b) the recipient has obtained prior
written approval from the EPA Project Officer.
        Case 1:25-cv-00039-JJM-PAS                     Document 101 Filed 02/11/25                       Page 72 of 135 PageID
                                                             #: 6794
                                                                                                         5E - 03D25824 - 0   Page 11

The recipient agrees to not use the award to aid regulated entities to comply with EPA regulatory requirements.

E. Davis-Bacon Related Act Term and Condition

1. Program Applicability

a. Climate Pollution Reduction Implementation Grants.

b. Section 314 of the Clean Air Act.

c. Construction activities conducted under a Climate Pollution Reduction Implementation Grant.

d. The recipient must work with the appropriate authorities to determine wage classifications for the specific project(s) or activities subject to
Davis Bacon under this grant.

2. Davis-Bacon and Related Acts

Davis-Bacon and Related Acts (DBRA) (https://www.dol.gov/agencies/whd/government-contracts/construction) is a collection of labor
standards provisions administered by the Department of Labor, that are applicable to grants involving construction. These labor standards
include the:

a. Davis-Bacon Act, which requires payment of prevailing wage rates for laborers and mechanics on construction contracts of $2,000 or
more;

b. Copeland “Anti-Kickback” Act, which prohibits a contractor or subcontractor from inducing an employee into giving up any part of the
compensation to which he or she is entitled; and

c. Contract Work Hours and Safety Standards Act, which requires overtime wages to be paid for over 40 hours of work per week, under
contracts in excess of $100,000.

3. Recipient Responsibilities When Entering Into and Managing Contracts

a. Solicitation and Contract Requirements:

(1) Include the Correct Wage Determinations in Bid Solicitations and Contracts: Recipients are responsible for complying with the
procedures provided in 29 CFR 1.6 when soliciting bids and awarding contracts.

(2) Include DBRA Requirements in All Contracts: Include the following text on all contracts under this grant:

“By accepting this contract, the contractor acknowledges and agrees to the terms provided in the DBRA Requirements for Contractors and
Subcontractors Under EPA Grants (https://www.epa.gov/grants/contract-provisions-davis-bacon-and-related-acts).”

b. After Award of Contract:

(1) Approve and Submit Requests for Additional Wages Rates: Work with contractors to request additional wage rates if required for
contracts under this grant, as provided in 29 CFR 5.5(a)(1)(iii).

(2) Provide Oversight of Contractors to Ensure Compliance with DBRA Provisions: Ensure contractor compliance with the terms of the
contract, as required by 29 CFR 5.6.

4. Recipient Responsibilities When Establishing and Managing Additional Subawards

a. Include DBRA Requirements in All Subawards (including Loans): Include the following text on all subawards under this grant:

“By accepting this award, the EPA subrecipient acknowledges and agrees to the terms and conditions provided in the DBRA Requirements
for EPA Subrecipients (https://www.epa.gov/grants/contract-provisions-davis-bacon-and-related-acts).”

b. Provide Oversight to Ensure Compliance with DBRA Provisions: Recipients are responsible for oversight of subrecipients and must
        Case 1:25-cv-00039-JJM-PAS                    Document 101 Filed 02/11/25                      Page 73 of 135 PageID
                                                            #: 6795
                                                                                                       5E - 03D25824 - 0   Page 12
ensure subrecipients comply with the requirements in 29 CFR 5.6.

5. Consideration as Part of Every Prime Contract Covered by DBRA

The contract clauses set forth in this Term & Condition, along with the correct wage determinations, will be considered to be a part of every
prime contract covered by Davis-Bacon and Related Acts (see 29 CFR 5.1), and will be effective by operation of law, whether or not they
are included or incorporated by reference into such contract, unless the Department of Labor grants a variance, tolerance, or exemption.
Where the clauses and applicable wage determinations are effective by operation of law under this paragraph, the prime contractor must be
compensated for any resulting increase in wages in accordance with applicable law.

F.Cybersecurity Condition

1. State Grant Cybersecurity

a. The recipient agrees that when collecting and managing environmental data under this assistance agreement, it will protect the data by
following all applicable State law cybersecurity requirements.

b. (1) The EPA must ensure that any connections between the recipient's network or information system and EPA networks used by the
recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an Agency IT system and an external IT
system for the purpose of transferring information. Transitory, user-controlled connections such as website browsing are excluded from this
definition.

If the recipient's connections as defined above do not go through the Environmental Information Exchange Network or the EPA's Central
Data Exchange, the recipient agrees to contact the EPA Project Officer (PO) and work with the designated Regional/Headquarters
Information Security Officer to ensure that the connections meet EPA security requirements, including entering into Interconnection Service
Agreements as appropriate. This condition does not apply to manual entry of data by the recipient into systems operated and used by the
EPA's regulatory programs for the submission of reporting and/or compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient to comply with the requirements in
(b)(1) if the subrecipient's network or information system is connected to EPA networks to transfer data to the Agency using systems other
than the Environmental Information Exchange Network or the EPA's Central Data Exchange. The recipient willbe in compliance withthis
condition: by including this requirement in subaward agreements; and during subrecipient monitoring deemed necessary by the recipient
under 2 CFR 200.332(d), by inquiring whether the subrecipient has contacted the EPA Project Officer. Nothing in this condition requires the
recipient to contact the EPA Project Officer on behalf of a subrecipient or to be involved in the negotiation of an Interconnection Service
Agreement between the subrecipient and the EPA.

G. Climate Resilience:

To the extent practicable, the recipient agrees to incorporate current and future climate change risk in planning, siting, design, and operation
of the project. Approaches for incorporating climate change risk may make use of climate change data and information (e.g., projections and
emission scenarios) that are reflective of the project's anticipated lifespan. This includes consideration of the climate change risks posed to
the individuals, communities, local governments, organizations, or other entities served by the project over its anticipated lifespan.

H. Subawards

Refer to the General Terms and Condition, 8. “Establishing and Managing Subawards” and EPA Subaward Policy webpage (https://www.
epa.gov/grants/grants-policy-issuance-gpi-16-01-epa-subaward-policy-epa-assistance-agreement-recipients) for access to additional
information, including a subaward agreement template found in Appendix D.

The recipient must include the Build America, Buy America terms in any subawards, request for proposals, or solicitations for bids, and in all
contracts.

I. Subawards for For-profit Entities


In addition to the EPA General Term and Condition “Establishing and Managing Subawards”, the recipient (i.e. “pass-through entity”) agrees
to require that for-profit subrecipients comply with Subparts A through F of the Uniform Grant Guidance (2 CFR Part 200) and the Federal
cost principles applicable to for-profit entities located at 48 CFR Part 31, with the exception of the method of payment to for-profit
subrecipients must be “reimbursement” rather than “advance”. Pass-through entities must obtain documentation that the for-profit
        Case 1:25-cv-00039-JJM-PAS                    Document 101 Filed 02/11/25                     Page 74 of 135 PageID
                                                            #: 6796
                                                                                                      5E - 03D25824 - 0   Page 13
subrecipient has incurred eligible and allowable costs prior to releasing EPA funds to the subrecipient.

J. Equipment and Devices

1. Procurement of Systems, Equipment and Devices

When purchasing replacement systems, equipment and/or devices, the recipient agrees the replacement systems, equipment or device:

a. will continue to perform a similar function and operation as the system, equipment or device that is being permanently rendered
inoperable;

b. will achieve the estimated emission reductions included in the EPA-approved work plan; and

c. is consistent in its intended use, operation and location as described in the EPA-approved work plan.

The procurement of systems, equipment or devices should follow the EPA's Best Practice Guide for Procuring Services, Supplies, and
Equipment Under EPA Assistance Agreements (https://www.epa.gov/grants/best-practice-guide-procuring-services-supplies-and-
equipment-under-epa-assistance).

2. Operation and Maintenance

The recipient will assure the continued proper operation and maintenance of systems, equipment and devices funded under this agreement.
Such practices shall be operated and maintained for the expected lifespan of the specific measure and in accordance with commonly
accepted design standards and specifications. The recipient shall include a provision in every applicable sub-agreement (subaward or
contract) awarded under this grant requiring that the management practices for the project be properly operated and maintained. Likewise,
the sub-agreement will assure that similar provisions are included in any sub-agreements that are awarded by the sub-recipient.

3. Equipment Use and Management

Equipment is defined as tangible personal property having a useful life of more than one year and a per-unit acquisition cost which equals or
exceeds the lesser of the capitalization level established by the non-Federal entity for financial statement purposes (see Capital assets at 2
CFR 200.1 Definitions), or the amount specified in Equipment at 2 CFR 200.1. Under 2 CFR 200.313, if the CPRG grant recipient purchases
equipment with CPRG federally-awarded funds, title to the equipment vests in the grant recipient and there will be no ongoing requirements
for the grant recipient for the purchased equipment after the end of the grant period.

These conditions must be met by the grant recipient for equipment use and management during the grant period:

a. Use the equipment for the authorized purposes of the project during the period of performance or until the property is no longer needed
for the purposes of the project. If the equipment and/or equipment components are to be sold during the period of performance, the recipient
must comply with the program income requirements (see the Program Income section below).

b. Not encumber the property without approval of the Federal awarding agency or pass-through entity.

c. Use and dispose of the property as described below. Equipment use and management instructions are applicable to assistance
agreement recipients and subrecipients acquiring equipment under this award. Per 2 CFR 200.313(b), state agencies may use and manage
equipment acquired through a Federal award by the state in accordance with state laws and procedures. Per 2 CFR 200.313(b), Indian
Tribes must use, manage, and dispose of equipment acquired under a Federal award in accordance with tribal laws and procedures.

Recipient agrees that at the end of the project period the recipient will continue to use the equipment purchased under this assistance
agreement in the project or program for which it was acquired as long as needed, whether or not the project or program continues to be
supported by the Federal award. After the end of the grant period, equipment purchased under this award that is no longer needed, may be
retained, sold, or otherwise disposed of with no further obligation to the Federal awarding agency.

Consistent with 2 CFR 200.313, unless instructed otherwise, a grant recipient may keep the equipment and continue to use it on the project
originally funded through this assistance agreement or on other federally funded projects whether or not the project or program continues to
be supported by Federal funds. When acquiring replacement equipment, the non-Federal entity may use the equipment to be replaced as a
trade-in or sell the property and use the proceeds to offset the cost of the replacement property.

Subrecipients are subject to the same federal requirements as the grant recipient (also known as the “pass-through entity”) and they must
comply with applicable subaward provisions of 2 CFR Part 200, the EPA Subaward Policy, and the EPA's General Term and Condition for
        Case 1:25-cv-00039-JJM-PAS                    Document 101 Filed 02/11/25                      Page 75 of 135 PageID
                                                            #: 6797
                                                                                                       5E - 03D25824 - 0   Page 14
Subawards.

Under 2 CFR 200.313, if the CPRG grant recipient purchases equipment with CPRG federally-awarded funds, title to the equipment vests
with the grant recipient and there will be no ongoing requirements for the grant recipient for the purchased equipment after the end of the
grant period.

K. Equipment Disposition for Recipients

State agencies may dispose of equipment acquired under a Federal award by the state in accordance with state laws and procedures.

L. Quality Assurance Authority: Quality Assurance applies to all assistance agreements involving environmental information as defined in 2
C.F.R. § 1500.12 Quality Assurance.

The recipient shall ensure that subawards involving environmental information issued under this agreement include appropriate quality
requirements for the work. The recipient shall ensure sub-award recipients develop and implement the] Quality Assurance (QA) planning
document[s] in accordance with this term and condition; and/or ensure sub-award recipients implement all applicable approved QA planning
documents.

2. Quality Assurance Project Plan (QAPP) a. Prior to beginning environmental information operations, the recipient must:

i. Develop a QAPP,

ii. Prepare QAPP in accordance with the current version of EPA's Quality Assurance Project Plan (QAPP) Standard,

iii. Submit the document for EPA review, and

iv. Obtain EPA Quality Assurance Manager or designee (hereafter referred to as QAM) approval.

b. The recipient must submit the QAPP 90 days after grant award, and/or no more than 180
c. The recipient shall notify the PO and QAM when substantive changes are needed to the QAPP. EPA may require the QAPP be updated
and re-submitted for approval.

d. The recipient must review their approved QAPP at least annually. The results of the QAPP review and any revisions must be submitted to
the PO and the QAM at least annually and may also be submitted when changes occur e. The recipient must submit a QAPP
crosswalk with the QAPP. For Reference:

• Quality Management Plan (QMP) Standard and EPA's Quality Assurance Project Plan (QAPP) Standard; contain quality specifications for
EPA and non-EPA organizations and definitions applicable to these terms and conditions.

• EPA QA/G-5: Guidance for Quality Assurance Project Plans.

•EPA's Quality Program website has a list of QA managers, and Specifications for EPA and Non-EPA Organizations.

• The Office of Grants and Debarment Implementation of Quality Assurance Requirements for Organizations Receiving EPA Financial
Assistance.

M. Retention / Required Documentation

In accordance with 2 CFR 200.334, the recipient must retain all Federal award records, including but not limited to, financial records,
supporting documents, and statistical records for at least three years from the date of submission of the final financial report. The records
must be retained until all litigation, claims, or audit findings have been resolved and final action has been taken if any litigation, claim, or
audit is started before the expiration of the three-year period. Examples of the required records include: (1) time and attendance records and
supporting documentation; and (2) documentation of compliance with statutes and regulations that apply to the project.

In accordance with 2 CFR 200.337, the EPA, the Inspector General, the Comptroller General, and the pass-through entity, or any of their
authorized representatives, have the right of access to any documents, papers or records of the recipient which are pertinent to the grant
award. The rights of access are not limited to the required retention period, but last as long as the records are retained.


N. Program Audit
        Case 1:25-cv-00039-JJM-PAS                     Document 101 Filed 02/11/25                      Page 76 of 135 PageID
                                                             #: 6798
                                                                                                         5E - 03D25824 - 0   Page 15
The EPA will conduct random reviews of recipients to protect against waste, fraud, and abuse. As part of this process, the EPA, or its
authorized representatives may request documentation from current recipients to verify statements made on the application and reporting
documents. Recipients may be selected for advanced monitoring, including a potential site visit to confirm project details. The EPA, or its
authorized representatives, may also conduct site visits to confirm documentation is on hand and that the project is completed as agreed
upon, as well as confirm applicable infrastructure adheres to Build America, Buy America (BABA) requirements. Recipients are expected to
comply with site visit requests and recordkeeping requirements and must supply the EPA with any requested documents for three years
from the date of submission of the final expenditure report, or risk cancellation of an active grant application or other enforcement action.

O. Use of Submitted Information

Applications and reporting materials submitted under this competition may be released in part or in whole in response to a Freedom of
Information Act (FOIA) request. The EPA recommends that applications and reporting materials not include trade secrets or commercial or
financial information that is confidential or privileged, or sensitive information that, if disclosed, would invade another individual's personal
privacy (e.g., an individual's salary, personal email addresses, etc.). However, if such information is included, it will be treated in accordance
with 40 CFR 2.203. (Review EPA clause IV.a, Confidential Business Information, under EPA Solicitation Clauses (https://www.epa.
gov/grants/epa-solicitation-clauses)).

The EPA may make publicly available on the EPA's website or another public website copies or portions of CPRG grant project
information.

The EPA reserves a royalty-free, nonexclusive and irrevocable right to reproduce, publish, or otherwise use, and to authorize others to use,
for federal purposes, submitted project photos, including use in program materials.

P. Program Income

In accordance with 2 CFR Part 200.307(b) and 2 CFR 1500.8(b), the recipient is hereby authorized to retain program income earned during
the project period.

The program income shall be used in the following way:

1. Added to funds committed to the project by the EPA and used for the purposes and under the conditions of the assistance agreement.

The recipient must provide a description of how program income is being used in each of its performance reports. Further, a report on the
amount of program income earned during the award period must be submitted with the Federal Financial Report, Standard Form 425.

Participant support costs include rebates, subsidies, stipends, or other payments to program beneficiaries. Participant support costs are not
subawards as defined by 2 CFR §200.1 and should not be treated as such. Program beneficiaries may be individual owner/operators or
private or public fleet owners, however program beneficiaries cannot be employees, contractors or subrecipients of the grant recipient. The
recipient may provide financial assistance and project-deployment technical assistance to enable low-income and disadvantaged
communities to deploy and benefit from eligible zero emissions technologies in the form of participant support costs.

The recipient agrees to the following eligibility, restrictions, timelines, and other programmatic requirements on participant support costs:

1. Participant support costs must be reasonable, incurred within the project period and otherwise allocable to the EPA assistance
agreement. Participant support costs for rebates must be supported by guidelines issued by the recipient and approved by the EPA's Award
Official or Grants Management Officer, defining the rules, restrictions, timelines, programmatic requirements, reporting and transaction
documentation requirements, eligibility, and funding levels that rebate beneficiaries must follow.

2. Recipient must abide by EPA Participant Support Cost regulation(s) and guidelines including but not limited to “Interim EPA Guidance on
Participant Support Costs” (https://www.epa.gov/grants/rain-2018-g05-r1). “The EPA Guidance on Participant Support Costs” specifies
requirements for rebate program approval by Authorized EPA Officials.

3. Recipient must enter into a written agreement with the program beneficiary that receives participant support costs. Such agreement
should not be structured as a subaward agreement, and the administrative grant regulations under 2 CFR Part 200 and 2 CFR Part 1500,
as well as the EPA's general terms and conditions do not flow down to program beneficiaries receiving participant support costs. Such
written agreement is also required if a subrecipient or contractor intends to issue participant support costs to a program beneficiary. The
written agreement must:

a. describe the activities that will be supported by rebates, stipends, subsidies or other payments;
        Case 1:25-cv-00039-JJM-PAS                     Document 101 Filed 02/11/25                      Page 77 of 135 PageID
                                                             #: 6799
                                                                                                         5E - 03D25824 - 0   Page 16
b. specify the amount of the rebate, subsidy, stipend, or other payment;

c. identify which party will have title to equipment (if any) purchased with a rebate or subsidy or other payment;

d. specify any reporting required by the program beneficiary and the length of time for such reporting;

e. establish source documentation requirements (e.g., invoices) for accounting records; and

f. describe purchasing controls to ensure that the amount of the participant support cost is determined in a commercially reasonable manner
as required by 2 CFR 200.404.

4. Recipient must obtain prior written approval from the EPA's Award Official if recipient wants to transfer funds budgeted for participant
support costs to other budget categories. If the recipient's request would result in undermining the integrity of the competition this grant or
cooperative agreement was awarded under, the EPA will not approve the request.

Rebates, subsidies, and similar one-time, lump-sum payments to program beneficiaries for the purchase of eligible emissions control
technologies and vehicle replacements are eligible participant support costs under this award when the program participant rather than the
recipient owns the equipment, per 2 CFR 1500.1(a)(1). Engine replacements, marine and locomotive shorepower projects, and most
electrified parking space technology projects are not eligible as participant support costs. Rebates can only fund a participating fleet owner's
equipment purchase and installation costs (i.e. parts and labor, including costs incurred to scrap the existing vehicle); if a participating fleet
owner requires funding for project administration, travel, extensive design/engineering, construction, etc., in order to carry out the project a
subaward is the more appropriate option. Questions regarding the use of rebates under this award should be directed to the EPA Project
Officer. Rebates are not considered subawards/subgrants as defined in 2 CFR Part 200 and should not be treated as such under this
award.

R. REAL PROPERTY

In accordance with 2 CFR 200.311, title to real property acquired or improved under this agreement will vest upon acquisition in the
recipient. This property must be used for the originally authorized purpose as long as needed for that purpose, during which time the
recipient must not dispose of or encumber its title or other interests.

1. Disposition

When real property is no longer needed for the originally authorized purpose, the recipient must obtain disposition instructions from the
EPA. The instructions will provide for one of the following alternatives:

a. Retain title after compensating the EPA. The amount paid to the EPA will be calculated by multiplying the percentage of EPA's
contribution towards the original purchase (and costs of any improvements) by the current fair market value of the property. However, in
those situations where recipient is disposing of real property acquired or improved with a Federal award and acquiring replacement real
property under the same Federal award, the net proceeds from the disposition may be used as an offset to the cost of the replacement
property.

b. Sell the property and compensate the EPA. The amount paid to the EPA will be calculated by multiplying the percentage of EPA's
contribution towards the original purchase (and cost of any improvements) by the proceeds of the sale after deducting any actual and
reasonable expenses paid to sell or fix up the property for sale. When the Federal award has not been closed out, the net proceeds from the
sale may be offset against the original cost of the property. When directed to sell the property, the recipient must sell the property utilizing
procedures that provide for competition to the extent practicable and that result in the highest possible return.

c. Transfer title to the EPA or a third party designated/approved by the EPA. The recipient is entitled to be paid an amount calculated by
multiplying the percentage of the recipient's contribution towards the original purchase of the real property (and cost of any improvements)
by the current fair market value of the property.

2. Recordation

As authorized by 2 CFR 200.316, the EPA requires that recipients who use EPA funding to purchase real property or to improve real
property through an EPA funded construction project record a lien or similar notice in the real property records for the jurisdiction in which
the real property is located which indicates that the real property has been acquired or improved with federal funding and that use and
disposition conditions apply to the real property.


S. SIGNAGE REQUIREMENTS
        Case 1:25-cv-00039-JJM-PAS                      Document 101 Filed 02/11/25                      Page 78 of 135 PageID
                                                              #: 6800
                                                                                                         5E - 03D25824 - 0   Page 17
1. Investing in America Emblem

The recipient will ensure that a sign is placed at construction sites supported in whole or in part by this award displaying the official Investing
in America emblem and must identify the project as a “project funded by President Biden's Inflation Reduction Act” as applicable. The sign
must be placed at construction sites in an easily visible location that can be directly linked to the work taking place and must be maintained
in good condition throughout the construction period.

The recipient will ensure compliance with the guidelines and design specifications provided by the EPA for using the official Investing in
America emblem available at: https://www.epa.gov/invest/investing-america-signage

2. Procuring Signs

Consistent with section 6002 of RCRA, 42 U.S.C. 6962, and 2 CFR 200.323, recipients are encouraged to use recycled or recovered
materials when procuring signs. Signage costs are considered an allowable cost under this assistance agreement provided that the costs
associated with signage are reasonable. Additionally, to increase public awareness of projects serving communities where English is not the
predominant language, recipients are encouraged to translate the language on signs (excluding the official Investing in America emblem or
the EPA logo or seal) into the appropriate non-English language(s). The costs of such translation are allowable, provided the costs are
reasonable.

T. Use of Logos

If the EPA logo is appearing along with logos from other participating entities on websites, outreach materials, or reports, it mustnotbe
prominently displayed to imply that any of the recipient or subrecipient's activities are being conducted by the EPA. Instead, the EPA logo
should be accompanied with a statement indicating that theNorth Carolina Department of Natural and Cultural Resources (NCDNCR)
received financial support from the EPA under an Assistance Agreement. More information is available at:https://www.epa.
gov/stylebook/using-epa-seal-and-logo#policy

U. Public or Media Events

The EPA encourages the recipient to notify the EPA Project Officer listed in this award document of public or media events publicizing the
accomplishment of significant events related to construction projects as a result of this agreement and provide the opportunity for
attendance and participation by federal representatives with at least ten (10) working days' notice.

V. National Programmatic Term and Condition for Fellowship, Internship Programs and Similar Programs Supported by EPA Financial
Assistance

1. EPA funds for this program may only be used for participant support cost payments, scholarships, tuition remission and other forms of
student aid for citizens of the United States, its territories, or possessions, or for individuals lawfully admitted to the United States for
permanent residence.

2. The recipient and program participants are responsible for taxes, if any, on payments made to or on behalf of individuals participating in
this program that are allowable as participant support costs under 2 CFR 200.1or2 CFR 200.456and scholarships and other forms of
student aid such as tuition remission under2 CFR 200.466. EPA encourages recipients and program participants to consult their tax
advisers, the U.S. Internal Revenue Service, or state and local tax authorities regarding the taxability of stipends, tuition remission and other
payments. However, EPA does not provide advice on tax issues relating to these payments.

3. Participant support cost payments, scholarships, and other forms of student aid such as tuition remission are lower tiered
coveredNonprocurementtransactions for the purposes of2 CFR 180.300and EPA's Suspension and Debarment Term and Condition.
Recipients, therefore, may not make participant support cost payments to individuals who are excluded from participation in
FederalNonprocurementprograms under2 CFR Part 180. Recipients are responsible for checking the eligibility of program participants in
the System for Award Management (SAM) or obtaining eligibility certifications from the program participants.

See EPA Guidance on Participant Support Costs: https://www.epa.gov/sites/default/files/2020-11/documents/epa-guidance-on-participant-
support-costs.pdf.

W. Conditional Award

The EPA has conditionally approved the work plan to allow the recipient to proceed to work on approved work plan components. The
recipient may incur costs on eligible activities associated with the approved work plan components up to$168,495,230 until a final revised
work plan has been approved by the EPA:
        Case 1:25-cv-00039-JJM-PAS                     Document 101 Filed 02/11/25                      Page 79 of 135 PageID
                                                             #: 6801
                                                                                                         5E - 03D25824 - 0   Page 18
1. The recipient should not request payments and the EPA will not make payments for unapproved work; and

2. Any costs incurred for unapproved work by the recipient are at its own risk.

X. Workplan Negotiations

The recipient will submit a revised workplan for EPA project Officer review and approval. The Recipient agrees to continue workplan
negotiations with the EPA project Officer until the workplan is fully approved within 90 days after the date of award.

Y. Competency of Organizations Generating Environmental Measurement Data

In accordance with Agency Policy Directive Number FEM-2012-02,Policy to Assure the Competency of Organizations Generating
Environmental Measurement Data under Agency-Funded Assistance Agreements,

Recipient agrees, by entering into this agreement, that it has demonstrated competency prior to award, or alternatively, where a pre-award
demonstration of competency is not practicable, Recipient agrees to demonstrate competency prior to carrying out any activities under the
award involving the generation or use of environmental data. Recipient shall maintain competency for the duration of the project period of
this agreement and this will be documented during the annual reporting process. A copy of the Policy is available online athttps://www.epa.
gov/sites/production/files/2015-03/documents/competency-policy-aaia-new.pdfor a copy may also be requested by contacting the EPA
Project Officer for this award.

Z. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC) endorsed standards. Information on these
standards may be found athttps://www.fgdc.gov/.

AA. Health and Safety Plan

Before beginning field work, the recipient must have a health and safety plan in place providing for the protection of on-site personnel and
area residents, unless specifically waived by the award official. This plan need not be submitted to the EPA but must be made available to
the EPA upon request. The recipient's health and safety plan must comply with Occupational Safety and Health Administration (OSHA) 29
CFR 1910.120, entitled “Hazardous Waste Operations and Emergency Response.”

AB. Foreign Entity of Concern

The recipient agrees to not directly transfer EPA funds through a subaward, contract, or participant support costs to a foreign entity of
concern (FEOC). The EPA considers FEOCs to include foreign entities that are owned by, controlled by, or subject to the jurisdiction or
direction of a government of a foreign country that is a covered nation as defined by Congress in Section 40207 of the Infrastructure
Investment and Jobs Act. The EPA uses the proposed interpretive rule from the U.S. Department of Energy (DOE) to provide additional
guidance in determining FEOCs. See 88 Fed. Reg. 84,082 (Dec. 4, 2023). If DOE finalizes an interpretive rule that differs in material
respects from the proposal, the EPA may amend the award agreement accordingly.

Additionally, the recipient agrees to develop and implement internal controls that ensure EPA funds are not directly transferred to FEOCs,
including through subawards, contractors, and participant support costs.

AC. Historic Preservation

National Historic Preservation Act (NHPA)

Section 106 of the NHPA requires all federal agencies to consider the effects of their undertakings, including the act of awarding a grant or
cooperative agreement, on historic properties, and to provide the Advisory Council on Historic Preservation (ACHP) a reasonable
opportunity to comment on such undertakings. The recipient must assist the EPA Project Officer in complying with NHPA if any activities
funded under this grant impact a historic property. Historic properties include: (a) land or buildings listed in or eligible for listing on the
National Register of Historic Places; (b) archaeologically sensitive areas or in an area where traditional cultural properties are located; and
(c) properties that are associated with significant historic events, are associated with significant people, embody distinctive characteristics,
and contain important precontact information.


The recipient should work with their Project Officer to ensure that subrecipients are available to work with EPA on any required consultation
process with the State or Tribal Historic Preservation Office prior to commencing the project to ensure compliance with Section 106 of the
NHPA.
        Case 1:25-cv-00039-JJM-PAS                     Document 101 Filed 02/11/25                     Page 80 of 135 PageID
                                                             #: 6802
                                                                                                       5E - 03D25824 - 0   Page 19

If NHPA compliance is required, necessary Section 106 consultation activities, such as historic or architectural surveys, structural
engineering analysis of buildings, public meetings, and archival photographs, can be considered allowable and allocable grant costs.

Archeological and Historic Preservation Act (AHPA)

This law applies if archeologically significant artifacts or similar items are discovered after an EPA-funded construction project has begun,
and compliance may be coordinated with the NHPA, discussed above. The AHPA requires federal agencies to identify relics, specimens,
and other forms of scientific, prehistorical, historical, or archaeologic data that may be lost during the construction of federally-sponsored
projects to ensure that these resources are not inadvertently transferred, sold, demolished or substantially altered, or allowed to deteriorate
significantly. The recipient must ensure that subrecipients performing construction projects are aware of this requirement, and the recipient
must notify EPA if the AHPA is triggered.

AD. Other Federal Requirements

In addition to the statutes outlined in the Labor and Equitable Workforce Programmatic Term and Condition, Build America, Buy America
Programmatic Act Term and Condition, Historic Preservation Programmatic Term and Condition, the recipient must comply with all federal
cross-cutting requirements. These requirements include, but are not limited to:

• Endangered Species Act, as specified in 50 CFR Part 402: Non-Federal entities must identify any impact or activities that may involve a
threatened or endangered species. Federal agencies have the responsibility to ensure that no adverse effects to a protected species or
habitat occur from actions under Federal assistance awards and conduct the reviews required under the Endangered Species Act, as
applicable.

• Federal Funding Accountability and Transparency Act: Recipients of financial assistance awards must comply with the requirements
outlined in 2 CFR Part 170, Reporting Subaward and Executive Compensation and in the General Term and Condition “Reporting
Subawards and Executive Compensation.”

• Farmland Protection Policy Act: This statute requires EPA to use criteria developed by the Natural Resources Conservation Service
(NRCS) to identify the potential adverse effects of Federal programs on farmland and its conversion to nonagricultural uses, to mitigate
these effects, and to ensure that programs are carried out in a manner that is compatible with the farmland preservation policies of state and
local governments, and private organizations. Recipients may need to work with EPA or NRCS, as appropriate, to ensure compliance.

• Coastal Zone Management Act: Projects funded under federal financial assistance agreements must be consistent with a coastal State's
approved management programmfor the coastal zone.

For additional information on cross-cutting requirements visit https://www.epa.gov/grants/epa-subaward-cross-cutter-requirements.
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 81 of 135 PageID
                                   #: 6803
          Case 1:25-cv-00039-JJM-PAS                Document 101 Filed 02/11/25    Page 82 of 135 PageID
                                                          #: 6804
                                                                                    5E - 03D25824 - 1   Page 2

                                                 EPA Funding Information
              FUNDS                                FORMER AWARD             THIS ACTION                     AMENDED TOTAL
EPA Amount This Action                                 $ 421,238,074                 $0                          $ 421,238,074
EPA In-Kind Amount                                                  $0               $0                                    $0
Unexpended Prior Year Balance                                       $0               $0                                    $0
Other Federal Funds                                                 $0               $0                                    $0
Recipient Contribution                                              $0               $0                                    $0
State Contribution                                                  $0               $0                                    $0
Local Contribution                                                  $0               $0                                    $0
Other Contribution                                                  $0               $0                                    $0
Allowable Project Cost                                 $ 421,238,074                 $0                          $ 421,238,074



Assistance Program (CFDA)                     Statutory Authority             Regulatory Authority
66.046 - Climate Pollution Reduction Grants   Clean Air Act: Sec. 137         2 CFR 200, 2 CFR 1500 and 40 CFR 33
          Case 1:25-cv-00039-JJM-PAS                        Document 101 Filed 02/11/25   Page 83 of 135 PageID
                                                                  #: 6805
                                                                                          5E - 03D25824 - 1   Page 3

Budget Summary Page
                                       Table A - Object Class Category                             Total Approved Allowable
                                             (Non-Construction)                                       Budget Period Cost
 1. Personnel                                                                                                          $ 10,178,563
 2. Fringe Benefits                                                                                                      $ 4,125,448
 3. Travel                                                                                                                 $ 205,250
 4. Equipment                                                                                                               $ 95,000
 5. Supplies                                                                                                               $ 299,250
 6. Contractual                                                                                                          $ 1,900,000
 7. Construction                                                                                                                  $0
 8. Other                                                                                                             $ 399,434,563
 9. Total Direct Charges                                                                                              $ 416,238,074
 10. Indirect Costs: 10.00 % Base DE MINIMUS                                                                             $ 5,000,000
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                                100.00 %)                                                             $ 421,238,074
 12. Total Approved Assistance Amount                                                                                  $ 421,238,074
 13. Program Income                                                                                                               $0
 14. Total EPA Amount Awarded This Action                                                                                         $0
 15. Total EPA Amount Awarded To Date                                                                                  $ 421,238,074
        Case 1:25-cv-00039-JJM-PAS                   Document 101 Filed 02/11/25   Page 84 of 135 PageID
                                                           #: 6806
                                                                                   5E - 03D25824 - 1   Page 4

                                                  Administrative Conditions
All of the Administrative terms and conditions remain the same.
         Case 1:25-cv-00039-JJM-PAS                       Document 101 Filed 02/11/25                Page 85 of 135 PageID
                                                                #: 6807
                                                                                                       5E - 03D25824 - 1   Page 5

                                                         Programmatic Conditions
The following Programmic Terms and Conditions have been updated:

A. Deliverables

The first phase of the Climate Pollution Reduction Grants (CPRG) program provided funding for designing Priority Climate
Action Plans (PCAPs) that incorporate a variety of measures (i.e., programs, policies, measures, and projects) that reduce
greenhouse gas (GHG) emissions. The purpose of this CPRG Implementation assistance agreement is to implement
proposed measures within a specified PCAP identified in the CPRG Implementation Grant General Competition application.
All programs, policies, measures, and projects contained in the final, approved CPRG implementation assistance
agreement workplan are required deliverables.

The recipient agrees to implement GHG reduction programs, policies, projects, and measures (collectively referred to as
“GHG reduction measures,” or “measures”) identified in a PCAP developed under a CPRG planning grant and included in
the CPRG implementation grant workplan. The recipient agrees to ensure that each is successfully implemented before the
end of the grant project period. The recipient agrees to successful project implementation, which includes the process of
putting a decision or plan into effect; executing the program, policies, projects and/or measures, not just planning or
designing the programs, policies, projects and/or measures. The recipient agrees to adequately describe the actual
environmental outputs and outcomes achieved, including actual GHG emissions reduced, not just the expected outputs
and outcomes of the proposed measures. Clean Air Act (CAA) section 137 also requires that CPRG Implementation grant
recipients address the degree to which a grant reduces GHG emissions in total and with respect to low-income and
disadvantaged communities, where “greenhouse gas” refers to the air pollutants carbon dioxide (CO2), hydrofluorocarbons
(HFCs), methane (CH4), nitrous oxide (N2O), perfluorocarbons (PFCs), and sulfur hexafluoride (SF6).

To the best of their ability, the recipient agrees to:

          implement GHG emission reduction programs, policies, measures, and projects that are expected to reduce GHG
          emissions (or enhance GHG removals) by the estimated cumulative total GHG emission reductions from the final
          approved workplan;
          only report emission reductions occurring as a result of CPRG funding; and
          only report emission reduction data in units of million metric tons of carbon dioxide equivalent (MMTCO2e) where
          appropriate, calculated using the global warming potentials (GWP) in the International Panel on Climate
          Change&apos;s (IPCC) Fifth Assessment Report.


Refer to the Notice of Funding Opportunity, EPA-R-OAR-CPRGI-23-07 (https://www.epa.gov/system/files/documents/2023-
09/CPRG General Competition NOFO.pdf), Appendix B, Global Warming Potentials for GHGs, for details about how to apply
GWP values for different gases.

For the measures included in the final, approved assistance agreement work plan, the recipient agrees to provide
transparent GHG emission reduction estimates based on high-quality, thorough, reasonable, and comprehensive
methodologies, assumptions, and calculations. Examples of tools that could be used to assist in these GHG quantifications
can be found at: https://www.epa.gov/inflation-reduction-act/climate-pollution-reduction-grants.




B. Final Approved Work Plan and Modifications

The recipient agrees to implement the measures in the EPA-approved work plan that will achieve significant cumulative
GHG reductions by 2030 and beyond.

Recipient agrees to carry out the project in accordance with the final approved workplan. Recipients are required to report
deviations from budget or project scope or objective, and must request prior written approval from the EPA:

          For any change in the scope or objective of the project or program (even if there is no associated budget revision
          requiring prior written approval);
          For change in key personnel (including employees and contractors) that are identified by name or position in the
          Federal award;
        Case 1:25-cv-00039-JJM-PAS                    Document 101 Filed 02/11/25                     Page 86 of 135 PageID
                                                            #: 6808
                                                                                                       5E - 03D25824 - 1   Page 6
          For the disengagement from a project for more than three months, or a 25% reduction in time and effort devoted
          to the Federal award over the course of the period of performance, by the approved project director or principal
          investigator;
          For the inclusion of costs that require prior approval in accordance with 2 CFR Part 200 Subpart E—Cost Principles
          or 48 CFR part 31, “Contract Cost Principles and Procedures,” as applicable;
          For the transfer of funds budgeted for participant support costs as defined in 2 CFR Section 200.1 Definitions to
          other budget categories;
          For the subawarding, transferring or contracting out of any work under the award;

                    Changes in the total approved cost-sharing amount

                    When the need arises for additional Federal funds to complete the project.


Proposed modifications to the approved work plan or budget, including additions, deletions, or changes in the schedule,
shall be submitted in a timely manner to the EPA Project Officer for approval. Depending on the type or scope of changes,
a formal amendment to the award may be necessary. Major project modifications may include but are not limited to:
changes to the approved environmental results, outputs or outcomes, types and number of affected devices or equipment,
the approved types of emission reduction technologies to be implemented, specific programs or policies to be adopted, or
changes to the approved project location(s). Any change that would significantly alter the cumulative GHG reductions
achieved by 2030 and beyond and affect the achievement of community benefits, especially in low-income and
disadvantaged communities, may not be allowed. The recipient shall not make changes to the proposed activities in the
EPA-approved work plan without prior written approval from the EPA. The recipient shall contact the EPA Project Officer
with the proposed changes; however, depending on the type of change, the Agency Award Official or Grant Management
Officer may need to make the final determination. If issues regarding proposed measures arise that cannot be resolved,
the EPA may elect to terminate the assistance agreement, and/or if applicable, recover ineligible expenditures from the
recipient. Any significant changes to the approved work plan that would result in undermining the integrity of the award
competition will not be approved.

For grants that are awarded to a recipient that is serving as the lead for a coalition under the CPRG program, the recipient
agrees to abide by the terms set out in the Memorandum of Agreement (MOA), including the roles, responsibilities, and
commitments that each partner will provide to ensure project success, the operating model for the coalition, and the
resources that each partner will contribute to the project. As established in the CPRG coalition&apos;s MOA, the lead
applicant is accountable to the EPA and accepts full responsibility for effectively carrying out the full scope of work and
proper financial management of the grant. Coalition members who are grant subrecipients are accountable to the lead
applicant for proposed use of EPA funding and successful project implementation. The recipient shall not make changes to
the signed MOA without prior written approval from the EPA.




C. Performance Reporting and Final Performance Report




1. Performance Reports - Content

The recipient agrees to inform the EPA as soon as it is aware of problems, delays, or adverse conditions that will materially
impair the recipient&apos;s ability to meet the outputs/outcomes specified in the final, approved assistance agreement
work plan. The recipient agrees to inform the EPA immediately rather than waiting until the next performance report is
due.
The recipient agrees to adequately describe the actual environmental outputs and outcomes achieved, not just the
expected outputs and outcomes of the proposed measures. The recipient agrees to report out on each performance
measures that will be the mechanism to track, measure, and report progress toward achieving the expected outputs and
outcomes for each GHG reduction measure. The recipient agrees to track and report separately on the work conducted
and GHG emissions reductions for each measure (program, policy, measure, or project) specified in the final, approved
assistance agreement work plan. Recipients also agree to track and report separately on the budgets for each measure.

In accordance with 2 CFR 200.329, the recipient agrees to submit semi-annual, one-year, and final performance progress
reports that include brief information on each of the areas specified below. To ensure the EPA can effectively monitor
progress towards the achievement of measures, the recipient also agrees to report progress for each measure identified in
the final, approved assistance agreement work plan as soon as work is completed and information is available.
        Case 1:25-cv-00039-JJM-PAS                      Document 101 Filed 02/11/25                    Page 87 of 135 PageID
                                                              #: 6809
                                                                                                        5E - 03D25824 - 1   Page 7
a. Semi-Annual: The recipient agrees to submit semi-annual performance reports that include brief information on each
of the following areas:

(1) a comparison of actual technical progress and milestones achieved during the reporting period to the
outputs/outcomes and performance measures established in the final, approved assistance agreement work plan, which
may include technical changes made to the project, public events conducted, websites published, release of public-facing
documents or tools, or other reportable activities described in the work plan;

(2) a consolidated budget update with separate tracking for each measure (that is, how much was spent on equipment,
supplies, contractors, subgrants, etc., during the reporting period and cumulatively) and, when appropriate, additional
pertinent information such as analysis and explanation of cost overruns, high-unit costs, cost-share expenditures, program
income, infrastructure costs subject to Buy America, Build America (BABA) compliance, or requested budget modifications
(for example, when the recipient is requesting to move funding from one budget category to another);

(3) if necessary, a description of the reasons why any implementation timeline milestones or outputs/outcomes were
missed for each measure established in the final, approved assistance agreement work plan, including the recipient&apos;
s strategy to address challenges faced and/or the recipient&apos;s approach to ensure that the approved
outputs/outcomes for each measure will be achieved within the period of performance;

(4) documentation of community engagement activities conducted in low-income and disadvantaged communities for
each measure, which describes how the activities were publicized, categorizes respondents/attendees (e.g., the number of
people from Tribal governments, federal government, state government, local government, nonprofits, for profits,
universities, and the public), explains how input from participants was considered in decisions for implementing the
measure, and details how meaningful engagement with low-income and disadvantaged communities will be continuously
included in the development and implementation of the measure;

(5) as applicable, strategies for mitigating environmental risks;

(6) a description of any climate resiliency planning, siting, design, and operation of the project.

(7) as applicable, updates to individuals, including those from coalition members, who serve as key contacts and/or any
changes to the roles and responsibilities of key contacts involved in each measure and the reason(s) for the change(s);

(8) as applicable, updates regarding which organizations have the authority to implement each measure and the reason(s)
for the change(s);

(9) as applicable, updates regarding changes to contracts, subgrants, and participant support costs;

(10) as applicable, progress on generating high-quality jobs with a diverse, highly skilled workforce and support of strong
labor standards; and

(11) summary of anticipated activities for the next 6-month reporting period.

b. One-year report: As part of the second semi-annual progress report (i.e. the more detailed one-year report), the
recipient agrees to report the additional data to the EPA. The reporting template will be made available to grant recipients
through an electronic data interface to be specified by EPA upon approval of the Information Collection Request. This
includes co-pollutant emissions reductions of each pollutant impacted by each measure, the sector impacted, and the
county in which the emissions change. In addition, the recipient agrees to report the Climate and Economic Justice
Screening Tool (CEJST) Census tract IDs or the EPA's EJScreen Census block group IDs for areas affected by GHG reduction
measures, consistent with the EPA's definition of low-income and disadvantaged communities for the CPRG program.

c. Final Report: The recipient also agrees to submit a detailed final report and to report certain data associated with the
final report to the EPA. The reporting template will be made available to grant recipients through an electronic data
interface to be specified by EPA upon approval of the Information Collection Request.

d. Subaward Performance Reporting


Subawards establish a financial assistance relationship under which the subrecipient&apos;s employees and contractors
implement programs and projects to accomplish the goals and objectives of the grant. Subrecipients (which includes
Coalition members) are subject to the same federal requirements as the pass-through entity. (For more details, see
        Case 1:25-cv-00039-JJM-PAS                     Document 101 Filed 02/11/25                      Page 88 of 135 PageID
                                                             #: 6810
                                                                                                          5E - 03D25824 - 1   Page 8
General Terms and Conditions 8. Establishing and Managing Subawards, applicable provisions of 2 CFR Part 200, the
EPA&apos;s Subaward Policy). The recipient must report on its subaward monitoring activities under 2 CFR 200.332(d).
Examples of items that must be reported if the pass-through entity has the information available are:

(1) Summaries of results of reviews of financial and programmatic reports.

(2) Summaries of findings from site visits and/or desk reviews to ensure effective subrecipient performance.

(3) Environmental results the subrecipient achieved.

(4) Summaries of audit findings and related pass-through entity management decisions.

(5) Actions the pass-through entity has taken to correct deficiencies such as those specified at 2 CFR 200.332(e), 2 CFR
200.208 and the 2 CFR Part 200.339 Remedies for Noncompliance.




As with any EPA grant with a grant recipient subawarding to subrecipients, the grant recipient is accountable to the EPA
and accepts respongbility for carrying out the full scope of work and proper financial management of the grant. In the
event that a coalition member withdraws, the grant recipient continues to be subject to the EPA's terms and conditions for
the grant, the subaward policy, and EPA grants policy. In circumstances where the EPA deems that the withdrawal of a
coalition member fundamentally alters the project or jeopardizes the project's success, the EPA will consider appropriate
remedies and reserves the right to terminate an awarded grant (see 2 CFR 200.339 throughgn 343)




2. Performance Reports - Frequency

The recipient agrees to submit semi-annual performance reports electronically to the EPA Project Officer within 30 days
after the six-month reporting period ends. Semi-annual reports are due according to the following schedule. If a due date
falls on a weekend or holiday, the report will be due on the next business day. If a project start date falls within a defined
reporting period, the recipient must report for that period by the given due date unless otherwise noted. This semi-annual
reporting schedule shall be repeated for the duration of the award agreement.




          October 1 – March 31 Reporting Period: report due April 30

          April 1 – September 30 Reporting Period: report due October 30




As part of the second semi-annual performance report that is submitted one year after the grant award, the recipient
agrees to submit the one-year performance report that includes the additional details specified above in section C.1.b.

The recipient must submit the final performance report no later than 120 calendar days after the end date of the period of
performance.

D. Allowable and Unallowable Activities

The recipient agrees to only use this CPRG Implementation grant award funding to implement measures in the EPA
approved workplan for this CPRG Implementation grant and follow the grant Terms and Conditions.

All costs charged to the award to support these activities must meet the requirements for allowability under 2 CFR Part
200, Subpart E as well as applicable provisions of 2 CFR Part 1500. In addition, the recipient agrees to obtain prior
approval from the EPA Award Official prior to the expenditure of the award for financial assistance as well as other
activities that involve acquiring real property, including related equipment purchases, if not already in the EPA approved
work plan.
        Case 1:25-cv-00039-JJM-PAS                     Document 101 Filed 02/11/25                     Page 89 of 135 PageID
                                                             #: 6811
                                                                                                         5E - 03D25824 - 1   Page 9
The recipient agrees to not use the award for the following unallowable activities: (a) activities that are not in the EPA
approved work plan; (b) costs of acquiring “intangible property,” as defined in 2 CFR 200.1; (c) activities that support
measures, activities or projects outside the boundaries of the ten EPA regions. The recipient also agrees not to use this
CPRG award to replace existing program federal funding, but the recipient may use CPRG funds to supplement or expand
existing programs. The recipient also agrees not to use the award for activities associated with defending against, settling,
or satisfying a claim by a private litigant, except when either (a) the claim stems from the recipient&apos;s compliance
with the terms and conditions of the award agreement or (b) the recipient has obtained prior written approval from the
EPA Project Officer.

The recipient agrees to not use the award to aid regulated entities to comply with EPA regulatory requirements.

E. Davis-Bacon Related Act Term and Condition

1. Program Applicability

a. Climate Pollution Reduction Implementation Grants.

b. Section 314 of the Clean Air Act.

c. Construction activities conducted under a Climate Pollution Reduction Implementation Grant.

d. The recipient must work with the appropriate authorities to determine wage classifications for the specific project(s) or
activities subject to Davis Bacon under this grant.

2. Davis-Bacon and Related Acts

Davis-Bacon and Related Acts (DBRA) (https://www.dol.gov/agencies/whd/government-contracts/construction) is a
collection of labor standards provisions administered by the Department of Labor, that are applicable to grants involving
construction. These labor standards include the:

a. Davis-Bacon Act, which requires payment of prevailing wage rates for laborers and mechanics on construction contracts
of $2,000 or more;

b. Copeland “Anti-Kickback” Act, which prohibits a contractor or subcontractor from inducing an employee into giving up
any part of the compensation to which he or she is entitled; and

c. Contract Work Hours and Safety Standards Act, which requires overtime wages to be paid for over 40 hours of work per
week, under contracts in excess of $100,000.

3. Recipient Responsibilities When Entering Into and Managing Contracts

a. Solicitation and Contract Requirements:

          (1) Include the Correct Wage Determinations in Bid Solicitations and Contracts: Recipients are responsible for
          complying with the procedures provided in 29 CFR 1.6 when soliciting bids and awarding contracts.

          (2) Include DBRA Requirements in All Contracts: Include the following text on all contracts under this grant:

          “By accepting this contract, the contractor acknowledges and agrees to the terms provided in the DBRA
          Requirements for Contractors and Subcontractors Under EPA Grants (https://www.epa.gov/grants/contract-
          provisions-davis-bacon-and-related-acts).”

b. After Award of Contract:

          (1) Approve and Submit Requests for Additional Wages Rates: Work with contractors to request additional wage
          rates if required for contracts under this grant, as provided in 29 CFR 5.5(a)(1)(iii).

          (2) Provide Oversight of Contractors to Ensure Compliance with DBRA Provisions: Ensure contractor compliance
          with the terms of the contract, as required by 29 CFR 5.6.
        Case 1:25-cv-00039-JJM-PAS                   Document 101 Filed 02/11/25                     Page 90 of 135 PageID
                                                           #: 6812
                                                                                                     5E - 03D25824 - 1   Page 10
4. Recipient Responsibilities When Establishing and Managing Additional Subawards

a. Include DBRA Requirements in All Subawards (including Loans): Include the following text on all subawards under this
grant:

          “By accepting this award, the EPA subrecipient acknowledges and agrees to the terms and conditions provided in
          the DBRA Requirements for EPA Subrecipients (https://www.epa.gov/grants/contract-provisions-davis-bacon-and-
          related-acts).”

b. Provide Oversight to Ensure Compliance with DBRA Provisions: Recipients are responsible for oversight of subrecipients
and must ensure subrecipients comply with the requirements in 29 CFR 5.6.

5. Consideration as Part of Every Prime Contract Covered by DBRA

The contract clauses set forth in this Term & Condition, along with the correct wage determinations, will be considered to
be a part of every prime contract covered by Davis-Bacon and Related Acts (see 29 CFR 5.1), and will be effective by
operation of law, whether or not they are included or incorporated by reference into such contract, unless the Department
of Labor grants a variance, tolerance, or exemption. Where the clauses and applicable wage determinations are effective
by operation of law under this paragraph, the prime contractor must be compensated for any resulting increase in wages
in accordance with applicable law.




F. Cybersecurity Condition




1. State Grant Cybersecurity

a. The recipient agrees that when collecting and managing environmental data under this assistance agreement, it will
protect the data by following all applicable State law cybersecurity requirements.

b. (1) The EPA must ensure that any connections between the recipient&apos;s network or information system and EPA
networks used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an Agency IT system and
an external IT system for the purpose of transferring information. Transitory, user-controlled connections such as website
browsing are excluded from this definition.

If the recipient&apos;s connections as defined above do not go through the Environmental Information Exchange Network
or the EPA&apos;s Central Data Exchange, the recipient agrees to contact the EPA Project Officer (PO) and work with the
designated Regional/Headquarters Information Security Officer to ensure that the connections meet EPA security
requirements, including entering into Interconnection Service Agreements as appropriate. This condition does not apply to
manual entry of data by the recipient into systems operated and used by the EPA&apos;s regulatory programs for the
submission of reporting and/or compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient to comply with
the requirements in (b)(1) if the subrecipient&apos;s network or information system is connected to EPA networks to
transfer data to the Agency using systems other than the Environmental Information Exchange Network or the EPA&apos;s
Central Data Exchange. The recipient will be in compliance with this condition: by including this requirement in subaward
agreements; and during subrecipient monitoring deemed necessary by the recipient under 2 CFR 200.332(d), by inquiring
whether the subrecipient has contacted the EPA Project Officer. Nothing in this condition requires the recipient to contact
the EPA Project Officer on behalf of a subrecipient or to be involved in the negotiation of an Interconnection Service
Agreement between the subrecipient and the EPA.




G. Climate Resilience:
        Case 1:25-cv-00039-JJM-PAS                    Document 101 Filed 02/11/25                    Page 91 of 135 PageID
                                                            #: 6813
                                                                                                      5E - 03D25824 - 1   Page 11
To the extent practicable, the recipient agrees to incorporate current and future climate change risk in planning, siting,
design, and operation of the project. Approaches for incorporating climate change risk may make use of climate change
data and information (e.g., projections and emission scenarios) that are reflective of the project&apos;s anticipated
lifespan. This includes consideration of the climate change risks posed to the individuals, communities, local governments,
organizations, or other entities served by the project over its anticipated lifespan.




H. Subawards

Refer to the General Terms and Condition, 8. “Establishing and Managing Subawards” and EPA Subaward Policy webpage
(https://www.epa.gov/grants/grants-policy-issuance-gpi-16-01-epa-subaward-policy-epa-assistance-agreement-recipients)
for access to additional information, including a subaward agreement template found in Appendix D.

The recipient must include the Build America, Buy America terms in any subawards, request for proposals, or solicitations
for bids, and in all contracts.




I. Subawards for For-profit Entities

In addition to the EPA General Term and Condition “Establishing and Managing Subawards”, the recipient (i.e. “pass-
through entity”) agrees to require that for-profit subrecipients comply with Subparts A through F of the Uniform Grant
Guidance (2 CFR Part 200) and the Federal cost principles applicable to for-profit entities located at 48 CFR Part 31, with
the exception of the method of payment to for-profit subrecipients must be “reimbursement” rather than
“advance”. Pass-through entities must obtain documentation that the for-profit subrecipient has incurred eligible and
allowable costs prior to releasing EPA funds to the subrecipient.

J. Equipment and Devices

1. Procurement of Systems, Equipment and Devices

When purchasing replacement systems, equipment and/or devices, the recipient agrees the replacement systems,
equipment or device:

a. will continue to perform a similar function and operation as the system, equipment or device that is being permanently
rendered inoperable;

b. will achieve the estimated emission reductions included in the EPA-approved work plan; and

c. is consistent in its intended use, operation and location as described in the EPA-approved work plan.

The procurement of systems, equipment or devices should follow the EPA's Best Practice Guide for Procuring Services,
Supplies, and Equipment Under EPA Assistance Agreements (https://www.epa.gov/grants/best-practice-guide-procuring-
services-supplies-and-equipment-under-epa-assistance).

2. Operation and Maintenance

The recipient will assure the continued proper operation and maintenance of systems, equipment and devices funded
under this agreement. Such practices shall be operated and maintained for the expected lifespan of the specific measure
and in accordance with commonly accepted design standards and specifications. The recipient shall include a provision in
every applicable sub-agreement (subaward or contract) awarded under this grant requiring that the management
practices for the project be properly operated and maintained. Likewise, the sub-agreement will assure that similar
provisions are included in any sub-agreements that are awarded by the sub-recipient.

3. Equipment Use and Management

Equipment is defined as tangible personal property having a useful life of more than one year and a per-unit acquisition
cost which equals or exceeds the lesser of the capitalization level established by the non-Federal entity for financial
statement purposes (see Capital assets at 2 CFR 200.1 Definitions), or the amount specified in Equipment at 2 CFR 200.1.
        Case 1:25-cv-00039-JJM-PAS                    Document 101 Filed 02/11/25                    Page 92 of 135 PageID
                                                            #: 6814
                                                                                                     5E - 03D25824 - 1    Page 12
Under 2 CFR 200.313, if the CPRG grant recipient purchases equipment with CPRG federally-awarded funds, title to the
equipment vests in the grant recipient and there will be no ongoing requirements for the grant recipient for the purchased
equipment after the end of the grant period.

These conditions must be met by the grant recipient for equipment use and management during the grant period:

a. Use the equipment for the authorized purposes of the project during the period of performance or until the property is
no longer needed for the purposes of the project. If the equipment and/or equipment components are to be sold during the
period of performance, the recipient must comply with the program income requirements (see the Program Income section
below).




b. Not encumber the property without approval of the Federal awarding agency or pass-through entity.

c. Use and dispose of the property as described below. Equipment use and management instructions are applicable to
assistance agreement recipients and subrecipients acquiring equipment under this award. Per 2 CFR 200.313(b), state
agencies may use and manage equipment acquired through a Federal award by the state in accordance with state laws
and procedures. Per 2 CFR 200.313(b), Indian Tribes must use, manage, and dispose of equipment acquired under a
Federal award in accordance with tribal laws and procedures.

Recipient agrees that at the end of the project period the recipient will continue to use the equipment purchased under
this assistance agreement in the project or program for which it was acquired as long as needed, whether or not the
project or program continues to be supported by the Federal award. After the end of the grant period, equipment
purchased under this award that is no longer needed, may be retained, sold, or otherwise disposed of with no further
obligation to the Federal awarding agency.

Consistent with 2 CFR 200.313, unless instructed otherwise, a grant recipient may keep the equipment and continue to
use it on the project originally funded through this assistance agreement or on other federally funded projects whether or
not the project or program continues to be supported by Federal funds. When acquiring replacement equipment, the non-
Federal entity may use the equipment to be replaced as a trade-in or sell the property and use the proceeds to offset the
cost of the replacement property.

Subrecipients are subject to the same federal requirements as the grant recipient (also known as the “pass-through
entity”) and they must comply with applicable subaward provisions of 2 CFR Part 200, the EPA Subaward Policy, and the
EPA&apos;s General Term and Condition for Subawards.

Under 2 CFR 200.313, if the CPRG grant recipient purchases equipment with CPRG federally-awarded funds, title to the
equipment vests with the grant recipient and there will be no ongoing requirements for the grant recipient for the
purchased equipment after the end of the grant period.

K. Equipment Disposition for Recipients

State agencies may dispose of equipment acquired under a Federal award by the state in accordance with state laws and
procedures.




L. QUALITY ASSURANCE Authority: Quality Assurance applies to all assistance agreements involving environmental
information as defined in 2 C.F.R. § 1500.12 Quality Assurance.

The recipient shall ensure that subawards involving environmental information issued under this agreement include
appropriate quality requirements for the work. The recipient shall ensure sub-award recipients develop and implement the
Quality Assurance (QA) planning documents in accordance with this term and condition; and/or ensure sub-award
recipients implement all applicable approved QA planning documents.




1. Quality Management Plan (QMP)
        Case 1:25-cv-00039-JJM-PAS                    Document 101 Filed 02/11/25                     Page 93 of 135 PageID
                                                            #: 6815
                                                                                                      5E - 03D25824 - 1   Page 13
a. Prior to beginning environmental information operations, the recipient must:




i. Develop a QMP,

ii. Prepare the QMP in accordance with the current version of EPA&apos;s Quality Management Plan (QMP) Standard.
Submit the document for EPA review, and

iii. Obtain EPA Quality Assurance Manager or designee (hereafter referred to as QAM) approval.

b. The recipient must submit the QMP no more than 180 days after grant award.




c. The recipient must review their approved QMP at least annually. These documented reviews shall be made available to
the sponsoring EPA organization if requested. When necessary, the recipient shall revise its QMP to incorporate minor
changes and notify the EPA PO and QAM of the changes. If significant changes have been made to the Quality Program
that affect the performance of environmental information operations, it may be necessary to re-submit the entire QMP for
re-approval. In general, a copy of any QMP revision(s) made during the year should be submitted to the EPA PO and QAM
in writing when such changes occur. Conditions requiring the revision and resubmittal of an approved QMP can be found in
section 6 of EPA&apos;s Quality Management Plan (QMP) Standard.




d. The recipient must submit a QMP crosswalk with the QMP.




2. Quality Assurance Project Plan (QAPP)

a. Prior to beginning environmental information operations, the recipient must:

i. Develop QAPP.

ii. Prepare QAPP in accordance with the current version of EPA's Quality Assurance Project Plan (QAPP) Standard,

iii. Submit the documents for EPA review, and

iv. Obtain EPA Quality Assurance Manager or designee (hereafter referred to as QAM) approval.

b. For each type of project to be undertaken by the grantee over the course of this grant, the recipient must submit a
project-specific QAPP 90 days after 10/17/2024.

c. The recipient shall notify the PO and QAM when substantive changes are needed to the QAPP. EPA may require the
QAPP be updated and re-submitted for approval.

d. The recipient must review their approved QAPP at least annually. The results of the QAPP review and any revisions must
be submitted to the PO and the QAM at least annually and may also be submitted when changes occur e. The recipient
must submit a QAPP crosswalk with the QAPP. For Reference:

• Quality Management Plan (QMP) Standard and EPA's Quality Assurance Project Plan (QAPP) Standard; contain quality
specifications for EPA and non-EPA organizations and definitions applicable to these terms and conditions.

• EPA QA/G-5: Guidance for Quality Assurance Project Plans.
         Case 1:25-cv-00039-JJM-PAS                     Document 101 Filed 02/11/25                       Page 94 of 135 PageID
                                                              #: 6816
                                                                                                           5E - 03D25824 - 1   Page 14
• EPA's Quality Program website has a list of QA managers, and Specifications for EPA and Non-EPA Organizations.

• The Office of Grants and Debarment Implementation of Quality Assurance Requirements for Organizations Receiving EPA
Financial Assistance.

M. Retention / Required Documentation

In accordance with 2 CFR 200.334, the recipient must retain all Federal award records, including but not limited to,
financial records, supporting documents, and statistical records for at least three years from the date of submission of the
final financial report. The records must be retained until all litigation, claims, or audit findings have been resolved and final
action has been taken if any litigation, claim, or audit is started before the expiration of the three-year period. Examples of
the required records include: (1) time and attendance records and supporting documentation; and (2) documentation of
compliance with statutes and regulations that apply to the project.

In accordance with 2 CFR 200.337, the EPA, the Inspector General, the Comptroller General, and the pass-through entity,
or any of their authorized representatives, have the right of access to any documents, papers or records of the recipient
which are pertinent to the grant award. The rights of access are not limited to the required retention period, but last as
long as the records are retained.

N. Program Audit

The EPA will conduct random reviews of recipients to protect against waste, fraud, and abuse. As part of this process, the
EPA, or its authorized representatives may request documentation from current recipients to verify statements made on
the application and reporting documents. Recipients may be selected for advanced monitoring, including a potential site
visit to confirm project details. The EPA, or its authorized representatives, may also conduct site visits to confirm
documentation is on hand and that the project is completed as agreed upon, as well as confirm applicable infrastructure
adheres to Build America, Buy America (BABA) requirements. Recipients are expected to comply with site visit requests
and recordkeeping requirements and must supply the EPA with any requested documents for three years from the date of
submission of the final expenditure report, or risk cancellation of an active grant application or other enforcement action.

O. Use of Submitted Information

Applications and reporting materials submitted under this competition may be released in part or in whole in response to a
Freedom of Information Act (FOIA) request. The EPA recommends that applications and reporting materials not include
trade secrets or commercial or financial information that is confidential or privileged, or sensitive information that, if
disclosed, would invade another individual's personal privacy (e.g., an individual's salary, personal email addresses, etc.).
However, if such information is included, it will be treated in accordance with 40 CFR 2.203. (Review EPA clause IV.a,
Confidential Business Information, under EPA Solicitation Clauses (https://www.epa.gov/grants/epa-solicitation-clauses)).

The EPA may make publicly available on the EPA&apos;s website or another public website copies or portions of CPRG
grant project information.

The EPA reserves a royalty-free, nonexclusive and irrevocable right to reproduce, publish, or otherwise use, and to
authorize others to use, for federal purposes, submitted project photos, including use in program materials.

P. Program Income

In accordance with 2 CFR Part 200.307(b) and 2 CFR 1500.8(b), the recipient is hereby authorized to retain program
income earned during the project period.

The program income shall be used in the following way:

1. Added to funds committed to the project by the EPA and used for the purposes and under the conditions of the
assistance agreement.

The recipient must provide a description of how program income is being used in each of its performance reports. Further,
a report on the amount of program income earned during the award period must be submitted with the Federal Financial
Report, Standard Form 425.

In accordance with 2 CFR 200.307(b) costs incidental to the generation of program income may be deducted from gross
        Case 1:25-cv-00039-JJM-PAS                     Document 101 Filed 02/11/25                     Page 95 of 135 PageID
                                                             #: 6817
                                                                                                        5E - 03D25824 - 1   Page 15
income to determine program income, provided these costs have not been charged to the EPA award. The recipient must
retain adequate accounting records to document that any costs deducted from program income comply with regulatory
requirements.

Q. Participant Support Costs

Participant support costs include rebates, subsidies, stipends, or other payments to program beneficiaries. Participant
support costs are not subawards as defined by 2 CFR §200.1 and should not be treated as such. Program beneficiaries may
be individual owner/operators or private or public fleet owners, however program beneficiaries cannot be employees,
contractors or subrecipients of the grant recipient. The recipient may provide financial assistance and project-deployment
technical assistance to enable low-income and disadvantaged communities to deploy and benefit from eligible zero
emissions technologies in the form of participant support costs.

The recipient agrees to the following eligibility, restrictions, timelines, and other programmatic requirements on
participant support costs:

1. Participant support costs must be reasonable, incurred within the project period and otherwise allocable to the EPA
assistance agreement. Participant support costs for rebates must be supported by guidelines issued by the recipient and
approved by the EPA&apos;s Award Official or Grants Management Officer, defining the rules, restrictions, timelines,
programmatic requirements, reporting and transaction documentation requirements, eligibility, and funding levels that
rebate beneficiaries must follow.

2. Recipient must abide by EPA Participant Support Cost regulation(s) and guidelines including but not limited to “Interim
EPA Guidance on Participant Support Costs” (https://www.epa.gov/grants/rain-2018-g05-r1). “The EPA Guidance on
Participant Support Costs” specifies requirements for rebate program approval by Authorized EPA Officials.

3. Recipient must enter into a written agreement with the program beneficiary that receives participant support costs.
Such agreement should not be structured as a subaward agreement, and the administrative grant regulations under 2 CFR
Part 200 and 2 CFR Part 1500, as well as the EPA&apos;s general terms and conditions do not flow down to program
beneficiaries receiving participant support costs. Such written agreement is also required if a subrecipient or contractor
intends to issue participant support costs to a program beneficiary. The written agreement must:

          a. describe the activities that will be supported by rebates, stipends, subsidies or other payments;

          b. specify the amount of the rebate, subsidy, stipend, or other payment;

          c. identify which party will have title to equipment (if any) purchased with a rebate or subsidy or other payment;

          d. specify any reporting required by the program beneficiary and the length of time for such reporting;

          e. establish source documentation requirements (e.g., invoices) for accounting records; and

          f. describe purchasing controls to ensure that the amount of the participant support cost is determined in a
          commercially reasonable manner as required by 2 CFR 200.404.

4. Recipient must obtain prior written approval from the EPA&apos;s Award Official if recipient wants to transfer funds
budgeted for participant support costs to other budget categories. If the recipient&apos;s request would result in
undermining the integrity of the competition this grant or cooperative agreement was awarded under, the EPA will not
approve the request.
Rebates, subsidies, and similar one-time, lump-sum payments to program beneficiaries for the purchase of eligible
emissions control technologies and vehicle replacements are eligible participant support costs under this award when the
program participant rather than the recipient owns the equipment, per 2 CFR 1500.1(a)(1). Engine replacements, marine
and locomotive shorepower projects, and most electrified parking space technology projects are not eligible as participant
support costs. Rebates can only fund a participating fleet owner&apos;s equipment purchase and installation costs (i.e.
parts and labor, including costs incurred to scrap the existing vehicle); if a participating fleet owner requires funding for
project administration, travel, extensive design/engineering, construction, etc., in order to carry out the project a
subaward is the more appropriate option. Questions regarding the use of rebates under this award should be directed to
the EPA Project Officer. Rebates are not considered subawards/subgrants as defined in 2 CFR Part 200 and should not be
treated as such under this award.
        Case 1:25-cv-00039-JJM-PAS                     Document 101 Filed 02/11/25                      Page 96 of 135 PageID
                                                             #: 6818
                                                                                                        5E - 03D25824 - 1   Page 16
R. REAL PROPERTY

In accordance with 2 CFR 200.311, title to real property acquired or improved under this agreement will vest upon
acquisition in the recipient. This property must be used for the originally authorized purpose as long as needed for that
purpose, during which time the recipient must not dispose of or encumber its title or other interests.

1. Disposition

When real property is no longer needed for the originally authorized purpose, the recipient must obtain disposition
instructions from the EPA. The instructions will provide for one of the following alternatives:

a. Retain title after compensating the EPA. The amount paid to the EPA will be calculated by multiplying the percentage of
EPA&apos;s contribution towards the original purchase (and costs of any improvements) by the current fair market value
of the property. However, in those situations where recipient is disposing of real property acquired or improved with a
Federal award and acquiring replacement real property under the same Federal award, the net proceeds from the
disposition may be used as an offset to the cost of the replacement property.

b. Sell the property and compensate the EPA. The amount paid to the EPA will be calculated by multiplying the percentage
of EPA&apos;s contribution towards the original purchase (and cost of any improvements) by the proceeds of the sale after
deducting any actual and reasonable expenses paid to sell or fix up the property for sale. When the Federal award has not
been closed out, the net proceeds from the sale may be offset against the original cost of the property. When directed to
sell the property, the recipient must sell the property utilizing procedures that provide for competition to the extent
practicable and that result in the highest possible return.

c. Transfer title to the EPA or a third party designated/approved by the EPA. The recipient is entitled to be paid an amount
calculated by multiplying the percentage of the recipient&apos;s contribution towards the original purchase of the real
property (and cost of any improvements) by the current fair market value of the property.

2. Recordation

As authorized by 2 CFR 200.316, the EPA requires that recipients who use EPA funding to purchase real property or to
improve real property through an EPA funded construction project record a lien or similar notice in the real property
records for the jurisdiction in which the real property is located which indicates that the real property has been acquired or
improved with federal funding and that use and disposition conditions apply to the real property.

S. SIGNAGE REQUIREMENTS

1. Investing in America Emblem

The recipient will ensure that a sign is placed at construction sites supported in whole or in part by this award displaying
the official Investing in America emblem and must identify the project as a “project funded by President Biden&apos;s
Inflation Reduction Act” as applicable. The sign must be placed at construction sites in an easily visible location that can
be directly linked to the work taking place and must be maintained in good condition throughout the construction period.

The recipient will ensure compliance with the guidelines and design specifications provided by the EPA for using the official
Investing in America emblem available at: https://www.epa.gov/invest/investing-america-signage

2. Procuring Signs

Consistent with section 6002 of RCRA, 42 U.S.C. 6962, and 2 CFR 200.323, recipients are encouraged to use recycled or
recovered materials when procuring signs. Signage costs are considered an allowable cost under this assistance
agreement provided that the costs associated with signage are reasonable. Additionally, to increase public awareness of
projects serving communities where English is not the predominant language, recipients are encouraged to translate the
language on signs (excluding the official Investing in America emblem or the EPA logo or seal) into the appropriate non-
English language(s). The costs of such translation are allowable, provided the costs are reasonable.

T. USE OF LOGOS

If the EPA logo is appearing along with logos from other participating entities on websites, outreach materials, or reports, it
must not be prominently displayed to imply that any of the recipient or subrecipient's activities are being conducted by
        Case 1:25-cv-00039-JJM-PAS                    Document 101 Filed 02/11/25                    Page 97 of 135 PageID
                                                            #: 6819
                                                                                                      5E - 03D25824 - 1   Page 17
the EPA. Instead, the EPA logo should be accompanied with a statement indicating that the North Carolina Department of
Natural and Cultural Resources (NCDNCR) received financial support from the EPA under an Assistance Agreement. More
information is available at: https://www.epa.gov/stylebook/using-epa-seal-and-logo#policy

U. Public or Media Events

The EPA encourages the recipient to notify the EPA Project Officer listed in this award document of public or media events
publicizing the accomplishment of significant events related to construction projects as a result of this agreement and
provide the opportunity for attendance and participation by federal representatives with at least ten (10) working
days&apos; notice.

V. National Programmatic Term and Condition for Fellowship, Internship Programs and Similar Programs
Supported by EPA Financial Assistance

1. EPA funds for this program may only be used for participant support cost payments, scholarships, tuition remission and
other forms of student aid for citizens of the United States, its territories, or possessions, or for individuals lawfully
admitted to the United States for permanent residence.

2. The recipient and program participants are responsible for taxes, if any, on payments made to or on behalf of
individuals participating in this program that are allowable as participant support costs under 2 CFR 200.1 or 2 CFR
200.456 and scholarships and other forms of student aid such as tuition remission under 2 CFR 200.466. EPA encourages
recipients and program participants to consult their tax advisers, the U.S. Internal Revenue Service, or state and local tax
authorities regarding the taxability of stipends, tuition remission and other payments. However, EPA does not provide
advice on tax issues relating to these payments.

3. Participant support cost payments, scholarships, and other forms of student aid such as tuition remission are lower
tiered covered Nonprocurement transactions for the purposes of 2 CFR 180.300 and EPA's Suspension and Debarment
Term and Condition. Recipients, therefore, may not make participant support cost payments to individuals who are
excluded from participation in Federal Nonprocurement programs under 2 CFR Part 180. Recipients are responsible for
checking the eligibility of program participants in the System for Award Management (SAM) or obtaining eligibility
certifications from the program participants.

See EPA Guidance on Participant Support Costs: https://www.epa.gov/sites/default/files/2020-11/documents/epa-guidance-
on-participant-support-costs.pdf.

W. Competency of Organizations Generating Environmental Measurement Data

In accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the Competency of Organizations
Generating Environmental Measurement Data under Agency-Funded Assistance Agreements,

Recipient agrees, by entering into this agreement, that it has demonstrated competency prior to award, or alternatively,
where a pre-award demonstration of competency is not practicable, Recipient agrees to demonstrate competency prior to
carrying out any activities under the award involving the generation or use of environmental data. Recipient shall maintain
competency for the duration of the project period of this agreement and this will be documented during the annual
reporting process. A copy of the Policy is available online at https://www.epa.gov/sites/production/files/2015-
03/documents/competency-policy-aaia-new.pdf or a copy may also be requested by contacting the EPA Project Officer for
this award.

X. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC) endorsed
standards. Information on these standards may be found at https://www.fgdc.gov/.

Y. Health and Safety Plan

Before beginning field work, the recipient must have a health and safety plan in place providing for the protection of on-
site personnel and area residents, unless specifically waived by the award official. This plan need not be submitted to the
EPA but must be made available to the EPA upon request. The recipient&apos;s health and safety plan must comply with
Occupational Safety and Health Administration (OSHA) 29 CFR 1910.120, entitled “Hazardous Waste Operations and
Emergency Response.”
        Case 1:25-cv-00039-JJM-PAS                     Document 101 Filed 02/11/25                       Page 98 of 135 PageID
                                                             #: 6820
                                                                                                         5E - 03D25824 - 1   Page 18
Z. EPASS Security

In accordance with Homeland Security Presidential Directive-12 (HSPD-12), “Policy for a Common Identification Standard
of Federal Employees and Contractors;” Executive Order 13467, &quot;Reforming Processes Related to Suitability for
Government Employment, Fitness for Contractor Employees, and Eligibility for Access to Classified National Security
Information;&quot; and Executive Order 13488, &quot;Granting Reciprocity on Excepted Service and Federal Contractor
Employee Fitness and Reinvestigating Individuals in Positions of Public Trust,&quot; the recipient agrees to follow
instructions from the EPA project officer to ensure compliance with the EPA Personnel Access and Security System
(EPASS).
Prior to beginning work at an EPA facility, the recipient, or its employees or program participants, must complete either:

1. A favorable fingerprint check for recipients (and their employees or program participants) who require six (6) months or
less of unescorted physical access to EPA facilities; or

2. A favorable background investigation and fingerprint check for recipients (and their employees or program participants)
who require more than six (6) months of unescorted physical access to EPA facilities.

Recipients, their employees, or program participants may not be permitted access to EPA facilities until meeting these
requirements.

Recipients may initiate the appropriate check through the following link: https://cdx.epa.gov.

Failure of a recipient, their employees, or program participants to receive a favorable fingerprint or background check,
whichever is applicable, shall result in the termination of the recipient, the employees, or program participants from
continued enrollment in the program.

AA. Foreign Entity of Concern

The recipient agrees to not directly transfer EPA funds through a subaward, contract, or participant support costs to a
foreign entity of concern (FEOC). The EPA considers FEOCs to include foreign entities that are owned by, controlled by, or
subject to the jurisdiction or direction of a government of a foreign country that is a covered nation as defined by Congress
in Section 40207 of the Infrastructure Investment and Jobs Act. The EPA uses the proposed interpretive rule from the U.S.
Department of Energy (DOE) to provide additional guidance in determining FEOCs. See 88 Fed. Reg. 84,082 (Dec. 4,
2023). If DOE finalizes an interpretive rule that differs in material respects from the proposal, the EPA may amend the
award agreement accordingly.

Additionally, the recipient agrees to develop and implement internal controls that ensure EPA funds are not directly
transferred to FEOCs, including through subawards, contractors, and participant support costs.

AB. Historic Preservation




National Historic Preservation Act (NHPA)

Section 106 of the NHPA requires all federal agencies to consider the effects of their undertakings, including the act of
awarding a grant or cooperative agreement, on historic properties, and to provide the Advisory Council on Historic
Preservation (ACHP) a reasonable opportunity to comment on such undertakings. The recipient must assist the EPA Project
Officer in complying with NHPA if any activities funded under this grant impact a historic property. Historic properties
include: (a) land or buildings listed in or eligible for listing on the National Register of Historic Places; (b) archaeologically
sensitive areas or in an area where traditional cultural properties are located; and (c) properties that are associated with
significant historic events, are associated with significant people, embody distinctive characteristics, and contain
important precontact information.




The recipient should work with their Project Officer to ensure that subrecipients are available to work with EPA on any
required consultation process with the State or Tribal Historic Preservation Office prior to commencing the project to
ensure compliance with Section 106 of the NHPA.
        Case 1:25-cv-00039-JJM-PAS                      Document 101 Filed 02/11/25                      Page 99 of 135 PageID
                                                              #: 6821
                                                                                                         5E - 03D25824 - 1   Page 19




If NHPA compliance is required, necessary Section 106 consultation activities, such as historic or architectural surveys,
structural engineering analysis of buildings, public meetings, and archival photographs, can be considered allowable and
allocable grant costs.




Archeological and Historic Preservation Act (AHPA)

This law applies if archeologically significant artifacts or similar items are discovered after an EPA-funded construction
project has begun, and compliance may be coordinated with the NHPA, discussed above. The AHPA requires federal
agencies to identify relics, specimens, and other forms of scientific, prehistorical, historical, or archaeologic data that may
be lost during the construction of federally-sponsored projects to ensure that these resources are not inadvertently
transferred, sold, demolished or substantially altered, or allowed to deteriorate significantly. The recipient must ensure
that subrecipients performing construction projects are aware of this requirement, and the recipient must notify EPA if the
AHPA is triggered.




AC. Other Federal Requirements

In addition to the statutes outlined in the Labor and Equitable Workforce Programmatic Term and Condition, Build America,
Buy America Programmatic Act Term and Condition, Historic Preservation Programmatic Term and Condition, the recipient
must comply with all federal cross-cutting requirements. These requirements include, but are not limited to:




• Endangered Species Act, as specified in 50 CFR Part 402: Non-Federal entities must identify any impact or
activities that may involve a threatened or endangered species. Federal agencies have the responsibility to ensure that no
adverse effects to a protected species or habitat occur from actions under Federal assistance awards and conduct the
reviews required under the Endangered Species Act, as applicable.




• Federal Funding Accountability and Transparency Act: Recipients of financial assistance awards must comply with
the requirements outlined in 2 CFR Part 170, Reporting Subaward and Executive Compensation and in the General Term
and Condition “Reporting Subawards and Executive Compensation.”




• Farmland Protection Policy Act: This statute requires EPA to use criteria developed by the Natural Resources
Conservation Service (NRCS) to identify the potential adverse effects of Federal programs on farmland and its conversion
to nonagricultural uses, to mitigate these effects, and to ensure that programs are carried out in a manner that is
compatible with the farmland preservation policies of state and local governments, and private organizations. Recipients
may need to work with EPA or NRCS, as appropriate, to ensure compliance.




• Coastal Zone Management Act: Projects funded under federal financial assistance agreements must be consistent
with a coastal State's approved management program

for the coastal zone.




For additional information on cross-cutting requirements visit https://www.epa.gov/grants/epa-subaward-cross-cutter-
        Case 1:25-cv-00039-JJM-PAS                     Document 101 Filed 02/11/25                       Page 100 of 135 PageID
                                                              #: 6822
                                                                                                           5E - 03D25824 - 1   Page 20
requirements.

AD. Review and Oversight

1. Products - The recipient agrees that any product (e.g., publication, outreach materials, training manuals) produced
through this assistance agreement and made available for public view must be first reviewed by the EPA Project Officer for
comment before release. The recipient shall make all final decisions on the product content.

2. Quarterly Calls - The recipient shall consult with the EPA Project Officer on a quarterly basis in order to obtain input on
program activities and products produced. However, the recipient should make all final decisions on project
implementation and product content. Conference call minutes/notes will be prepared after each call. It is at the EPA Project
Officer&apos;s discretion to determine any change to the frequency with which calls are held.

3. Prior Approval - Any proposed changes to the project must be submitted in writing to the EPA Project Officer for
approval prior to implementation. The recipient incurs costs at its own risk if it fails to obtain written approval before
implementing any changes.
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 101 of 135 PageID
                                    #: 6823
         Case 1:25-cv-00039-JJM-PAS                Document 101 Filed 02/11/25       Page 102 of 135 PageID
                                                          #: 6824
                                                                                       5E - 03D25824 - 2   Page 2

                                                 EPA Funding Information
              FUNDS                                FORMER AWARD            THIS ACTION                         AMENDED TOTAL
EPA Amount This Action                                 $ 421,238,074                    $0                          $ 421,238,074
EPA In-Kind Amount                                                  $0                  $0                                    $0
Unexpended Prior Year Balance                                       $0                  $0                                    $0
Other Federal Funds                                                 $0                  $0                                    $0
Recipient Contribution                                              $0                  $0                                    $0
State Contribution                                                  $0                  $0                                    $0
Local Contribution                                                  $0                  $0                                    $0
Other Contribution                                                  $0                  $0                                    $0
Allowable Project Cost                                 $ 421,238,074                    $0                          $ 421,238,074



Assistance Program (CFDA)                     Statutory Authority                Regulatory Authority
66.046 - Climate Pollution Reduction Grants   Clean Air Act: Sec. 137            2 CFR 200, 2 CFR 1500 and 40 CFR 33
         Case 1:25-cv-00039-JJM-PAS                         Document 101 Filed 02/11/25   Page 103 of 135 PageID
                                                                   #: 6825
                                                                                           5E - 03D25824 - 2   Page 3

Budget Summary Page
                                       Table A - Object Class Category                              Total Approved Allowable
                                             (Non-Construction)                                        Budget Period Cost
 1. Personnel                                                                                                           $ 10,178,563
 2. Fringe Benefits                                                                                                       $ 4,125,448
 3. Travel                                                                                                                  $ 205,250
 4. Equipment                                                                                                                $ 95,000
 5. Supplies                                                                                                                $ 299,250
 6. Contractual                                                                                                           $ 1,900,000
 7. Construction                                                                                                                   $0
 8. Other                                                                                                              $ 399,434,563
 9. Total Direct Charges                                                                                               $ 416,238,074
 10. Indirect Costs: 10.00 % Base DE MINIMUS                                                                              $ 5,000,000
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                                100.00 %)                                                              $ 421,238,074
 12. Total Approved Assistance Amount                                                                                   $ 421,238,074
 13. Program Income                                                                                                                $0
 14. Total EPA Amount Awarded This Action                                                                                          $0
 15. Total EPA Amount Awarded To Date                                                                                   $ 421,238,074
       Case 1:25-cv-00039-JJM-PAS                   Document 101 Filed 02/11/25   Page 104 of 135 PageID
                                                           #: 6826
                                                                                   5E - 03D25824 - 2   Page 4

                                                  Administrative Conditions
All of the Administrative terms and conditions remain the same.
       Case 1:25-cv-00039-JJM-PAS               Document 101 Filed 02/11/25   Page 105 of 135 PageID
                                                       #: 6827
                                                                                5E - 03D25824 - 2   Page 5

                                              Programmatic Conditions
The following Programmic Terms and Conditions have been updated:

R. REAL PROPERTY

         In accordance with 2 CFR 200.311, title to real property acquired or improved under
         this agreement will vest upon acquisition in the recipient or subrecipient, as
         appropriate. This property must be used for the originally authorized purpose as long
         as needed for that purpose, during which time the recipient or subrecipient may
         transfer its title as long as the title holder uses the land as originally intended as a
         carbon sink or holds the lands in a conservation easement that ensures that the land
         will continue to serve as a carbon sink. Before any such transfer, the recipient,
         subrecipient, and/or current title holder must provide advance notification to EPA,
         Region 4 of any intent to transfer said lands. Deeds must contain a notice of the
         grant restrictions set forth in this section. Additionally, once the transfer and any
         subsequent transfers are completed the title holder must send a copy of the deed to
         EPA, Region 4. The title holder must observe the original intent of the grant to
         restore, maintain, and conserve the land and shall not develop the land.

1. Disposition

When real property is no longer needed for the originally authorized purpose, the recipient,
subrecipient, and/or title holder must obtain disposition instructions from EPA, Region 4, in
accordance with the Term and Condition in Section R of the Award Document. The
instructions will provide for one of the following alternatives:

a. Retain title after compensating the EPA. The amount paid to the EPA will be calculated by
multiplying the percentage of EPA's contribution towards the original purchase (and costs of
any improvements) by the current fair market value of the property. However, in those
situations where recipient is disposing of real property acquired or improved with a Federal
award and acquiring replacement real property under the same Federal award, the net
proceeds from the disposition may be used as an offset to the cost of the replacement
property.

b. Sell the property and compensate the EPA. The amount paid to the EPA will be calculated
by multiplying the percentage of EPA's contribution towards the original purchase (and cost
of any improvements) by the proceeds of the sale after deducting any actual and
reasonable expenses paid to sell or fix up the property for sale. When the Federal award
has not been closed out, the net proceeds from the sale may be offset against the original
cost of the property. When directed to sell the property, the recipient must sell the property
utilizing procedures that provide for competition to the extent practicable and that result in
the highest possible return.

c. Transfer title to the EPA or a third party designated/approved by the EPA. The recipient is
entitled to be paid an amount calculated by multiplying the percentage of the recipient's
contribution towards the original purchase of the real property (and cost of any
improvements) by the current fair market value of the property.
      Case 1:25-cv-00039-JJM-PAS         Document 101 Filed 02/11/25         Page 106 of 135 PageID
                                                #: 6828
                                                                              5E - 03D25824 - 2   Page 6

2. Recordation

As authorized by 2 CFR 200.316, the EPA requires that recipients who use EPA funding to
purchase real property or to improve real property through an EPA funded construction
project record a lien or similar notice in the real property records for the jurisdiction in
which the real property is located which indicates that the real property has been acquired
or improved with federal funding and that use and disposition conditions apply to the real
property.

AA. Foreign Entity of Concern

As part of carrying out this award, Recipient agrees that they are not:

1. an entity owned by, controlled by, or subject to the direction of a government of a
“covered nation” as defined at 10U.S.C. §4872(d);

2. an entity headquartered in a “covered nation” as defined at 10U.S.C. §4872(d); or

3. a subsidiary of an entity described above in (1) or (2).

As of the date these terms and conditions become effective, covered nations under 10 U.S.
C. § 4872(d) are the Democratic People's Republic of North Korea; the People's Republic of
China; the Russian Federation; and the Islamic Republic of Iran. For additional information
on cross-cutting requirements visit https://www.epa.gov/grants/epa-subaward-cross-cutter-
requirements. .

AE. Termination


Notwithstanding the General Term and Condition “Termination,” EPA maintains the right to terminate the
Assistance Agreement only as specified in 2 CFR 200.339 and the version of 2 CFR 200.340 effective as
of October 1, 2024, when the noncompliance with the terms and conditions is substantial such that
effective performance of the Assistance Agreement is materially impaired or there is adequate evidence
of waste, fraud, or abuse, prompting adverse action by EPA per 2 CFR 200.339, through either a partial
or full termination. If EPA partially or fully terminates the Assistance Agreement, EPA must (1) de-
obligate uncommitted funds and re-obligate them to another Eligible Recipient to effectuate the
objectives of Section 137(c) of the Clean Air Act, 42 USC § 7437(c) within 90 days of the de-obligation
and (2) amend the Recipient's Assistance Agreement to reflect the reduced amount, based on the de-
obligation. In accordance with 2 CFR 200.341, EPA will provide the Recipient notice of termination.

All other Programmatic Terms and Conditions remain the same.
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 107 of 135 PageID
                                    #: 6829



                         Davis Declaration
                                Exhibit C
Docusign Envelope ID: B481DA55-F9F8-4096-9700-516CBB0C1463
         Case 1:25-cv-00039-JJM-PASDocument 101 Filed 02/11/25                           Page 108 of 135 PageID
                                          #: 6830
             EPA CPRG ATLANTIC CONSERVATION COALITION MOA



                                             DRAFT
                                   Memorandum of Agreement
                                  Atlantic Conservation Coalition
                               EPA Climate Pollution Reduction Grant

                     This MEMORANDUM OF AGREEMENT (“MOA”) is made between the North Carolina
             Department of Natural and Cultural Resources (“NCDNCR”), a principal department of the State
             of North Carolina; the Maryland Department of the Environment (“MDE”), a principal department
             of the State of Maryland; the South Carolina Office of Resilience (“SCOR”), an office of the State
             of South Carolina; and the Virginia Department of Environmental Quality (“Virginia DEQ”), a
             department of the Commonwealth of Virginia; referred to collectively as the “Parties;” for the
             purpose of outlining the Parties’ roles and responsibilities as members of the Atlantic Conservation
             Coalition (“Coalition”) and their commitment to implementing their project as applied for under
             the Environmental Protection Agency (“EPA”) Climate Pollution Reduction Grants Program
             (“CPRG”), should funding be awarded.

                    WHEREAS, the 2022 Inflation Reduction Act (“IRA”) established the CPRG program
             with the goal of reducing greenhouse gases; and

                    WHEREAS, the Parties have developed a regional approach to this goal by leveraging the
             carbon sequestration potential of natural and working lands; and

                     WHEREAS, the Parties have formed the Coalition, as encouraged by the CPRG
             competition, to apply for funding to implement their regional proposal, with NCDNCR serving as
             the lead applicant; and

                  WHEREAS, the EPA CPRG Notice of Funding Opportunity (“NOFO”) EPA-R-OAR-
             CPRGI-23-07 requires the submission of an MOA signed by August 1, 2024; and

                    WHEREAS, the Parties included letters of intent to enter into this MOA as part of their
             application submitted to EPA on March 28, 2024; now

             THEREFORE, IT IS AGREED:


             ARTICLE I. COALITION MEMBER RESPONSIBILITIES

                 A. Scope of the Project. The Coalition’s regional, four-state initiative consists of projects that
                    will reduce greenhouse gases via natural and working lands through two measures: (1)
                    protecting and restoring high-carbon coastal habitats and peatlands to maximize carbon
                    sequestration and coastal resilience benefits; and/or (2) supporting the protection, use, and
                    restoration of forested land that promotes sustainable forestry management practices to
Docusign Envelope ID: B481DA55-F9F8-4096-9700-516CBB0C1463
         Case 1:25-cv-00039-JJM-PASDocument 101 Filed 02/11/25                          Page 109 of 135 PageID
                                          #: 6831
             EPA CPRG ATLANTIC CONSERVATION COALITION MOA


                     increase carbon sequestration. The collaborative approach to identifying and executing
                     projects will lead to outcomes with the highest carbon storage potential and community
                     resilience co-benefits across the four-state region. The grant application submitted by the
                     Coalition and showing the full scope of the project is attached to this MOA as Exhibit 1.
                     The application is attached for reference and will be superseded by grant and subaward
                     agreements.

                 B. General Responsibilities of the Parties. To the extent allowed by law:

                     1. The Parties acknowledge that in addition to this MOA, if the Coalition is awarded a
                        grant, the Parties may be required to enter into an EPA grant agreement or other separate
                        instrument evidencing the award by EPA, or associated subaward agreements, with
                        additional binding terms.
                     2. As lead applicant, NCDNCR will be accountable to EPA regarding financial
                        management of the grant and confirming the scope of work implemented. The Parties
                        acknowledge that the lead applicant will serve as an administrative pass-through for
                        any awarded EPA funding and will distribute awarded funds following the allocations
                        and requirements agreed upon in the grant application and/or any additional
                        instruments evidencing the grant.
                     3. All other Parties will be accountable to the lead applicant in following EPA funding
                        requirements and implementation of the project. This includes compiling necessary
                        information in line with EPA reporting requirements for projects managed by Parties
                        and their subrecipients. Parties are expected to submit this information to NCDNCR to
                        be reported to EPA in line with grant requirements.
                     4. The Parties agree to use grant award funds solely for the general purposes as described
                        in the grant application; in accordance with an EPA grant agreement, other instrument
                        evidencing an award by EPA, or associated subaward agreements; and in accordance
                        with any applicable laws, regulations, and guidelines.

                 C. Specific Responsibilities of the Parties.

                     1. NCDNCR intends to:
                          a. Enter into an EPA grant agreement and comply with any EPA requirements
                             described therein.
                          b. Serve as Coalition lead, manage the overall award, issue subawards to other
                             Parties, and direct operations as described in Article II, below.
                          c. Direct specific projects as detailed in the grant application, Exhibit 1, including
                             through subaward agreements with other entities.

                     2. MDE intends to:
                          a. Enter into either an EPA agreement or a subaward agreement with NCDNCR
                              and comply with any EPA or Coalition requirements described therein.
                          b. Direct specific projects as detailed in the grant application, Exhibit 1, including
                              through subaward agreements with other entities.

                     3. SCOR intends to:
Docusign Envelope ID: B481DA55-F9F8-4096-9700-516CBB0C1463
         Case 1:25-cv-00039-JJM-PASDocument 101 Filed 02/11/25                         Page 110 of 135 PageID
                                          #: 6832
             EPA CPRG ATLANTIC CONSERVATION COALITION MOA


                              a. Enter into either an EPA grant agreement or a subaward agreement with
                                 NCDNCR and comply with any EPA or Coalition requirements described
                                 therein.
                              b. Direct specific projects as detailed in the grant application, Exhibit 1,
                                 including through subaward agreements with other entities.

                     4. Virginia DEQ intends to:
                           a. Enter into either an EPA grant agreement or a subaward agreement with
                               NCDNCR and comply with any EPA or Coalition requirements described
                               therein.
                           b. Direct specific projects as detailed in the grant application, Exhibit 1,
                               including through subaward agreements with other entities.

             ARTICLE II. COALITION OPERATING MODEL

                 A. NCDNCR will be the Coalition lead and will disseminate funds directly to Parties to apply
                    to projects and initiatives detailed in the CPRG grant application. Each Party will be
                    allocated $50M to use as detailed in the grant application. The Nature Conservancy
                    (“TNC”) will be the subrecipient of $200M disseminated by NCDNCR. NCDNCR will
                    be allocated additional funds for administration and management of the CPRG grant across
                    the Coalition, as described in Exhibit 1.

                 B. NCDNCR will coordinate with Parties and other subrecipients, contractors, and vendors to
                    ensure timely application of funding for proposed projects detailed in the application,
                    Exhibit 1.

                 C. Parties intend to track progress for each performance measure within their jurisdiction with
                    databases, spreadsheets, and timekeeping records and report such progress to NCDNCR in
                    a timely manner to meet the EPA reporting requirements described in the CPRG NOFO,
                    an EPA grant agreement, or any applicable law or regulation. NCDNCR and all Parties
                    intend to coordinate with applicable subrecipients of each Party to develop public-facing
                    tools and materials showcasing the coalition’s region-wide approach to projects.

                 D. NCDNCR will collect and compile tracking and reports on project progress, expenditures
                    and purchases made with CPRG funding, tracking and reports on project accomplishments,
                    and proposed timelines and milestones from the Parties. NCDNCR intends to compile and
                    submit required progress reports on grant implementation and planned activities to the EPA
                    and submit a detailed final written report to EPA with the participation and collaboration
                    from the Parties.

                 E. Parties intend to meet quarterly to share best practices and learning and identify any
                    obstacles to award compliance so that NCDNCR can notify EPA throughout the period of
                    performance.
Docusign Envelope ID: B481DA55-F9F8-4096-9700-516CBB0C1463
         Case 1:25-cv-00039-JJM-PASDocument 101 Filed 02/11/25                       Page 111 of 135 PageID
                                          #: 6833
             EPA CPRG ATLANTIC CONSERVATION COALITION MOA


                 F. Liaisons. The Parties assign as their liaisons to the Coalition for purposes of this MOA,
                    which may be changed by sending notice in accordance with Article III.D. herein:

                     1. NCDNCR:
                          Deans Eatman
                          NC Department of Natural and Cultural Resources
                          109 E Jones Street
                          Raleigh, NC 27699
                          deans.eatman@dncr.nc.gov
                          (252) 578-9892

                     2. MDE
                          Allison Tjaden
                          MD Department of the Environment
                          1800 Washington Boulevard
                          Baltimore, MD 21230
                          Allison.tjaden@maryland.gov
                          410-537-3228

                     3. SCOR:
                          Alexander Butler
                          South Carolina Office of Resilience
                          632 Rosewood Drive
                          Columbia, SC 29201
                          Alex.butler@scor.sc.gov
                          803-542-0463

                     4. Virginia DEQ
                           Angela L. Conroy
                           Air & Renewable Energy Division
                           VA Department of Environmental Quality
                           1111 E Main Street, Ste. 1400
                           Richmond, VA 23219
                           angela.conroy@deq.virginia.gov
                           804-659-1982



             ARTICLE III. GENERAL TERMS

                 A. Effective Date. This MOA shall become effective only upon the award of funding by EPA
                    through the CPRG program to the Coalition and shall remain in effect until the earliest of
                    the end of the term of the grant, the date it is superseded by an EPA grant agreement and
                    associated subaward agreements, or the date it is terminated in accordance with Article
                    III.B., below.
Docusign Envelope ID: B481DA55-F9F8-4096-9700-516CBB0C1463
         Case 1:25-cv-00039-JJM-PASDocument 101 Filed 02/11/25                           Page 112 of 135 PageID
                                          #: 6834
             EPA CPRG ATLANTIC CONSERVATION COALITION MOA


                 B. Termination. The Parties may terminate this MOA at any time by mutual written agreement
                    signed by the Coalition. A Party may withdraw from this MOA upon service on the other
                    Parties of written notice giving at least 30 days written notice of such intention to withdraw.
                    This Agreement will automatically terminate if the EPA grant is not awarded or allocated
                    to the Coalition.

                 C. Amendment. This MOA may only be amended by mutual written agreement of the
                    Coalition.

                 D. Notice. All notices shall be deemed to have been fully given when made in writing and
                    either personally delivered or deposited in the United States mail, certified and postage
                    prepaid and addressed to the Parties’ liaisons as identified in Article II. Section H. with
                    copy by email to addresses listed above.

                 E. Entire Agreement. This MOA and the exhibits attached hereto represent the entire
                    agreement between the Parties and supersedes all prior oral or written statements or
                    agreements as to the subject matter discussed herein. There are no promises, terms,
                    conditions, or obligations other than those contained in this MOA, and this MOA shall
                    supersede all previous communications, representations, or agreements between the Parties
                    as to the subject matter discussed herein.

                 F. No Assignment. This MOA shall not be assignable. No Party shall assign its rights,
                    privileges, and obligations under this MOA to any other third party, whatsoever.

                 G. Availability of Funds. The Parties’ obligations under this MOA are subject to the receipt
                    of funds from EPA and appropriations under applicable state law. A failure by any Party
                    to make any payment required by this MOA or to observe and perform any condition on
                    its part to be performed under this MOA as a result of the failure of the EPA to disburse
                    funds as agreed to in an EPA grant agreement or a separate instrument evidencing the award
                    by EPA, or associated subaward agreements, shall not in any manner constitute a breach or
                    default by the Party and the Party shall not be held liable in any manner whatsoever because
                    of the absence of available funding.

                 H. Signature Authority. The Parties confirm the signatories below are fully authorized and
                    empowered to enter into and bind their organization to the terms of this MOA. The
                    signatories have read and understand the terms and conditions of this MOA.

                 I. Counterparts. This MOA may be executed in multiple counterparts, any of which shall be
                    an original copy, and all of which constitute the MOA.

                 J. Sovereign Immunity. The Coalition acknowledges and agrees that nothing in this MOA
                    shall be construed as a modification, compromise, or waiver by the Parties of its sovereign
                    immunity or any applicable defenses, which are hereby expressly reserved to the respective
                    Parties.
Docusign Envelope ID: B481DA55-F9F8-4096-9700-516CBB0C1463
         Case 1:25-cv-00039-JJM-PASDocument 101 Filed 02/11/25                          Page 113 of 135 PageID
                                          #: 6835
             EPA CPRG ATLANTIC CONSERVATION COALITION MOA


                 K. Access to records. To the extent allowed under the laws of the State where the persons or
                    records are located, the State Auditor, NCDNCR Internal Auditors, the joint Legislative
                    Commission on Governmental Operations (as well as applicable legislative employees),
                    and any other authorized State entity shall have access to persons and records as such
                    access is required under North Carolina law (including but not limited to N.C.G.S. §§ 143-
                    49 & 147-64.7).

                 L. Scope of access to records. Access to records, as defined in Section III(K) above, is limited
                    to records produced by or for NCDNCR pursuant to official CPRG duties. Disclosure of
                    those same records of other parties will be available based on each state’s disclosure
                    requirements.


             AGREEMENT APPROVED AND EXECUTED BY:

             NORTH CAROLINA DEPARTMENT OF NATURAL AND CULTURAL RESOURCES
                                                                                                7/24/2024

             Signature of Authorizing Official                                                           Date
             D. Reid Wilson, Secretary


             MARYLAND DEPARTMENT OF THE ENVIRONMENT
                                                                                                 7/24/2024

             Signature of Authorizing Official                                                           Date
             Serena McIlwain, Secretary
                                                                       July 24
             Approved as to form and legal sufficiency for MDE this ____ day of 2024.

                                                                                               7/24/2024
             _ ___________________________________________________________________________
             ________________________________,
             Rebecca Reske                     Assistant Attorney General            Date

             SOUTH CAROLINA OFFICE OF RESILIENCE
                                                                                                 7/24/2024

             Signature of Authorizing Official                                                           Date
             Benjamin I. Duncan, II, Chief Resilience Officer


             VIRGINIA DEPARTMENT OF THE ENVIRONMENTAL QUALITY
                                                                                                 7/24/2024

             Signature of Authorizing Official                                                           Date
             Michael S. Rolband, PE, PWD, PWS Emeritus, Director
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 114 of 135 PageID
                                    #: 6836



                         Davis Declaration
                                Exhibit E
Case 1:25-cv-00039-JJM-PAS                  Document 101 Filed 02/11/25                     Page 115 of 135 PageID
                                                   #: 6837

   From:              EPA Grants Info
   Subject:           [External] Pause EPA Grants
   Date:              Tuesday, January 28, 2025 4:41:10 PM



      You don't often get email from epa_grants_info@epa.gov. Learn why this is important

   CAUTION: External email. Do not click links or open attachments unless verified. Report suspicious emails with the
   Report Message button located on your Outlook menu bar on the Home tab.


   Dear Grant Recipient,

   EPA is working diligently to implement President Trump’s Unleashing American Energy Executive
   Order issued on January 20 in coordination with the Office of Management and Budget. The agency
   has paused all funding actions related to the Inflation Reduction Act and the Infrastructure
   Investment and Jobs Act at this time. EPA is continuing to work with OMB as they review processes,
   policies, and programs, as required by the Executive Order.

   Thank you.

   Please do not reply to this message. This mailbox is not monitored.
Case 1:25-cv-00039-JJM-PAS                  Document 101 Filed 02/11/25                     Page 116 of 135 PageID
                                                   #: 6838

   From:              EPA Grants Info
   Subject:           [External] Notice of Court’s Order
   Date:              Monday, February 3, 2025 8:33:29 AM
   Attachments:       Notice of Temporary Restraining Order 01-31-2025.pdf



      You don't often get email from epa_grants_info@epa.gov. Learn why this is important

   CAUTION: External email. Do not click links or open attachments unless verified. Report suspicious emails with the
   Report Message button located on your Outlook menu bar on the Home tab.


   Dear Grant Recipient,

   Pursuant to the Court’s directive in New York et al. v. Trump, No. 25-cv-39-JJM-PAS (D.R.I.), ECF No.
   50 (Jan. 31, 2025) all EPA assistance agreement recipients are receiving the attached Notice of the
   Court’s Order for awareness and information. A copy of the Court’s Order is also attached for
   reference. If you have any questions about the scope or effect of the Court’s Order, please contact
   your Grants Award Official.

   Thank you.

   Please do not reply to this message. This mailbox is not monitored.
Case 1:25-cv-00039-JJM-PAS                   Document 101 Filed 02/11/25                  Page 117 of 135 PageID
                                                    #: 6839

   From:              Johnson, Kristine
   To:                Eatman, Deans
   Cc:                Toney, Anthony; Frew, Erin; Kern, Kayla; Dolan, Margaret
   Subject:           RE: [External] Notice of Court’s Order
   Date:              Monday, February 3, 2025 2:10:48 PM


   CAUTION: External email. Do not click links or open attachments unless verified. Report suspicious emails with the
   Report Message button located on your Outlook menu bar on the Home tab.

   Good afternoon,

   EPA is working diligently to implement President Trump’s Unleashing American Energy Executive
   Order issued on January 20 in coordination with the Office of Management and Budget. The agency
   has paused all funding actions related to the Inflation Reduction Act and the Infrastructure
   Investment and Jobs Act at this time. EPA is continuing to work with OMB as they review processes,
   policies, and programs, as required by the Executive Order.

   Thanks



   From: Eatman, Deans <Deans.Eatman@dncr.nc.gov>
   Sent: Monday, February 3, 2025 1:58 PM
   To: Johnson, Kristine <Johnson.Kristine@epa.gov>
   Cc: Toney, Anthony <Toney.Anthony@epa.gov>; Frew, Erin <Frew.Erin@epa.gov>; Kern, Kayla
   <Kern.Kayla@epa.gov>; Dolan, Margaret <Dolan.Margaret@epa.gov>
   Subject: RE: [External] Notice of Court’s Order


      Caution: This email originated from outside EPA, please exercise additional caution when
      deciding whether to open attachments or click on provided links.

   Kristine,

   I hope you’re doing well. Checking in re the email communication below to confirm whether we can
   draw down funds while this TRO is in effect. This question is specific to the ACC CPRG award.

   Thank you,

   Deans Eatman
   Assistant Secretary for Government Affairs
   North Carolina Department of Natural and Cultural Resources

   (252) 578-9892 cell
   deans.eatman@dncr.nc.gov
Case 1:25-cv-00039-JJM-PAS                       Document 101 Filed 02/11/25                           Page 118 of 135 PageID
                                                        #: 6840


   From: EPA_Grants_Info <EPA_Grants_Info@epa.gov>
   Sent: Monday, February 3, 2025 8:33 AM
   Subject: [External] Notice of Court’s Order


   Dear Grant Recipient,

   Pursuant to the Court’s directive in New York et al. v. Trump, No. 25-cv-39-JJM-PAS (D.R.I.), ECF No.
   50 (Jan. 31, 2025) all EPA assistance agreement recipients are receiving the attached Notice of the
   Court’s Order for awareness and information. A copy of the Court’s Order is also attached for
   reference. If you have any questions about the scope or effect of the Court’s Order, please contact
   your Grants Award Official.

   Thank you.

   Please do not reply to this message. This mailbox is not monitored.



   Email correspondence to and from this address may be subject to the North Carolina Public Records Law and may be disclosed to third
   parties by an authorized state official.
Case 1:25-cv-00039-JJM-PAS                   Document 101 Filed 02/11/25                  Page 119 of 135 PageID
                                                    #: 6841

   From:              Johnson, Kristine
   To:                Eatman, Deans
   Cc:                Toney, Anthony
   Subject:           RE: [External] Notice of Court’s Order
   Date:              Monday, February 3, 2025 2:23:38 PM


   CAUTION: External email. Do not click links or open attachments unless verified. Report suspicious emails with the
   Report Message button located on your Outlook menu bar on the Home tab.


   Hi,

   Deans I am seeking further guidance from our GMO office. I will let you know once I get a definitive
   answer. I hope all is well.

   Thanks

   From: Eatman, Deans <Deans.Eatman@dncr.nc.gov>
   Sent: Monday, February 3, 2025 1:58 PM
   To: Johnson, Kristine <Johnson.Kristine@epa.gov>
   Cc: Toney, Anthony <Toney.Anthony@epa.gov>; Frew, Erin <Frew.Erin@epa.gov>; Kern, Kayla
   <Kern.Kayla@epa.gov>; Dolan, Margaret <Dolan.Margaret@epa.gov>
   Subject: RE: [External] Notice of Court’s Order


         Caution: This email originated from outside EPA, please exercise additional caution when
         deciding whether to open attachments or click on provided links.

   Kristine,

   I hope you’re doing well. Checking in re the email communication below to confirm whether we can
   draw down funds while this TRO is in effect. This question is specific to the ACC CPRG award.

   Thank you,

   Deans Eatman
   Assistant Secretary for Government Affairs
   North Carolina Department of Natural and Cultural Resources

   (252) 578-9892 cell
   deans.eatman@dncr.nc.gov




   From: EPA_Grants_Info <EPA_Grants_Info@epa.gov>
   Sent: Monday, February 3, 2025 8:33 AM
   Subject: [External] Notice of Court’s Order
Case 1:25-cv-00039-JJM-PAS                       Document 101 Filed 02/11/25                           Page 120 of 135 PageID
                                                        #: 6842



   Dear Grant Recipient,

   Pursuant to the Court’s directive in New York et al. v. Trump, No. 25-cv-39-JJM-PAS (D.R.I.), ECF No.
   50 (Jan. 31, 2025) all EPA assistance agreement recipients are receiving the attached Notice of the
   Court’s Order for awareness and information. A copy of the Court’s Order is also attached for
   reference. If you have any questions about the scope or effect of the Court’s Order, please contact
   your Grants Award Official.

   Thank you.

   Please do not reply to this message. This mailbox is not monitored.



   Email correspondence to and from this address may be subject to the North Carolina Public Records Law and may be disclosed to third
   parties by an authorized state official.
Case 1:25-cv-00039-JJM-PAS                 Document 101 Filed 02/11/25                    Page 121 of 135 PageID
                                                  #: 6843

   From:              Johnson, Kristine
   To:                Eatman, Deans
   Cc:                Toney, Anthony
   Subject:           RE: [External] Notice of Court’s Order
   Date:              Wednesday, February 5, 2025 9:03:20 AM


   CAUTION: External email. Do not click links or open attachments unless verified. Report suspicious emails with the
   Report Message button located on your Outlook menu bar on the Home tab.


   Good morning,

   I want to give you an update on the status of drawing down funds. If you do not currently have access
   to draw down funds you will soon as the ASAP accounts are being unlocked in batches. Let me know
   if you require additional information.

   Thanks



   From: Johnson, Kristine
   Sent: Monday, February 3, 2025 2:24 PM
   To: Eatman, Deans <Deans.Eatman@dncr.nc.gov>
   Cc: Toney, Anthony <Toney.Anthony@epa.gov>
   Subject: RE: [External] Notice of Court’s Order

   Hi,

   Deans I am seeking further guidance from our GMO office. I will let you know once I get a definitive
   answer. I hope all is well.

   Thanks

   From: Eatman, Deans <Deans.Eatman@dncr.nc.gov>
   Sent: Monday, February 3, 2025 1:58 PM
   To: Johnson, Kristine <Johnson.Kristine@epa.gov>
   Cc: Toney, Anthony <Toney.Anthony@epa.gov>; Frew, Erin <Frew.Erin@epa.gov>; Kern, Kayla
   <Kern.Kayla@epa.gov>; Dolan, Margaret <Dolan.Margaret@epa.gov>
   Subject: RE: [External] Notice of Court’s Order


         Caution: This email originated from outside EPA, please exercise additional caution when
         deciding whether to open attachments or click on provided links.

   Kristine,

   I hope you’re doing well. Checking in re the email communication below to confirm whether we can
   draw down funds while this TRO is in effect. This question is specific to the ACC CPRG award.
Case 1:25-cv-00039-JJM-PAS                       Document 101 Filed 02/11/25                           Page 122 of 135 PageID
                                                        #: 6844


   Thank you,

   Deans Eatman
   Assistant Secretary for Government Affairs
   North Carolina Department of Natural and Cultural Resources

   (252) 578-9892 cell
   deans.eatman@dncr.nc.gov




   From: EPA_Grants_Info <EPA_Grants_Info@epa.gov>
   Sent: Monday, February 3, 2025 8:33 AM
   Subject: [External] Notice of Court’s Order


   Dear Grant Recipient,

   Pursuant to the Court’s directive in New York et al. v. Trump, No. 25-cv-39-JJM-PAS (D.R.I.), ECF No.
   50 (Jan. 31, 2025) all EPA assistance agreement recipients are receiving the attached Notice of the
   Court’s Order for awareness and information. A copy of the Court’s Order is also attached for
   reference. If you have any questions about the scope or effect of the Court’s Order, please contact
   your Grants Award Official.

   Thank you.

   Please do not reply to this message. This mailbox is not monitored.



   Email correspondence to and from this address may be subject to the North Carolina Public Records Law and may be disclosed to third
   parties by an authorized state official.
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 123 of 135 PageID
                                    #: 6845



                         Davis Declaration
                                Exhibit D
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 124 of 135 PageID
                                    #: 6846



                             ASAP Screenshot
                                  1/27/2025
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 125 of 135 PageID
                                    #: 6847
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 126 of 135 PageID
                                    #: 6848
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 127 of 135 PageID
                                    #: 6849



                             ASAP Screenshot
                                  1/29/2025
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 128 of 135 PageID
                                    #: 6850
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 129 of 135 PageID
                                    #: 6851



                             ASAP Screenshot
                                   2/4/2025
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 130 of 135 PageID
                                    #: 6852
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 131 of 135 PageID
                                    #: 6853
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 132 of 135 PageID
                                    #: 6854
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 133 of 135 PageID
                                    #: 6855
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 134 of 135 PageID
                                    #: 6856
Case 1:25-cv-00039-JJM-PAS   Document 101 Filed 02/11/25   Page 135 of 135 PageID
                                    #: 6857
